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                          EXHIBIT 1
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                              STATE OF NEW YORK AGREEMENT



STATE AGENCY (Name & Address):                        BUSINESS CODE:
                                                      DOC01
New York State Department of Corrections and
Community Supervision                                 NYS COMPTROLLER’S NUMBER
The Harriman State Campus                             CC161458
1220 Washington Avenue
Albany, New York 12226                                DEPARTMENT CODE:
                                                      3250226


CONTRACTOR (Name & Address)                           TYPE OF PROGRAM (S):

Microgenics Corporation                               Urinalysis Analyzers for Correctional Facilities
46500 Kato Road
Fremont CA 94538

                                                       INITIAL CONTRACT PERIOD
FEDERAL TAX IDENTIFICATION NUMBER

680418167                                             FROM: September 1, 2018

NYS VENDOR ID NUMBER                                  TO:      August 31, 2023

1000009626                                            FUNDING AMOUNT FOR INITIAL PERIOD NOT TO
                                                      EXCEED

                                                      REDACTED


                 APPENDICES ATTACHED AND PART OF THIS AGREEMENT:


__X__        APPENDIX A          Standard Clauses for New York State Contracts

__X__        APPENDIX B          Appendix B General Specifications

__X__        APPENDIX C          Invitation for Bids 2018-06

__X__        APPENDIX D          Bid Cost Sheet

__X _        APPENDIX E          Vendor Assurance of Non-Conflict or Detrimental Effect

__X _        APPENDIX F          Non-Disclosure Agreement

__X__        APPENDIX G          M/WBE and EEO Policy Statement

__X__        APPENDIX H          Contractor’s Bid


________________________________________________________________________________
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                                         AGREEMENT

      This AGREEMENT made this ___ day of June, 2018 between the NEW YORK
      STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
      (hereinafter referred to as “DOCCS”), with its principal office located at The
      Harriman State Campus, 1220 Washington Avenue, Albany, New York 12226 and
      Microgenics Corporation (hereinafter “CONTRACTOR”), with its principal office
      located at 46500 Kato Road, Fremont, CA 94538 for Urinalysis Analyzers at
      DOCCS 52 Correctional Facilities, and


             WHEREAS, pursuant to New York Correction Law § 112(1), the
      Commissioner of DOCCS is given the authority to contract with private entities for
      the performance of such functions deemed necessary or desirable to promote the
      efficient operation of DOCCS, as well as the fulfillment of all lawful responsibilities
      of DOCCS; and


             WHEREAS, the CONTRACTOR is ready, willing and able to provide such
      services and possesses or can make available all necessary qualified personnel,
      licenses, facilities and expertise to perform or have performed the services required
      pursuant to the terms of this AGREEMENT; and


             NOW THEREFORE, in consideration of the promises, responsibilities and
      covenants herein, the STATE and the CONTRACTOR agree as follows:


      I.     TERM
      A.     When signed by the parties and approved by all necessary government
      agencies, this AGREEMENT shall commence on September 1, 2018, and continue
      for five (5) years from the commencement date (“Term”) unless terminated earlier
      pursuant to its terms.


      II.    AMENDMENTS
      A.     This AGREEMENT may be amended only upon the mutual written
      agreement of the parties.
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      B.     To modify the AGREEMENT within an existing Term or Renewal Term, the
      parties shall execute an amendment to the agreement. Any change in the amount
      of consideration to be paid, change in scope, or change in the term, is subject to
      the approval of the Office of the State Comptroller.


      C.     Any such amendment to or extension of this AGREEMENT shall be subject
      to approval by the Office of the State Comptroller (“OSC”) and where necessary as
      set forth in Section X(A) below, shall contain a new budget.


      III.   SUBCONTRACTING
      A.     The CONTRACTOR agrees not to subcontract any of its services,
      unless as indicated in its proposal, without the prior written approval of the
      DOCCS. Approval shall not be unreasonably withheld upon receipt of written
      request to subcontract.


              The CONTRACTOR may arrange for a portion/s of its responsibilities
      under this AGREEMENT to be subcontracted to qualified, responsible
      subcontractors, subject to approval of the DOCCS. If the CONTRACTOR
      determines to subcontract a portion of the services, the subcontractors must be
      clearly identified and the nature and extent of its involvement in and/or
      proposed performance under this AGREEMENT must be fully explained by the
      CONTRACTOR to the DOCCS. As part of this explanation, the subcontractor
      must submit to the DOCCS a completed Vendor Assurance of No Conflict of
      Interest or Detrimental Effect form, as required by the CONTRACTOR prior to
      execution of this AGREEMENT.


             The CONTRACTOR retains ultimate responsibility for all services performed
      under the AGREEMENT.


             All subcontracts shall be in writing and shall contain provisions, which are
      functionally identical to, and consistent with, the provisions of this AGREEMENT

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      including, but not limited to, the body of this AGREEMENT, Appendix A – Standard
      Clauses for New York State Contracts, Appendix B–General Specifications, and
      Appendix C–IFB 2018-06. Unless waived in writing by the DOCCS, all subcontracts
      between the CONTRACTOR and subcontractors shall expressly name the STATE,
      through DOCCS, as the sole intended third party beneficiary of such subcontract.
      The DOCCS reserves the right to review and approve or reject any subcontract, as
      well as any amendment to said subcontract(s), and this right shall not make the
      DOCCS or the STATE a party to any subcontract or create any right, claim, or
      interest in the subcontractor or proposed subcontractor against the DOCCS.


             The DOCCS reserves the right, at any time during the term of the
      AGREEMENT, to verify that the written subcontract between the CONTRACTOR
      and subcontractors is in compliance with all of the provisions of this Section and
      any subcontract provisions contained in this AGREEMENT.


             The CONTRACTOR shall give the DOCCS immediate notice in writing of the
      initiation of any legal action or suit which relates in any way to a subcontract with a
      subcontractor or which may affect the performance of the CONTRACTOR's duties
      under the AGREEMENT. Any subcontract shall not relieve the CONTRACTOR in
      any way of any responsibility, duty and/or obligation of the AGREEMENT.


             If at any time during performance under this AGREEMENT total
      compensation to a subcontractor exceeds or is expected to exceed REDACTED , that
      subcontractor shall be required to submit and certify a Vendor Responsibility
      Questionnaire.


      IV.    TERMINATION
      A.     DOCCS shall have the right to terminate this AGREEMENT early for (i)
      unavailability of funds or (ii) convenience provided that the DOCCS has given
      written notice to the CONTRACTOR no later than thirty (30) days or more prior to
      the date of termination.



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      B.    DOCCS may terminate the AGREEMENT for cause immediately upon
      written notice of termination to the CONTRACTOR, if the CONTRACTOR fails to
      comply with the terms and conditions of this AGREEMENT and/or with any laws,
      rules, regulations, policies or procedures affecting this AGREEMENT.


      C.    DOCCS may terminate this AGREEMENT without cause by thirty (30) days
      prior written notice. In the event of such termination, the parties will adjust the
      accrued amount due and the CONTRACTOR will undertake no additional
      expenditures not already required.


      D.    This AGREEMENT may be terminated at any time upon mutual written
      consent of DOCCS and the CONTRACTOR.

      E.    DOCCS reserves the right to terminate this AGREEMENT in the event it is
      found that the certification filed by the CONTRACTOR in accordance with New York
      State Finance Law Sections 139-j and 139-k was intentionally false or intentionally
      incomplete. Upon such finding, DOCCS may exercise its termination right by
      providing written notification to the CONTRACTOR in accordance with the written
      notification terms of this AGREEMENT.


      F.    In the event of the termination of this AGREEMENT by either party, DOCCS
      shall be liable for the actual and necessary expenses for services provided by
      CONTRACTOR up to and including the effective date of termination.


      V.    CONTRACTOR RESPONSIBILITY
      A.    The CONTRACTOR shall, at all times during the AGREEMENT term remain
      responsible. The CONTRACTOR agrees, if requested by the Commissioner of
      DOCCS or his designee, to present evidence of its continuing legal authority to do
      business in New York State, integrity, experience, ability, prior performance, and
      organizational and financial capacity.



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      B.     The Commissioner of DOCCS or his designee, in his sole discretion,
      reserves the right to suspend any or all activities under this AGREEMENT, at any
      time, when he discovers information that calls into question the responsibility of the
      CONTRACTOR. In the event of such suspension, the CONTRACTOR will be given
      written notice outlining the particulars of such suspension. Upon issuance of such
      notice, the CONTRACTOR must comply with the terms of the suspension order.
      Contract activity may resume at such time as the Commissioner of DOCCS or his
      designee issues a written notice authorizing a resumption of performance under the
      Contract.


      C.     Upon written notice to the CONTRACTOR, and a reasonable opportunity to
      be heard with appropriate DOCCS officials or staff, the AGREEMENT may be
      terminated by the Commissioner of DOCCS or his designee at the
      CONTRACTOR’S expense where the CONTRACTOR is determined by the
      DOCCS Commissioner or his designee to be non-responsible. In such event, the
      Commissioner or his designee may complete the contractual requirements in any
      manner he may deem advisable and pursue available legal or equitable remedies
      for breach.

      VI.    CONFLICTS OF INTEREST
      A.     The CONTRACTOR has provided a form (Vendor Assurance of No Conflict
      of Interest or Detrimental Effect), signed by an authorized executive or legal
      representative attesting that the CONTRACTOR's performance of the services
      does not and will not create a conflict of interest with, nor position the
      CONTRACTOR to breach any other contract currently in force with the State of
      New York, that the CONTRACTOR will not act in any manner that is detrimental to
      any STATE project on which the CONTRACTOR is rendering services.


      B.     The CONTRACTOR hereby reaffirms the attestations made in its proposal
      and covenants and represents that there is and shall be no actual or potential
      conflict of interest that could prevent the CONTRACTOR's satisfactory or ethical
      performance of duties required to be performed pursuant to the terms of this
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      AGREEMENT. The CONTRACTOR shall have a duty to notify the DOCCS
      immediately of any actual or potential conflicts of interest.


      C.     In conjunction with any subcontract under this AGREEMENT, the
      CONTRACTOR shall obtain and deliver to the AGENCY, prior to entering into a
      subcontract, a Vendor Assurance of No Conflict of Interest or Detrimental Effect
      form, signed by an authorized executive or legal representative of the
      subcontractor. The CONTRACTOR shall also require in any subcontracting
      agreement that the subcontractor, in conjunction with any further subcontracting
      agreement, obtain and deliver to the AGENCY a signed and completed Vendor
      Assurance of No Conflict of Interest or Detrimental Effect form for each of its
      subcontractors prior to entering into a subcontract.


      D.     The AGENCY and the CONTRACTOR recognize that conflicts may occur in
      the future because the CONTRACTOR may have existing, or establish new,
      relationships. The AGENCY will review the nature of any relationships and reserves
      the right to terminate this AGREEMENT for any reason, or for cause, if, in the
      judgment of the AGENCY, a real or potential conflict of interest cannot be cured.

      VII.   PUBLIC OFFICERS LAW
      A.     Contractors, consultants, vendors, and subcontractors may hire former State
      Agency or Authority employees. However, as a general rule and in accordance with
      New York Public Officers Law, former employees of the State Agency or Authority
      may neither appear nor practice before the State Agency or Authority, nor receive
      compensation for services rendered on a matter before the State Agency or
      Authority, for a period of two years following their separation from State Agency or
      Authority service. In addition, former State Agency or Authority employees are
      subject to a "lifetime bar" from appearing before the State Agency or Authority or
      receiving compensation for services regarding any transaction in which they
      personally participated or which was under their active consideration during their
      tenure with the State Agency or Authority.



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      VIII.   ETHICS REQUIREMENTS
      A.      The Contractor and its Subcontractors shall not engage any person who is,
      or has been at any time, in the employ of the State to perform services in violation
      of the provisions of the New York Public Officers Law, other laws applicable to the
      service of State employees, and the rules, regulations, opinions, guidelines or
      policies promulgated or issued by the New York State Joint Commission on Public
      Ethics, or its predecessors (collectively, the "Ethics Requirements"). The Contractor
      certifies that all of its employees and those of its Subcontractors who are former
      employees of the State and who are assigned to perform services under this
      Contract shall be assigned in accordance with all Ethics Requirements. During the
      Term, no person who is employed by the Contractor or its Subcontractors and who
      is disqualified from providing services under this Contract pursuant to any Ethics
      Requirements may share in any net revenues of the Contractor or its
      Subcontractors derived from this Contract. The Contractor shall identify and provide
      the State with notice of those employees of the Contractor and its Subcontractors
      who are former employees of the State that will be assigned to perform services
      under this Contract, and make sure that such employees comply with all applicable
      laws and prohibitions. The State may request that the Contractor provide it with
      whatever information the State deems appropriate about each such person's
      engagement, work cooperatively with the State to solicit advice from the New York
      State Joint Commission on Public Ethics, and, if deemed appropriate by the State,
      instruct any such person to seek the opinion of the New York State Joint
      Commission on Public Ethics. The State shall have the right to withdraw or withhold
      approval of any Subcontractor if utilizing such Subcontractor for any work
      performed hereunder would be in conflict with any of the Ethics Requirements. The
      State shall have the right to terminate this Contract at any time if any work
      performed hereunder is in conflict with any of the Ethics Requirements.


      IX.     INVITATION FOR BIDS (IFB) AND AWARD
      A.      DOCCS has determined that Microgenics Corporation is the successful
      bidder and that CONTRACTOR is willing and able to provide the services required.

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      B.    CONTRACTOR shall provide urinalysis analyzers to DOCCS Correctional
      Facilities located throughout New York State in accordance with DOCCS IFB 2018-
      06, a true copy of which is annexed hereto and made a part hereof as Appendix C;
      and the proposal for said bid submitted by CONTRACTOR, a true copy of which is
      annexed hereto and made a part of as Appendix H.


      X.    SCOPE OF SERVICES
      A.    Pursuant to this AGREEMENT, CONTRACTOR shall provide the services
      set forth herein and in Appendix C, IFB 2018-06, contains a description of the
      services to be provided by CONTRACTOR.


      B.    It is expressly understood and agreed by CONTRACTOR that any and all
      services and products specified in this AGREEMENT shall be provided only at the
      direction of DOCCS.


      XI.   COMPENSATION
      A.    All compensation that will be paid to the CONTRACTOR is set forth in
      Appendix D which is attached hereto and made a part of hereof. Appendix D
      consists of the Bid Cost Sheet.
      B.    Throughout the term of this AGREEMENT, CONTRACTOR shall be
      reimbursed only for actual and necessary expenses for services actually performed
      in accordance with this AGREEMENT and with Appendices C and H.


      C.    CONTRACTOR acknowledges that all invoices shall be submitted to the
      following address:


                           Department of Corrections and Community Supervision
                           Unit ID: 3250226
                           c/o NYS OGS Business Services Center
                           P.O. Box 2117
                           Albany, NY 12220-0117



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      D.     CONTRACTOR shall provide complete and accurate billing invoices to the
      DOCCS in order to receive payment. Billing invoices submitted to the DOCCS must
      contain all information and supporting documentation required by the Contract,
      DOCCS, and OSC. Payment for invoices submitted by the CONTRACTOR shall
      only be rendered electronically unless payment by paper check is expressly
      authorized by the DOCCS Commissioner, in the Commissioner’s sole discretion,
      due to extenuating circumstances. Such electronic payment shall be made in
      accordance with ordinary State procedures and practices. The CONTRACTOR
      shall comply with the State Comptroller’s procedures to authorize electronic
      payments. Authorization forms are available at the State Comptroller’s website at
      www.osc.state.ny.us/epay/index.htm, by e-mail at epundit@osc.state.ny.us or by
      telephone at (518) 474-4032. CONTRACTOR acknowledges that it will not receive
      payment on any invoices submitted under this Contract if it does not comply with
      the State Comptroller’s electronic payment procedures, except where the
      Commissioner has expressly authorized payment by paper check as set forth
      above.


      XII.   CONFIDENTIALLITY
      A.     In addition to the confidentiality requirements, if any, contained in Appendix
      G, CONTRACTOR acknowledges that any and all information, records, files,
      documents or reports contained in any media format (e.g. print, electronic) provided
      to CONTRACTOR by the DOCCS or otherwise encountered by CONTRACTOR in
      the provision of services pursuant to this AGREEMENT shall be considered
      extremely confidential and shall be handled accordingly at all times.         Neither
      CONTRACTOR nor any of its employees, servants, subcontractors, agents or
      volunteers shall at any time be permitted to utilize any such confidential information
      for any purpose outside the scope of this AGREEMENT without the express prior
      written authorization of DOCCS. CONTRACTOR shall educate, monitor and be
      responsible for its employees, servants, subcontractors, agents and volunteers
      providing services for CONTRACTOR pursuant to this AGREEMENT concerning
      these confidentiality requirements. Any breach of the confidentiality requirements



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      set forth in this Section or in Appendix C by CONTRACTOR or by any of its
      employees, servants, subcontractors, agents or volunteers may result in the
      immediate termination of this AGREEMENT by the DOCCS and may subject the
      CONTRACTOR to further penalties. Annexed hereto as Appendix F is a copy of
      the Non-Disclosure Agreement


      XIII.   INDEPENDENT CONTRACTOR
      A.      It is expressly understood and agreed that CONTRACTOR’S status
      hereunder is that of an independent contractor and that no official, employee,
      servant, subcontractor, agent or volunteer of CONTRACTOR is an employee of the
      DOCCS or the State of New York. CONTRACTOR is solely responsible for the
      work, compensation, benefits and personal conduct of all such persons assigned
      to the provision of services pursuant to this AGREEMENT. Nothing contained in
      this Section or in any other provision of this AGREEMENT shall be construed to
      impose any liability or duty to the DOCCS or the State of New York to persons,
      firms, consultants or corporations employed or engaged or otherwise utilized by the
      CONTRACTOR, either directly or indirectly, in any capacity whatsoever, nor shall
      the DOCCS or the State of New York be liable for any acts, omissions, obligations
      and taxes of any nature, including unemployment insurance and worker’s
      compensation, of CONTRACTOR or any of its officials, employees, servants,
      subcontractors, agents or volunteers.


      XIV.    ASSIGNMENT
      A.      The rights and obligations of CONTRACTOR under this AGREEMENT may
      not be assigned, conveyed, transferred, or subcontracted by CONTRACTOR
      without prior written authorization of the DOCCS as set forth in Appendix A.


      XV.     NOTICES
      A.      All notices and communications made pursuant to this AGREEMENT shall
      be in writing and shall be delivered to the addresses set forth below or to such



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      addresses as the parties may from time to time provide to each other. Said notices
      should be served via registered mail or personally.


      Notification to DOCCS:             NYS DOCCS
                                         Contract Procurement Unit
                                         The Harriman State Campus
                                         1220 Washington Avenue
                                         Albany, New York 12226


      Notification to CONTRACTOR:        Microgenics Corporation
                                         46500 Kato Road
                                         Fremont, CA 94538

      or any other address as may be hereinafter designated by written notice. No notice
      shall be effective until received by the addressee. Communications concerning the
      daily functions and operation of the scope of services are not to be considered as
      notices. Thus, such communications may be done via telephone, e-mail, fax,
      United States Postal Service or other means.


      XVI.   MISCELLANEOUS PROVISIONS
             a. Entire Agreement: This AGREEMENT, including the face page and all its
                appendices, constitutes the entire AGREEMENT between the parties and
                supersedes all other communications between the parties relating to the
                subject matter herein.
             b. Appendix A: DOCCS Appendix A (Standard Clauses as required by the
                Attorney General for all State contracts) is attached hereto and made a
                part hereof.
             c. In the event of any conflict between the terms of this Agreement and the
                terms of it Appendices, the following order of precedence shall apply:


                       � Appendix A Standard Clauses for New York State Contracts
                       � Appendix B General Specifications
                       � Agreement #CC161458
                       � Appendix C Invitation for Bids 2018-06

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                     � Appendix D Bid Cost Sheet
                     � Appendix E Vendor Assurance of Non-Conflict or Detrimental
                         Effect;
                     � Appendix F Non-Disclosure
                     � Appendix G M/WBE and EEO Policy Statement
                     � Appendix H Contractor’s Bid


            d. Controlling Statutes:       This AGREEMENT shall be governed by and
               construed in accordance with the laws of the State of New York.
            e. Unenforceability: If any part of this AGREEMENT is found to be
               unenforceable for any reason, that part shall be deemed deleted and all
               other terms, conditions, and provisions of this AGREEMENT shall remain
               in full force and effect.
            f. Captions: The captions contained in this AGREEMENT are intended for
               convenience and reference purposes only and shall in no way be deemed
               to define, limit or describe the scope or intent of this AGREEMENT, or
               any provision thereof, or in any way affect this AGREEMENT.
            g. Defense and Indemnification: The Contractor shall assume all risks of
               liability for its performance, or that of any of its officers, employees,
               subcontractors or agents, of this contract and shall be solely responsible
               and liable for all liabilities, losses, damages, costs or expenses, including
               attorney’s fees, arising from any third-party claim, action or proceeding
               relating to or in any way connected with the performance of this
               Agreement and covenants and agrees to indemnify and hold harmless
               the People of the State of New York and NYS Department of Corrections
               and Community Supervision, their agents, officers and employees, from
               any and all third-party claims, suits, causes of action and losses of
               whatever kind and nature, arising out of or in connection with its
               performance of any contract resulting from this solicitation, including
               negligence, active or passive or improper conduct of the Contractor, its
               officers, agents, subcontractors or employees, or the failure by the
               Contractor, its officers, agents, subcontractors or employees to perform

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               any obligations or commitments to the State or third parties arising out of
               or resulting from any contract resulting from this solicitation.         The
               CONTRACTOR’s duty to indemnify shall cover direct, indirect, special
               and consequential damages. Such indemnity shall not be limited to the
               insurance coverage herein prescribed.
            h. Force Majeure: Neither party shall be liable for losses, defaults, or
               damages, under this AGREEMENT which result from delays in
               performing, or inability to perform, all or any of the obligations or
               responsibilities imposed upon it pursuant to the terms and conditions of
               this AGREEMENT, due to or because of acts of God, the public enemy,
               acts of government, earthquakes, floods, strikes, typhoons, civil strife, fire
               or any cause beyond the reasonable control of the party that was so
               delayed in performing or so unable to perform, provided that such party
               was not negligent and shall have used reasonable efforts to avoid and
               overcome such cause. Such party will resume full performance of such
               obligations and responsibilities promptly upon removal of any such
               cause.
            i. Non-sectarian: CONTRACTOR is a non-sectarian organization and does
               not have as one of its purposes the advancement of any religion.
            j. McBride: CONTRACTOR has no business operations in Northern
               Ireland.
            k. Strict Adherence: The failure of DOCCS to insist upon strict adherence
               to any provision, fiscal obligation, reporting or other requirement of this
               AGREEMENT shall not be considered to constitute a waiver or
               constructive modification to deprive DOCCS of the right to insist upon
               strict adherence to the terms of this AGREEMENT in the future.
            l. Approval: This AGREEMENT shall not become effective unless and until
               approved by the Department of Law (Attorney General) and the
               Comptroller.




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           m. M/WBE: By signing said AGREEMENT, CONTRACTOR agrees to comply
                with all requirements of Minority and Women Business Enterprise Laws,
                Regulations and Rules (M/WBE) Annexed hereto as Appendix G is a copy
                of the M/WBE policy.
           n.   Executive    Order    Number     177:    By   signing    said   AGREEMENT,
                CONTRACTOR agrees to comply with all requirements of Executive Order
                177. The CONTRACTOR has provided EO177 certification form, signed by
                an authorized executive or legal representative, as evidence of compliance
                with the foregoing.       Please refer to the Executive Order #177
                at:https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO177.pdf




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             AMENDMENT TO CONTRACT #CC161458
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                               APPENDIX A

         Standard Clauses for New York State Contracts
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                                                                            January 2014


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       6HW2II 5LJKWV                                                                           
      5HFRUGV                                                                                  
      ,GHQWLI\LQJ ,QIRUPDWLRQ DQG 3ULYDF\ 1RWLILFDWLRQ                                         
      (TXDO (PSOR\PHQW 2SSRUWXQLWLHV )RU 0LQRULWLHV DQG :RPHQ                                
      &RQIOLFWLQJ 7HUPV                                                                        
      *RYHUQLQJ /DZ                                                                            
      /DWH 3D\PHQW                                                                             
      1R $UELWUDWLRQ                                                                           
      6HUYLFH RI 3URFHVV                                                                       
      3URKLELWLRQ RQ 3XUFKDVH RI 7URSLFDO +DUGZRRGV                                          
      0DF%ULGH )DLU (PSOR\PHQW 3ULQFLSOHV                                                      
      2PQLEXV 3URFXUHPHQW $FW RI                                                           
      5HFLSURFLW\ DQG 6DQFWLRQV 3URYLVLRQV                                                     
      &RPSOLDQFH ZLWK 1HZ <RUN 6WDWH ,QIRUPDWLRQ 6HFXULW\ %UHDFK DQG 1RWLILFDWLRQ $FW          
      &RPSOLDQFH ZLWK &RQVXOWDQW 'LVFORVXUH /DZ                                                
      3URFXUHPHQW /REE\LQJ                                                                     
      &HUWLILFDWLRQ RI 5HJLVWUDWLRQ WR &ROOHFW 6DOHV DQG &RPSHQVDWLQJ 8VH 7D[ E\ &HUWDLQ       
         6WDWH &RQWUDFWRUV $IILOLDWHV DQG 6XEFRQWUDFWRUV
      ,UDQ 'LYHVWPHQW $FW                                                                      




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   Case 1:20-cv-04432-BMC-VMS Document 28-3 Filed 02/10/21 Page 24 of 156 PageID #: 162
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    67$1'$5' &/$86(6 )25 1<6 &2175$&76                               contract shall be void and of no force and effect unless the
                                                                     Contractor shall provide and maintain coverage during the life
The parties to the attached contract, license, lease, amendment      of this contract for the benefit of such employees as are
or other agreement of any kind (hereinafter, "the contract" or       required to be covered by the provisions of the Workers'
"this contract") agree to be bound by the following clauses          Compensation Law.
which are hereby made a part of the contract (the word
"Contractor" herein refers to any party other than the State,         121',6&5,0,1$7,21 5(48,5(0(176 To the
whether a contractor, licenser, licensee, lessor, lessee or any      extent required by Article 15 of the Executive Law (also
other party):                                                        known as the Human Rights Law) and all other State and
                                                                     Federal statutory and constitutional non-discrimination
 (;(&8725< &/$86( In accordance with Section 41                   provisions, the Contractor will not discriminate against any
of the State Finance Law, the State shall have no liability          employee or applicant for employment because of race, creed,
under this contract to the Contractor or to anyone else beyond       color, sex (including gender identity or expression), national
funds appropriated and available for this contract.                  origin, sexual orientation, military status, age, disability,
                                                                     predisposing genetic characteristics, marital status or domestic
 121$66,*10(17 &/$86( In accordance with                         violence victim status. Furthermore, in accordance with
Section 138 of the State Finance Law, this contract may not be       Section 220-e of the Labor Law, if this is a contract for the
assigned by the Contractor or its right, title or interest therein   construction, alteration or repair of any public building or
assigned, transferred, conveyed, sublet or otherwise disposed        public work or for the manufacture, sale or distribution of
of without the State’s previous written consent, and attempts        materials, equipment or supplies, and to the extent that this
to do so are null and void. Notwithstanding the foregoing,           contract shall be performed within the State of New York,
such prior written consent of an assignment of a contract let        Contractor agrees that neither it nor its subcontractors shall, by
pursuant to Article XI of the State Finance Law may be               reason of race, creed, color, disability, sex, or national origin:
waived at the discretion of the contracting agency and with the      (a) discriminate in hiring against any New York State citizen
concurrence of the State Comptroller where the original              who is qualified and available to perform the work; or (b)
contract was subject to the State Comptroller’s approval,            discriminate against or intimidate any employee hired for the
where the assignment is due to a reorganization, merger or           performance of work under this contract. If this is a building
consolidation of the Contractor’s business entity or enterprise.     service contract as defined in Section 230 of the Labor Law,
The State retains its right to approve an assignment and to          then, in accordance with Section 239 thereof, Contractor
require that any Contractor demonstrate its responsibility to do     agrees that neither it nor its subcontractors shall by reason of
business with the State. The Contractor may, however, assign         race, creed, color, national origin, age, sex or disability: (a)
its right to receive payments without the State’s prior written      discriminate in hiring against any New York State citizen who
consent unless this contract concerns Certificates of                is qualified and available to perform the work; or (b)
Participation pursuant to Article 5-A of the State Finance Law.      discriminate against or intimidate any employee hired for the
                                                                     performance of work under this contract. Contractor is subject
 &203752//(5 6 $33529$/ In accordance with                        to fines of $50.00 per person per day for any violation of
Section 112 of the State Finance Law (or, if this contract is        Section 220-e or Section 239 as well as possible termination
with the State University or City University of New York,            of this contract and forfeiture of all moneys due hereunder for
Section 355 or Section 6218 of the Education Law), if this           a second or subsequent violation.
contract exceeds REDACTED (or the minimum thresholds agreed
to by the Office of the State Comptroller for certain S.U.N.Y.        :$*( $1' +2856 3529,6,216 If this is a public
and C.U.N.Y. contracts), or if this is an amendment for any          work contract covered by Article 8 of the Labor Law or a
amount to a contract which, as so amended, exceeds said              building service contract covered by Article 9 thereof, neither
statutory amount, or if, by this contract, the State agrees to       Contractor's employees nor the employees of its
give something other than money when the value or                    subcontractors may be required or permitted to work more
reasonably estimated value of such consideration exceeds             than the number of hours or days stated in said statutes, except
REDACTED
         , it shall not be valid, effective or binding upon the      as otherwise provided in the Labor Law and as set forth in
State until it has been approved by the State Comptroller and        prevailing wage and supplement schedules issued by the State
filed in his office. Comptroller's approval of contracts let by      Labor Department.         Furthermore, Contractor and its
the Office of General Services is required when such contracts       subcontractors must pay at least the prevailing wage rate and
exceed REDACTED (State Finance Law Section 163.6-a).                 pay or provide the prevailing supplements, including the
However, such pre-approval shall not be required for any             premium rates for overtime pay, as determined by the State
contract established as a centralized contract through the           Labor Department in accordance with the Labor Law.
Office of General Services or for a purchase order or other          Additionally, effective April 28, 2008, if this is a public work
transaction issued under such centralized contract.                  contract covered by Article 8 of the Labor Law, the Contractor
                                                                     understands and agrees that the filing of payrolls in a manner
 :25.(56 &203(16$7,21 %(1(),76 In                                 consistent with Subdivision 3-a of Section 220 of the Labor
accordance with Section 142 of the State Finance Law, this           Law shall be a condition precedent to payment by the State of


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                                                        DOCCS 00012
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any State approved sums due and owing for work done upon             contract, shall have access to the Records during normal
the project.                                                         business hours at an office of the Contractor within the State
                                                                     of New York or, if no such office is available, at a mutually
 121&2//86,9( %,'',1* &(57,),&$7,21 In                           agreeable and reasonable venue within the State, for the term
accordance with Section 139-d of the State Finance Law, if           specified above for the purposes of inspection, auditing and
this contract was awarded based upon the submission of bids,         copying. The State shall take reasonable steps to protect from
Contractor affirms, under penalty of perjury, that its bid was       public disclosure any of the Records which are exempt from
arrived at independently and without collusion aimed at              disclosure under Section 87 of the Public Officers Law (the
restricting competition. Contractor further affirms that, at the     "Statute") provided that: (i) the Contractor shall timely inform
time Contractor submitted its bid, an authorized and                 an appropriate State official, in writing, that said records
responsible person executed and delivered to the State a non-        should not be disclosed; and (ii) said records shall be
collusive bidding certification on Contractor's behalf.              sufficiently identified; and (iii) designation of said records as
                                                                     exempt under the Statute is reasonable. Nothing contained
 ,17(51$7,21$/ %2<&277 352+,%,7,21. In                             herein shall diminish, or in any way adversely affect, the
accordance with Section 220-f of the Labor Law and Section           State's right to discovery in any pending or future litigation.
139-h of the State Finance Law, if this contract exceeds
$5,000, the Contractor agrees, as a material condition of the         ,'(17,)<,1* ,1)250$7,21 $1' 35,9$&<
contract, that neither the Contractor nor any substantially          127,),&$7,21.              (a) Identification Number(s). Every
owned or affiliated person, firm, partnership or corporation         invoice or New York State Claim for Payment submitted to a
has participated, is participating, or shall participate in an       New York State agency by a payee, for payment for the sale of
international boycott in violation of the federal Export             goods or services or for transactions (e.g., leases, easements,
Administration Act of 1979 (50 USC App. Sections 2401 et             licenses, etc.) related to real or personal property must include
seq.) or regulations thereunder. If such Contractor, or any of       the payee's identification number. The number is any or all of
the aforesaid affiliates of Contractor, is convicted or is           the following: (i) the payee’s Federal employer identification
otherwise found to have violated said laws or regulations upon       number, (ii) the payee’s Federal social security number, and/or
the final determination of the United States Commerce                (iii) the payee’s Vendor Identification Number assigned by the
Department or any other appropriate agency of the United             Statewide Financial System. Failure to include such number
States subsequent to the contract's execution, such contract,        or numbers may delay payment. Where the payee does not
amendment or modification thereto shall be rendered forfeit          have such number or numbers, the payee, on its invoice or
and void. The Contractor shall so notify the State Comptroller       Claim for Payment, must give the reason or reasons why the
within five (5) business days of such conviction, determination      payee does not have such number or numbers.
or disposition of appeal (2NYCRR 105.4).
                                                                     (b) Privacy Notification. (1) The authority to request the
 6(72)) 5,*+76 The State shall have all of its                   above personal information from a seller of goods or services
common law, equitable and statutory rights of set-off. These         or a lessor of real or personal property, and the authority to
rights shall include, but not be limited to, the State's option to   maintain such information, is found in Section 5 of the State
withhold for the purposes of set-off any moneys due to the           Tax Law. Disclosure of this information by the seller or lessor
Contractor under this contract up to any amounts due and             to the State is mandatory. The principal purpose for which the
owing to the State with regard to this contract, any other           information is collected is to enable the State to identify
contract with any State department or agency, including any          individuals, businesses and others who have been delinquent
contract for a term commencing prior to the term of this             in filing tax returns or may have understated their tax
contract, plus any amounts due and owing to the State for any        liabilities and to generally identify persons affected by the
other reason including, without limitation, tax delinquencies,       taxes administered by the Commissioner of Taxation and
fee delinquencies or monetary penalties relative thereto. The        Finance. The information will be used for tax administration
State shall exercise its set-off rights in accordance with normal    purposes and for any other purpose authorized by law. (2) The
State practices including, in cases of set-off pursuant to an        personal information is requested by the purchasing unit of the
audit, the finalization of such audit by the State agency, its       agency contracting to purchase the goods or services or lease
representatives, or the State Comptroller.                           the real or personal property covered by this contract or lease.
                                                                     The information is maintained in the Statewide Financial
 5(&25'6 The Contractor shall establish and maintain             System by the Vendor Management Unit within the Bureau of
complete and accurate books, records, documents, accounts            State Expenditures, Office of the State Comptroller, 110 State
and other evidence directly pertinent to performance under           Street, Albany, New York 12236.
this contract (hereinafter, collectively, "the Records"). The
Records must be kept for the balance of the calendar year in          (48$/ (03/2<0(17 23325781,7,(6 )25
which they were made and for six (6) additional years                0,125,7,(6 $1' :20(1 In accordance with Section
thereafter. The State Comptroller, the Attorney General and          312 of the Executive Law and 5 NYCRR 143, if this contract
any other person or entity authorized to conduct an                  is: (i) a written agreement or purchase order instrument,
examination, as well as the agency or agencies involved in this      providing for a total expenditure in excess of REDACTED
Page 4                                                                                                               January 2014

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whereby a contracting agency is committed to expend or does         opportunity which effectuates the purpose of this section. The
expend funds in return for labor, services, supplies,               contracting agency shall determine whether the imposition of
equipment, materials or any combination of the foregoing, to        the requirements of the provisions hereof duplicate or conflict
be performed for, or rendered or furnished to the contracting       with any such federal law and if such duplication or conflict
agency; or (ii) a written agreement in excess of REDACTED           exists, the contracting agency shall waive the applicability of
whereby a contracting agency is committed to expend or does         Section 312 to the extent of such duplication or conflict.
expend funds for the acquisition, construction, demolition,         Contractor will comply with all duly promulgated and lawful
replacement, major repair or renovation of real property and        rules and regulations of the Department of Economic
improvements thereon; or (iii) a written agreement in excess        Development’s Division of Minority and Women's Business
of REDACTED whereby the owner of a State assisted housing           Development pertaining hereto.
project is committed to expend or does expend funds for the
acquisition, construction, demolition, replacement, major            &21)/,&7,1* 7(506 In the event of a conflict
repair or renovation of real property and improvements              between the terms of the contract (including any and all
thereon for such project, then the following shall apply and by     attachments thereto and amendments thereof) and the terms of
signing this agreement the Contractor certifies and affirms that    this Appendix A, the terms of this Appendix A shall control.
it is Contractor’s equal employment opportunity policy that:
                                                                     *29(51,1* /$: This contract shall be governed by
(a) The Contractor will not discriminate against employees or       the laws of the State of New York except where the Federal
applicants for employment because of race, creed, color,            supremacy clause requires otherwise.
national origin, sex, age, disability or marital status, shall
make and document its conscientious and active efforts to            /$7( 3$<0(17. Timeliness of payment and any
employ and utilize minority group members and women in its          interest to be paid to Contractor for late payment shall be
work force on State contracts and will undertake or continue        governed by Article 11-A of the State Finance Law to the
existing programs of affirmative action to ensure that minority     extent required by law.
group members and women are afforded equal employment
opportunities without discrimination. Affirmative action shall       12 $5%,75$7,21 Disputes involving this contract,
mean recruitment, employment, job assignment, promotion,            including the breach or alleged breach thereof, may not be
upgradings, demotion, transfer, layoff, or termination and rates    submitted to binding arbitration (except where statutorily
of pay or other forms of compensation;                              authorized), but must, instead, be heard in a court of
                                                                    competent jurisdiction of the State of New York.
(b) at the request of the contracting agency, the Contractor
shall request each employment agency, labor union, or                6(59,&( 2) 352&(66. In addition to the methods of
authorized representative of workers with which it has a            service allowed by the State Civil Practice Law & Rules
collective bargaining or other agreement or understanding, to       ("CPLR"), Contractor hereby consents to service of process
furnish a written statement that such employment agency,            upon it by registered or certified mail, return receipt requested.
labor union or representative will not discriminate on the basis    Service hereunder shall be complete upon Contractor's actual
of race, creed, color, national origin, sex, age, disability or     receipt of process or upon the State's receipt of the return
marital status and that such union or representative will           thereof by the United States Postal Service as refused or
affirmatively cooperate in the implementation of the                undeliverable. Contractor must promptly notify the State, in
Contractor's obligations herein; and                                writing, of each and every change of address to which service
                                                                    of process can be made. Service by the State to the last known
(c)    the Contractor shall state, in all solicitations or          address shall be sufficient. Contractor will have thirty (30)
advertisements for employees, that, in the performance of the       calendar days after service hereunder is complete in which to
State contract, all qualified applicants will be afforded equal     respond.
employment opportunities without discrimination because of
race, creed, color, national origin, sex, age, disability or         352+,%,7,21 21 385&+$6( 2) 7523,&$/
marital status.                                                     +$5':22'6. The Contractor certifies and warrants that
                                                                    all wood products to be used under this contract award will be
Contractor will include the provisions of "a", REDACTED             in accordance with, but not limited to, the specifications and
                                          $25,000.00 for the        provisions of Section 165 of the State Finance Law, (Use of
construction, demolition, replacement, major repair,                Tropical Hardwoods) which prohibits purchase and use of
renovation, planning or design of real property and                 tropical hardwoods, unless specifically exempted, by the State
improvements thereon (the "Work") except where the Work is          or any governmental agency or political subdivision or public
for the beneficial use of the Contractor. Section 312 does not      benefit corporation. Qualification for an exemption under this
apply to: (i) work, goods or services unrelated to this contract;   law will be the responsibility of the contractor to establish to
or (ii) employment outside New York State. The State shall          meet with the approval of the State.
consider compliance by a contractor or subcontractor with the
requirements of any federal law concerning equal employment
Page 5                                                                                                               January 2014

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In addition, when any portion of this contract involving the        (a) The Contractor has made reasonable efforts to encourage
use of woods, whether supply or installation, is to be              the participation of New York State Business Enterprises as
performed by any subcontractor, the prime Contractor will           suppliers and subcontractors, including certified minority and
indicate and certify in the submitted bid proposal that the         women-owned business enterprises, on this project, and has
subcontractor has been informed and is in compliance with           retained the documentation of these efforts to be provided
specifications and provisions regarding use of tropical             upon request to the State;
hardwoods as detailed in §165 State Finance Law. Any such
use must meet with the approval of the State; otherwise, the        (b) The Contractor has complied with the Federal Equal
bid may not be considered responsive. Under bidder                  Opportunity Act of 1972 (P.L. 92-261), as amended;
certifications, proof of qualification for exemption will be the
responsibility of the Contractor to meet with the approval of       (c) The Contractor agrees to make reasonable efforts to
the State.                                                          provide notification to New York State residents of
                                                                    employment opportunities on this project through listing any
 0$&%5,'( )$,5 (03/2<0(17 35,1&,3/(6                            such positions with the Job Service Division of the New York
In accordance with the MacBride Fair Employment Principles          State Department of Labor, or providing such notification in
(Chapter 807 of the Laws of 1992), the Contractor hereby            such manner as is consistent with existing collective
stipulates that the Contractor either (a) has no business           bargaining contracts or agreements. The Contractor agrees to
operations in Northern Ireland, or (b) shall take lawful steps in   document these efforts and to provide said documentation to
good faith to conduct any business operations in Northern           the State upon request; and
Ireland in accordance with the MacBride Fair Employment
Principles (as described in Section 165 of the New York State       (d) The Contractor acknowledges notice that the State may
Finance Law), and shall permit independent monitoring of            seek to obtain offset credits from foreign countries as a result
compliance with such principles.                                    of this contract and agrees to cooperate with the State in these
                                                                    efforts.
 201,%86 352&85(0(17 $&7 2)  It is the
policy of New York State to maximize opportunities for the           5(&,352&,7< $1' 6$1&7,216 3529,6,216
participation of New York State business enterprises,               Bidders are hereby notified that if their principal place of
including minority and women-owned business enterprises as          business is located in a country, nation, province, state or
bidders, subcontractors and suppliers on its procurement            political subdivision that penalizes New York State vendors,
contracts.                                                          and if the goods or services they offer will be substantially
                                                                    produced or performed outside New York State, the Omnibus
Information on the availability of New York State                   Procurement Act 1994 and 2000 amendments (Chapter 684
subcontractors and suppliers is available from:                     and Chapter 383, respectively) require that they be denied
                                                                    contracts which they would otherwise obtain. NOTE: As of
   NYS Department of Economic Development                           May 15, 2002, the list of discriminatory jurisdictions subject
   Division for Small Business                                      to this provision includes the states of South Carolina, Alaska,
   Albany, New York 12245                                           West Virginia, Wyoming, Louisiana and Hawaii. Contact
   Telephone: 518-292-5100                                          NYS Department of Economic Development for a current list
   Fax: 518-292-5884                                                of jurisdictions subject to this provision.
   email: opa@esd ny.gov
                                                                     &203/,$1&( :,7+ 1(: <25. 67$7(
A directory of certified minority and women-owned business          ,1)250$7,21           6(&85,7<         %5($&+          $1'
enterprises is available from:                                      127,),&$7,21 $&7 Contractor shall comply with the
                                                                    provisions of the New York State Information Security Breach
   NYS Department of Economic Development                           and Notification Act (General Business Law Section 899-aa;
   Division of Minority and Women's Business Development            State Technology Law Section 208).
   633 Third Avenue
   New York, NY 10017                                                      &203/,$1&(              :,7+         &2168/7$17
   212-803-2414                                                     ',6&/2685( /$: If this is a contract for consulting
   email: mwbecertification@esd.ny.gov                              services, defined for purposes of this requirement to include
   https://ny.newnycontracts.com/FrontEnd/VendorSearchPu            analysis, evaluation, research, training, data processing,
   blic.asp                                                         computer programming, engineering, environmental, health,
                                                                    and mental health services, accounting, auditing, paralegal,
The Omnibus Procurement Act of 1992 requires that by                legal or similar services, then, in accordance with Section 163
signing this bid proposal or contract, as applicable,               (4-g) of the State Finance Law (as amended by Chapter 10 of
Contractors certify that whenever the total bid amount is           the Laws of 2006), the Contractor shall timely, accurately and
greater than $1 million:                                            properly comply with the requirement to submit an annual
                                                                    employment report for the contract to the agency that awarded
Page 6                                                                                                             January 2014

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the contract, the Department of Civil Service and the State            limited to, imposing sanctions, seeking compliance,
Comptroller.                                                           recovering damages, or declaring the Contractor in default.

 352&85(0(17 /2%%<,1* To the extent this                           The state agency reserves the right to reject any bid, request
agreement is a "procurement contract" as defined by                    for assignment, renewal or extension for an entity that appears
State Finance Law Sections 139-j and 139-k, by signing this            on the Prohibited Entities List prior to the award, assignment,
agreement the contractor certifies and affirms that all                renewal or extension of a contract, and to pursue a
disclosures made in accordance with State Finance Law                  responsibility review with respect to any entity that is awarded
Sections 139-j and 139-k are complete, true and accurate. In           a contract and appears on the Prohibited Entities list after
the event such certification is found to be intentionally false or     contract award.
intentionally incomplete, the State may terminate the
agreement by providing written notification to the Contractor
in accordance with the terms of the agreement.

 &(57,),&$7,21 2) 5(*,675$7,21 72
&2//(&7 6$/(6 $1' &203(16$7,1* 86( 7$;
%< &(57$,1 67$7( &2175$&7256 $)),/,$7(6
$1' 68%&2175$&7256.
To the extent this agreement is a contract as defined by Tax
Law Section 5-a, if the contractor fails to make the
certification required by Tax Law Section 5-a or if during the
term of the contract, the Department of Taxation and Finance
or the covered agency, as defined by Tax Law 5-a, discovers
that the certification, made under penalty of perjury, is false,
then such failure to file or false certification shall be a material
breach of this contract and this contract may be terminated, by
providing written notification to the Contractor in accordance
with the terms of the agreement, if the covered agency
determines that such action is in the best interest of the State.

26. ,5$1 ',9(670(17 $&7. By entering into this
Agreement, Contractor certifies in accordance with State
Finance Law §165-a that it is not on the “Entities Determined
to be Non-Responsive Bidders/Offerers pursuant to the New
York State Iran Divestment Act of 2012” (“Prohibited Entities
List”) posted at:
http://www.ogs ny.gov/about/regs/docs/ListofEntities.pdf

Contractor further certifies that it will not utilize on this
Contract any subcontractor that is identified on the Prohibited
Entities List. Contractor agrees that should it seek to renew or
extend this Contract, it must provide the same certification at
the time the Contract is renewed or extended. Contractor also
agrees that any proposed Assignee of this Contract will be
required to certify that it is not on the Prohibited Entities List
before the contract assignment will be approved by the State.

During the term of the Contract, should the state agency
receive information that a person (as defined in State Finance
Law §165-a) is in violation of the above-referenced
certifications, the state agency will review such information
and offer the person an opportunity to respond. If the person
fails to demonstrate that it has ceased its engagement in the
investment activity which is in violation of the Act within 90
days after the determination of such violation, then the state
agency shall take such action as may be appropriate and
provided for by law, rule, or contract, including, but not

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                                                          DOCCS 00016
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                               APPENDIX B

                          General Specifications
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NEW YORK STATE DEPT OF CORRECTIONS AND COMMUNITY SUPERVISION




                                $33(1',; %

                   *(1(5$/ 63(&,),&$7,216




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GENERAL SPECIFICATIONS                                                                               APPENDIX B


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                              *(1(5$/                                       $77251(< *(1(5$/ Attorney General of the State of New
                                                                            York.
1. $33/,&$%,/,7< The terms and conditions set forth in this
Appendix B are expressly incorporated in and applicable to the              $87+25,=(' 86(5 6 Agencies, or any other entity authorized
resulting procurement contracts let by the Department of Corrections        by the laws of the State of New York to participate in NYS centralized
and Community Supervision, or let by any other Authorized User              contracts (including but not limited to political subdivisions, public
where incorporated by reference in its Bid Documents. Captions are          authorities, public benefit corporations and certain other entities set
intended as descriptive and are not intended to limit or otherwise          forth in law), or the State of New York acting on behalf of one or more
restrict the terms and conditions set forth herein.                         such Agencies or other entities, provided that each such Agency or
                                                                            other entity shall be held solely responsible for liabilities or payments
2. *29(51,1* /$: This procurement, the resulting contract                   due as a result of its participation.
and any purchase orders issued hereunder shall be governed by the
laws of the State of New York except where the Federal supremacy            %,' 25 %,' 352326$/ An offer or proposal submitted by a
clause requires otherwise, and actions or proceedings arising from the      Bidder to furnish a described product or a solution, perform services or
contract shall be heard in a court of competent jurisdiction in the State   means of achieving a practical end, at a stated price for the stated
of New York.                                                                Contract term. As required by the Bid Documents, the Bid or proposal
                                                                            may be subject to modification through the solicitation by the Agency
3. (7+,&6 &203/,$1&( All Bidders/Contractors and their                      of best and final offers during the evaluation process prior to
employees must comply with the requirements of Sections 73 and 74           recommendation for award of the Contract.
of the Public Officers Law, other State codes, rules, regulations and
executive orders establishing ethical standards for the conduct of          %,''(5/2))(5(5 Any individual or other legal entity (including
business with New York State. In signing the Bid, Bidder certifies full     but not limited to sole proprietor, partnership, limited liability
compliance with those provisions for any present or future dealings,        company, firm or corporation) which submits a Bid in response to a
transactions, sales, contracts, services, offers, relationships, etc.,      Bid Solicitation. The term Bidder shall also include the term
involving New York State and/or its employees. Failure to comply            “offeror.” In the case of negotiated Contracts, “Bidder” shall refer to
with those provisions may result in disqualification from the Bidding       the “Contractor.”
process, termination of contract, and/or other civil or criminal
proceedings as required by law.                                             %,' '2&80(176 Writings by the State setting forth the scope,
                                                                            terms, conditions and technical specifications for a procurement of
4. &21)/,&7 2) 7(506 Unless otherwise set forth in the                      Product. Such writings typically include, but are not limited to:
procurement or contract documents, conflicts among documents shall          Invitation for Bids (IFB), Request for Quotation (RFQ), Request for
be resolved in the following order of precedence:                           Proposals (RFP), addenda or amendments thereto, and terms and
D $SSHQGL[ $ (Standard Clauses for NYS Contracts)                          conditions which are incorporated by reference, including but not
E 0LQL%LG 3URMHFW 'HILQLWLRQ if applicable and in accordance              limited to, Appendix A (Standard Clauses for NYS Contracts),
with the terms and conditions of the Back-Drop Contract.                    Appendix B, (General Specifications).          Where these General
F &RQWUDFW DQG RWKHU ZULWLQJ V setting forth the final                     Specifications are incorporated in negotiated Contracts that have not
agreements, clarifications and terms between the Bid Documents and          been competitively Bid, the term “Bid Documents” shall be deemed to
Contractor’s Bid. In the latter circumstance, clarifications must           refer to the terms and conditions set forth in the negotiated Contract
specifically note in writing what was offered by the Contractor and         and associated documentation.
what was accepted by the State. If not, such clarifications shall be
considered last in the order of precedence under this paragraph.            %,' 63(&,),&$7,21 A written description drafted by the
G %LG 'RFXPHQWV (Other than Appendix A).                                   Authorized User setting forth the specific terms of the intended
     i. Bid Specifications prepared by the Authorized User.                 procurement, which may include: physical or functional
     ii. Appendix B (General Specifications).                               characteristics, the nature of a commodity or construction item, any
     iii. Incorporated Contract Appendices, if any, following the           description of the work to be performed, Products to be provided, the
order of precedence as stated for Contract above.                           necessary qualifications of the Bidder, the capacity and capability of
H Contractor’s Bid or Mini%LG 3URSRVDO.                                   the Bidder to successfully carry out the proposed Contract, or the
I 8QLQFRUSRUDWHG $SSHQGLFHV (if any).                                      process for achieving specific results and/or anticipated outcomes or
                                                                            any other requirement necessary to perform work. Where these
 '(),1,7,216 Terms used in this Appendix B shall have the                 General Specifications are incorporated in negotiated Contracts that
following meanings:                                                         have not been competitively Bid, the term “Bid Specifications” shall
                                                                            be deemed to refer to the terms and conditions set forth in the
$)),/,$7( Any individual or other legal entity, (including but not          negotiated Contract and associated documentation.
limited to sole proprietor, partnership, limited liability company, firm
or corporation) that effectively controls another company in which (a)      &200,66,21(5 Commissioner of DOCCS, or in the case of Bid
the Bidder owns more than 50% of the ownership; or (b) any                  Specifications issued by an Authorized User, the head of such
individual or other legal entity which owns more than 50% of the            Authorized User or their authorized representative.
ownership of the Bidder. In addition, if a Bidder owns less than 50%
of the ownership of another legal entity, but directs or has the right to   &203752//(5 Comptroller of the State of New York.
direct such entity’s daily operations, that entity will be an Affiliate.
                                                                            &2175$&7 The writing(s) which contain the agreement of the
$*(1&< 25 $*(1&,(6 The State of New York, acting by                         Commissioner and the Bidder/Contractor setting forth the total legal
or through one or more departments, boards, commissions,                    obligation between the parties as determined by applicable rules of
offices or institutions of the State of New York.                           law, and which most typically include the following classifications of
                                                                            public procurements:


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D $JHQF\ 6SHFLILF &RQWUDFWV Contracts where the specifications            of acquisitions by State Agencies, the Licensee shall be the State of
for a Product or a particular scope of work are described and defined to   New York.
meet the needs of one or more Authorized User(s).
                                                                           /,&(16( ())(&7,9( '$7( The date Product is delivered to an
E 3LJJ\EDFN &RQWUDFW A Contract let by any department, agency             Authorized User. Where a License involves Licensee’s right to copy a
or instrumentality of the United States government, or any department,     previously licensed and delivered Master Copy of a Program, the
agency, office, political subdivision or instrumentality of any state or   license effective date for additional copies shall be deemed to be the
state(s) which is adopted and extended for use by the DOCCS                date on which the Purchase Order is executed.
Commissioner in accordance with the requirements of the State
Finance Law.                                                               /,&(1625 A Contractor who transfers rights in proprietary Product
                                                                           to Authorized Users in accordance with the rights and obligations
F &RQWUDFW /HWWHU A letter to the successful Bidder(s) indicating         specified in the Contract.
acceptance of its Bid in response to a solicitation. Unless otherwise
specified, the issuance of a Letter of Acceptance forms a Contract but     0,1,-%,' 352-(&7 '(),1,7,21 A Bid Document containing
is not an order for Product, and Contractor should not take any action     project specific Bid Specifications developed by or for an Authorized
with respect to actual Contract deliveries except on the basis of          User which solicits Bids from Contractors previously qualified under a
Purchase Orders sent from Authorized User(s).                              Back-Drop Contract.

&2175$&7 $:$5' 127,),&$7,21 An announcement to                             08/7,3/( $:$5' A determination and award of a Contract in
Authorized Users that a Contract has been established.                     the discretion of the Commissioner to more than one responsive and
                                                                           responsible Bidder who meets the requirements of a specification,
&2175$&725 Any successful Bidder(s) to whom a Contract has                 where the multiple award is made on the grounds set forth in the Bid
been awarded by the Commissioner.                                          Document in order to satisfy multiple factors and needs of Authorized
                                                                           Users (e.g., complexity of items, various manufacturers, differences in
'2&80(17$7,21 The complete set of manuals (e.g., user,                     performance required to accomplish or produce required end results,
installation, instruction or diagnostic manuals) in either hard or         production and distribution facilities, price, compliance with delivery
electronic copy, which are necessary to enable an Authorized User to       requirements, geographic location or other pertinent factors).
properly test, install, operate and enjoy full use of the Product.
                                                                           1(: 352'8&7 5(/($6(6 (Product Revisions)                          Any
(0(5*(1&< An urgent and unexpected requirement where health                commercially released revisions to the licensed version of a Product as
and public safety or the conservation of public resources is at risk.      may be generally offered and available to Authorized Users. New
                                                                           releases involve a substantial revision of functionality from a
(17(535,6( The total business operations in the United States of           previously released version of the Product.
Authorized User (s) without regard to geographic location where such
operations are performed or the entity actually performing such            352&85(0(17 5(&25' Documentation by the Authorized
operations on behalf of Authorized User.                                   User of the decisions made and approach taken during the procurement
                                                                           process and during the contract term.
(17(535,6( /,&(16( A license grant of unlimited rights to
deploy, access, use and execute Product anywhere within the                352'8&7 A deliverable under any Bid or Contract which may
Enterprise up to the maximum capacity stated on the Purchase Order         include commodities, services and/or technology. The term “Product”
or in the Contract.                                                        includes Licensed Software.

(5525 &255(&7,216 Machine executable software code                         35235,(7$5<          Protected by secrecy, patent, copyright or
furnished by Contractor which corrects the Product so as to conform to     trademark against commercial competition.
the applicable warranties, performance standards and/or obligations of
the Contractor.                                                            385&+$6( 25'(5 The Authorized User’s fiscal form or format
                                                                           that is used when making a purchase (e.g., formal written Purchase
,19,7$7,21 )25 %,'6 (,)%) A type of Bid Document which is                  Order, Procurement Card, electronic Purchase Order, or other
most typically used where requirements can be stated and award will        authorized instrument).
be made based on lowest price to the responsive and responsible
Bidder(s).                                                                 5(48(67 )25 352326$/6 (5)3) A type of Bid Document that
                                                                           is used for procurements where factors in addition to cost are
/,&(16(' 62)7:$5( Software transferred upon the terms and                  considered and weighted in awarding the contract and where the
conditions set forth in the Contract. “Licensed Software” includes         method of award is “best value,” as defined by the State Finance Law.
error corrections, upgrades, enhancements or new releases, and any
deliverables due under a maintenance or service contract (e.g., patches,   5(48(67 )25 4827$7,21 (5)4) A type of Bid Document
fixes, PTFs, programs, code or data conversion, or custom                  that can be used when a formal Bid opening is not required (e.g.,
programming).                                                              discretionary, sole source, single source or emergency purchases).

/,&(16(( One or more Authorized Users who acquire Product                  5(63216,%/( %,''(5 A Bidder that is determined to have
from Contractor by issuing a Purchase Order in accordance with the         financial and organizational capacity, legal authority, satisfactory
terms and conditions of the Contract; provided that, for purposes of       previous performance, skill, judgment and integrity, and that is found
compliance with an individual license, the term “Licensee” shall be        to be competent, reliable and experienced, as determined by the
deemed to refer separately to the individual Authorized User(s) who        Commissioner. For purposes of being deemed responsible, a Bidder
took receipt of and who is executing the Product, and who shall be         must also be determined to be in compliance with Sections 139-j and
solely responsible for performance and liabilities incurred. In the case   139-k of the State Finance Law relative to restrictions on contacts

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during the procurement process and disclosure of contacts and prior         delivery company that requires use of their shipping package or
findings of non-responsibility under these statutes.                        envelope, Bidder’s sealed Bid, labeled as detailed below, should be
                                                                            placed within the shipper’s sealed envelope to ensure that the Bid is
5(63216,9( %,''(5 A Bidder meeting the specifications or                    not prematurely opened.
requirements prescribed in the Bid Document or solicitation, as
determined by the Commissioner.                                             All Bids must have a label on the outside of the package or shipping
                                                                            container outlining the following information:
6,1*/( 6285&( A procurement where two or more Bidders can
supply the required Product, and the Commissioner may award the                       “%,' (1&/26(' (bold print, all capitals)
contract to one Bidder over the other.
                                                                                      •    Group Number
6,7( The location (street address) where Product will be executed or                  •    IFB or RFP Number
services delivered.                                                                   •    Bid Submission date and time”

62/( 6285&( A procurement where only one Bidder is capable of               In the event that a Bidder fails to provide such information on the
supplying the required Product.                                             return Bid envelope or shipping material, the receiving entity reserves
                                                                            the right to open the shipping package or envelope to determine the
6285&( &2'( The programming statements or instructions                      proper Bid number or Product group, and the date and time of Bid
written and expressed in any language understandable by a human             opening. Bidder shall have no claim against the receiving entity
being skilled in the art which are translated by a language compiler to     arising from such opening and such opening shall not affect the
produce executable machine Object Code.                                     validity of the Bid or the procurement.

67$7( State of New York.                                                    Notwithstanding the receiving agency’s right to open a Bid to ascertain
                                                                            the foregoing information, Bidder assumes all risk of late delivery
68%&2175$&725 Any individual or other legal entity, (including              associated with the Bid not being identified, packaged or labeled in
but not limited to sole proprietor, partnership, limited liability          accordance with the foregoing requirements.
company, firm or corporation) who has entered into a contract, express
or implied, for the performance of a portion of a Contract with a           All Bids must be signed by a person authorized to commit the Bidder
Contractor.                                                                 to the terms of the Bid Documents and the content of the Bid (offer).

7(506 2) /,&(16( The terms and conditions set forth in the                   )$&6,0,/( 68%0,66,216 Unless specifically prohibited by
Contract that are in effect and applicable to a Purchase Order at the       the terms of the Bid Specifications, facsimile Bids may be
time of order placement.                                                    SUBMITTED AT THE SOLE OPTION AND RISK OF THE
                                                                            BIDDER.        Only the FAX number(s) indicated in the Bid
9,586 Any computer code, whether or not written or conceived by             Specifications may be used. Access to the facsimile machine(s) is on a
Contractor, that disrupts, disables, harms, or otherwise impedes in any     “first come, first serve” basis, and the Commissioner bears no liability
manner the operation of the Product, or any other associated software,      or responsibility and makes no guarantee whatsoever with respect to
firmware, hardware, or computer system (such as local area or wide-         the Bidder’s access to such equipment at any specific time. Bidders
area networks), including aesthetic disruptions or distortions, but does    are solely responsible for submission and receipt of the entire facsimile
not include security keys or other such devices installed by Product        Bid by the Authorized User prior to Bid opening and must include on
manufacturer.                                                               the first page of the transmission the total number of pages transmitted
                                                                            in the facsimile, including the cover page. Incomplete, ambiguous or
                        %,' 68%0,66,21                                      unreadable transmissions in whole or in part may be rejected at the
                                                                            sole discretion of the Commissioner. Facsimile Bids are fully
 ,17(51$7,21$/ %,'',1* All offers (tenders), and all                      governed by all conditions outlined in the Bid Documents and must be
information and Product required by the solicitation or provided as         submitted on forms or in the format required in the Bid Specifications,
explanation thereof, shall be submitted in English. All prices shall be     including the executed signature page and acknowledgment.
expressed, and all payments shall be made, in United States Dollars
($US). Any offers (tenders) submitted which do not meet the above            $87+(17,&$7,21 2) )$&6,0,/( %,'6 The act of
criteria will be rejected.                                                  submitting a Bid by facsimile transmission, including an executed
                                                                            signature page or as otherwise specified in the Bid Documents, shall
 %,' 23(1,1* Bids may, as applicable, be opened publicly.                 be deemed a confirming act by Bidder which authenticates the signing
The Commissioner reserves the right at any time to postpone or cancel       of the Bid.
a scheduled Bid opening.
                                                                             /$7( %,'6 For purposes of Bid openings held and conducted
 %,' 68%0,66,21 All Bids are to be packaged, sealed and                   by DOCCS, a Bid must be received in such place as may be designated
submitted to the location stated in the Bid Specifications. Bidders are     in the Bid Documents.
solely responsible for timely delivery of their Bids to the location set
forth in the Bid Specifications prior to the stated Bid opening             Any Bid received at the specified location after the time specified will
date/time.                                                                  be considered a late Bid. A late Bid shall not be considered for award
                                                                            unless: (i) no timely Bids meeting the requirements of the Bid
A Bid return envelope, if provided with the Bid Specifications, should      Documents are received or, (ii) in the case of a multiple award, an
be used with the Bid sealed inside. If the Bid response does not fit into   insufficient number of timely Bids were received to satisfy the
the envelope, the Bid envelope should be attached to the outside of the     multiple award; and acceptance of the late Bid is in the best interests
sealed box or package with the Bid inside. If using a commercial            of the Authorized Users. Delays in United States mail deliveries or
                                                                            any other means of transmittal, including couriers or agents of the

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Authorized User shall not excuse late Bid submissions. Similar types      determination on the exemption request, which determination will be
of delays, including but not limited to, bad weather, or security         made in accordance with statutory procedures. Properly identified
procedures for parking and building admittance shall not excuse late      information that has been designated confidential, trade secret, or
Bid submissions. Determinations relative to Bid timeliness shall be at    proprietary by the Bidder will not be disclosed except as may be
the sole discretion of the Commissioner.                                  required by the Freedom of Information Law or other applicable State
                                                                          and federal laws.
 %,' &217(176 Bids must be complete and legible. All Bids
must be signed. All information required by the Bid Specifications        E &RPPLVVLRQHU RU $XWKRUL]HG 8VHU Contractor further warrants,
must be supplied by the Bidder on the forms or in the format specified.   covenants and represents that any confidential information obtained by
No alteration, erasure or addition is to be made to the Bid Documents.    Contractor, its agents, Subcontractors, officers, distributors, resellers
Changes may be ignored by the Commissioner or may be grounds for          or employees in the course of performing its obligations, including
rejection of the Bid. Changes, corrections and/or use of white-out in     without limitation, security procedures, business operations
the Bid or Bidder’s response portion of the Bid Document must be          information, or commercial proprietary information in the possession
initialed by an authorized representative of the Bidder. Bidders are      of the State or any Authorized User hereunder or received from
cautioned to verify their Bids before submission, as amendments to        another third party, will not be divulged to any third parties.
Bids or requests for withdrawal of Bids received by the Commissioner      Contractor shall not be required to keep confidential any such material
after the time specified for the Bid opening, may not be considered.      that is publicly available through no fault of Contractor, independently
                                                                          developed by Contractor without reliance on confidential information
 (;75$1(286 7(506 Bids must conform to the terms set                   of the Authorized User, or otherwise obtained under the Freedom of
forth in the Bid Documents, as extraneous terms or material deviations    Information Act or other applicable New York State laws and
(including additional, inconsistent, conflicting or alternative terms)    regulations. This warranty shall survive termination of this Contract.
may render the Bid non-responsive and may result in rejection of the      Contractor further agrees to take appropriate steps as to its agents,
Bid.                                                                      Subcontractors, officers, distributors, resellers or employees regarding
                                                                          the obligations arising under this clause to insure such confidentiality.
Extraneous term(s) submitted on standard, pre-printed forms
(including but not limited to: product literature, order forms, license    5(/($6( 2) %,' (9$/8$7,21 0$7(5,$/6 Requests
agreements, contracts or other documents) that are attached or            concerning the evaluation of Bids may be submitted under the
referenced with submissions shall not be considered part of the Bid or    Freedom of Information Law. Information, other than statistical or
resulting Contract, but shall be deemed included for informational or     factual tabulations or data such as the Bid Tabulation, shall only be
promotional purposes only.                                                released as required by law after Contract award. Bid Tabulations are
                                                                          not maintained for all procurements. Names of Bidders may be
Only those extraneous terms that meet all the following requirements      disclosed after Bid opening upon request. Written requests should be
may be considered as having been submitted as part of the Bid:            directed to the Commissioner.

D Each proposed extraneous term (addition, deletion, counter-offer,       )5(('20 2) ,1)250$7,21 /$: During the evaluation
deviation, or modification) must be specifically enumerated in a          process, the content of each Bid will be held in confidence and details
writing which is not part of a pre-printed form; and                      of any Bid will not be revealed (except as may be required under the
                                                                          Freedom of Information Law or other State law). The Freedom of
E The writing must identify the particular specification requirement     Information Law provides for an exemption from disclosure for trade
(if any) that Bidder rejects or proposes to modify by inclusion of the    secrets or information the disclosure of which would cause injury to
extraneous term; and                                                      the competitive position of commercial enterprises. This exception
                                                                          would be effective both during and after the evaluation process. If the
F The Bidder shall enumerate the proposed addition, counter offer,       Bid contains any such trade secret or other confidential or proprietary
modification or deviation from the Bid Document, and the reasons          information, it must be accompanied in the Bid with a written request
therefore.                                                                to the Commissioner to not disclose such information. Such request
                                                                          must state with particularity the reasons why the information should
No extraneous term(s), whether or not deemed “material,” shall be         not be available for disclosure and must be provided at the time of
incorporated into a Contract or Purchase Order unless submitted in        submission of the Bid. Notations in the header, footer or watermark of
accordance with the above and the Commissioner or Authorized User         the Bid Document will not be considered sufficient to constitute a
expressly accepts each such term(s) in writing. Acceptance and/or         request for non-disclosure of trade secret or other confidential or
processing of the Bid shall not constitute such written acceptance of     proprietary information. Where a Freedom of Information request is
Extraneous Term(s).                                                       made for trademark or other confidential or proprietary information,
                                                                          the Commissioner reserves the right to determine upon written notice
. &21),'(17,$/75$'( 6(&5(7 0$7(5,$/6                                   to the Bidder whether such information qualifies for the exemption for
D &RQWUDFWRU Confidential, trade secret or proprietary materials as      disclosure under the law. Notwithstanding the above, where a Bid
defined by the laws of the State of New York must be clearly marked       tabulation is prepared and Bids publicly opened, such Bid tabulation
and identified as such upon submission by the Bidder. Marking the         shall be available upon request.
Bid as “confidential” or “proprietary” on its face or in the document
header or footer shall not be considered by the Commissioner or            35(9$,/,1* :$*( 5$7(6  38%/,& :25.6 $1'
Authorized User to be sufficient without specific justification as to     %8,/',1* 6(59,&(6 &2175$&76 If any portion of work
why disclosure of particular information in the Bid would cause           being Bid is subject to the prevailing wage rate provisions of the Labor
substantial injury to the competitive position of the Bidder.             Law, the following shall apply:
Bidders/Contractors intending to seek an exemption from disclosure of
these materials under the Freedom of Information Law must request         D   “Public Works” and “Building Services”  'HILQLWLRQV
the exemption in writing, setting forth the reasons for the claimed            L 3XEOLF :RUNV Labor Law Article 8 applies to contracts for
exemption. Acceptance of the claimed materials does not constitute a      public improvement in which laborers, workers or mechanics are

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employed on a “public works” project (distinguished from public                provision does not apply to Article 9 of the Labor Law building
“procurement” or “service” contracts). The State, a public benefit             services contracts.
corporation, a municipal corporation (including a school district), or a
commission appointed by law must be a party to the Contract. The                    LY 5HFRUGV 5HWHQWLRQ Contractors and Subcontractors must
wage and hours provision applies to any work performed by                      preserve such certified transcripts for a period of three years from the
Contractor or Subcontractors.                                                  date of completion of work on the awarded contract.

     LL %XLOGLQJ 6HUYLFHV Labor Law Article 9 applies to Contracts            Day’s Labor Eight hours shall constitute a legal day's work for all
for building service work over              with a public agency, that: (i)    classes of employees in this state except those engaged in farm and
                                   REDACTED


involve the care or maintenance of an existing building, or (ii) involve       domestic service unless otherwise provided by law.
the transportation of office furniture or equipment to or from such
building, or (iii) involve the transportation and delivery of fossil fuel to   No laborers, workmen or mechanics in the employ of the Contractor,
such building, and (iv) the principal purpose of which is to furnish           Subcontractor or other person doing or contracting to do all or part of
services through use of building service employees.                            the work contemplated by the Contract shall be permitted or required
                                                                               to work more than eight hours in any one calendar day or more than
E 3UHYDLOLQJ :DJH 5DWH $SSOLFDEOH WR %LG 6XEPLVVLRQV A copy                   five calendar days in any one week except in cases of extraordinary
of the applicable prevailing wage rates to be paid or provided are             emergency including fire, flood or danger to life or property.
annexed to the Bid Documents. Bidders must submit Bids which are               “Extraordinary emergency” shall be deemed to include situations in
based upon the prevailing hourly wages, and supplements in cash or             which sufficient laborers, workers and mechanics cannot be employed
equivalent benefits (i.e., fringe benefits and any cash or non-cash            to carry on public work expeditiously as a result of such restrictions
compensation which are not wages, as defined by law) that equal or             upon the number of hours and days of labor and the immediate
exceed the applicable prevailing wage rate(s) for the location where           commencement or prosecution or completion without undue delay of
the work is to be performed. Bidders may not submit Bids based upon            the public work is necessary in the judgment of the NYS
hourly wage rates and supplements below the applicable prevailing              Commissioner of Labor for the preservation of the Contract site or for
wage rates as established by the New York State Department of Labor.           the protection of the life and limb of the persons using the Contract
Bids that fail to comply with this requirement will be disqualified.           site.

F :DJH 5DWH 3D\PHQWV  &KDQJHV 'XULQJ &RQWUDFW 7HUP The                        7$;(6
wages to be paid under any resulting Contract shall not be less than the       a. Unless otherwise specified in the Bid Specifications or Contract,
prevailing rate of wages and supplements as set forth by law. It is            the quoted Bid price includes all taxes applicable to the transaction.
required that the Contractor keep informed of all changes in the
Prevailing Wage Rates during the Contract term that apply to the               E Purchases made by the State of New York and certain non-State
classes of individuals supplied by the Contractor on any projects              Authorized Users are exempt from New York State and local sales
resulting from this Contract, subject to the provisions of the Labor           taxes and, with certain exceptions, federal excise taxes. To satisfy the
Law. Contractor is solely liable for and must pay such required                requirements of the New York State Sales tax exemption, either the
prevailing wage adjustments during the Contract term as required by            Purchase Order issued by a State Agency or the invoice forwarded to
law.                                                                           authorize payment for such purchases will be sufficient evidence that
                                                                               the sale by the Contractor was made to the State, an exempt
G 3XEOLF 3RVWLQJ         &HUWLILHG 3D\UROO 5HFRUGV In compliance              organization under Section 1116 (a) (1) of the Tax Law. Non-State
with Article 8, Section 220 of the New York State Labor Law:                   Authorized Users must offer their own proof of exemption upon
                                                                               request. No person, firm or corporation is, however, exempt from
     L 3RVWLQJ The Contractor must publicly post on the work site, in         paying the State Truck Mileage and Unemployment Insurance or
a prominent and accessible place, a legible schedule of the prevailing         Federal Social Security taxes, which remain the sole responsibility of
wage rates and supplements.                                                    the Bidder/Contractor.

      LL 3D\UROO 5HFRUGV Contractors and Subcontractors must keep             F Pursuant to Revised Tax Law 5-a, Contractor will be required to
original payrolls or transcripts subscribed and affirmed as true under         furnish sales tax certification on its behalf and for its affiliates, and
the penalties of perjury as required by law. For public works contracts        subcontractors for Contracts with a value greater than $100,000 in
over $25,000 where the Contractor maintains no regular place of                accordance with provisions of the law.
business in New York State, such records must be kept at the work
site. For building services contracts, such records must be kept at the        G Purchases by Authorized Users other than the State of New York
work site while work is being performed.                                       may be subject to certain taxes which were not included in the Bid
                                                                               price, and in those instances the tax should be computed based on the
     LLL 6XEPLVVLRQ RI &HUWLILHG 3D\UROO 7UDQVFULSWV IRU 3XEOLF               Contract price and added to the invoice submitted to such entity for
:RUNV &RQWUDFWV 2QO\ Contractors and Subcontractors on public                  payment.
works projects must submit monthly payroll transcripts to the
Authorized User that has prepared or directs the preparation of the             (;3(16(6 35,25 72 &2175$&7 (;(&87,21 The
plans and specifications for a public works project, as set forth in the       Commissioner and any Authorized User(s) are not liable for any costs
Bid Specifications. For “agency specific” Bids, the payroll records            incurred by a Vendor, Bidder or Contractor in the preparation and
should be submitted to the entity issuing the purchase order. Upon             production of a Bid, Mini-Bid or best and final offers or for any work
mutual agreement of the Contractor and the Authorized User, the form           performed prior to Contract execution.
of submission may be submitted in a specified disk format acceptable
to the Department of Labor provided: 1) the Contractor/Subcontractor            $'9(57,6,1* 5(68/76 The prior written approval of the
retains the original records; and, (2) an original signed letter by a duly     Commissioner is required in order for results of the Bid to be used by
authorized individual of the Contractor or Subcontractor attesting to          the Contractor as part of any commercial advertising. The Contractor
the truth and accuracy of the records accompanies the disk. This

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shall also obtain the prior written approval of the Commissioner           G (GXFDWLRQDO 3ULFLQJ All Products to be supplied for educational
relative to the Bid or Contract for press or other media releases.         purposes that are subject to educational discounts shall be identified in
                                                                           the Bid and such discounts shall be made available to qualifying
 352'8&7 5()(5(1&(6                                                     institutions.
D “2U (TXDO” In all Bid Specifications the words “or equal” are
understood to apply where a copyrighted, brand name, trade name,           H 7KLUG 3DUW\ )LQDQFLQJ If Product acquisitions are financed
catalog reference, or patented Product is referenced. References to        through any third party financing, Contractor may be required as a
such specific Product are intended as descriptive, not restrictive,        condition of Contract Award to agree to the terms and conditions of a
unless otherwise stated. Comparable Product will be considered if          “Consent & Acknowledgment Agreement” in a form acceptable to the
proof of compatibility is provided, including appropriate catalog          Commissioner.
excerpts, descriptive literature, specifications and test data, etc. The
Commissioner’s decision as to acceptance of the Product as equal           I %HVW 3ULFLQJ 2IIHU During the Contract term, if substantially the
shall be final.                                                            same or a smaller quantity of a Product is sold by the Contractor
                                                                           outside of this Contract upon the same or similar terms and conditions
E 'LVFUHSDQFLHV LQ 5HIHUHQFHV In the event of a discrepancy               as that of this Contract at a lower price to a federal, state or local
between the model number referenced in the Bid Specifications and          governmental entity, the price under this Contract, at the discretion of
the written description of the Products which cannot be reconciled,        the Commissioner, shall be immediately reduced to the lower price.
with respect to such discrepancy, then the written description shall
prevail.                                                                   Price decreases shall take effect automatically during the Contract term
                                                                           and apply to Purchase Orders submitted on or after:
 5(0$18)$&785(' 5(&<&/(' 5(&<&/$%/( 25                                 L *6$ &KDQJHV: Where NYS Net Prices are based on an approved
5(&29(5(' 0$7(5,$/6 Upon the conditions specified in the                   GSA Schedule, the date the approved GSA Schedule pricing decreases
Bid Specifications and in accordance with the laws of the State of New     during the Contract term; or
York, Contractors are encouraged to use recycled, recyclable or             LL &RPPHUFLDO 3ULFH /LVW 5HGXFWLRQV: Where NYS Net Prices are
recovered materials in the manufacture of Products and packaging to        based on a discount from Contractor’s list prices, the date Contractor
the maximum extent practicable without jeopardizing the performance        lowers its pricing to its customers generally or to similarly situated
or intended end use of the Product or packaging unless such use is         government customers during the Contract term; or
precluded due to health, welfare, safety requirements or in the Bid         LLL 6SHFLDO 2IIHUV3URPRWLRQV *HQHUDOO\:            Where Contractor
Specifications.      Contractors are further encouraged to offer           generally offers more advantageous special price promotions or special
remanufactured Products to the maximum extent practicable without          discount pricing to other customers during the Contract term for a
jeopardizing the performance or intended end use of the Product and        similar quantity, and the maximum price or discount associated with
unless such use is precluded due to health, welfare, safety                such offer or promotion is better than the discount or Net Price
requirements or by the Bid Specifications. Where such use is not           otherwise available under this Contract, such better price or discount
practical, suitable, or permitted by the Bid Specifications, Contractor    shall apply for similar quantity transactions under this Contract for the
shall deliver new materials in accordance with the “Warranties" set        life of such general offer or promotion; and
forth below.                                                                LY 6SHFLDO 2IIHUV/3URPRWLRQV WR $XWKRUL]HG 8VHUV: Contractor
                                                                           may offer Authorized Users, under either this Contract or any other
Items with recycled, recyclable, recovered, refurbished or                 Contracting vehicle, competitive pricing which is lower than the NYS
remanufactured content must be identified in the Bid or Bidder will be     Net Price set forth herein at any time during the Contract term and
deemed to be offering new Product.                                         such lower pricing shall not be applied as a global price reduction
                                                                           under the Contract pursuant to the foregoing paragraph (iii).
 352'8&76             0$18)$&785('             ,1 38%/,&
,167,787,216 Bids offering Products that are manufactured or               Unless otherwise specified in the Bid Specifications, Contractor may
produced in public institutions will be rejected.                          offer lower prices or better terms (see Modification of Contract Terms)
                                                                           on any specific Purchase Order(s) from any Authorized User without
 35,&,1*                                                                being in conflict with, or obligation to comply on a global basis, with
D 8QLW 3ULFLQJ If required by the Bid Specifications, the Bidder          the terms of this clause.
should insert the price per unit specified and the price extensions in
decimals, not to exceed four places for each item unless otherwise         J %HVW DQG )LQDO 3ULFHV As specified in the Bid Documents and
specified, in the Bid. In the event of a discrepancy between the unit      Contract, a Contractor may be solicited at the time of issuance of a
price and the extension, the unit price shall govern unless, in the sole   Purchase Order or Mini-Bid award for best and final pricing for the
judgment of the Commissioner, such unit pricing is obviously               Product or service to be delivered to the Authorized User. Contractors
erroneous.                                                                 are encouraged to reduce their pricing upon receipt of such request.

E 1HW 3ULFLQJ Unless otherwise required by the Bid Specifications,        . '5$:,1*6
prices shall be net, including transportation, customs, tariff, delivery   D 'UDZLQJV 6XEPLWWHG :LWK %LG When the Bid Specifications
and other charges fully prepaid by the Contractor to the destination(s)    require the Bidder to furnish drawings and/or plans, such drawings
indicated in the Bid Specifications, subject to the cash discount.         and/or plans shall conform to the mandates of the Bid Documents and
                                                                           shall, when approved by the Commissioner, be considered a part of the
F “No Charge” Bid When Bids are requested on a number of                  Bid and of any resulting Contract.          All symbols and other
Products as a Group or Lot, a Bidder desiring to Bid “no charge” on a      representations appearing on the drawings shall be considered a part of
Product in the Group or Lot must clearly indicate such. Otherwise,         the drawing.
such Bid may be considered incomplete and be rejected, in whole or in
part, at the discretion of the Commissioner.                               E 'UDZLQJV 6XEPLWWHG 'XULQJ WKH &RQWUDFW 7HUP Where
                                                                           required to develop, maintain and deliver diagrams or other technical
                                                                           schematics regarding the scope of work, Contractor shall do so on an

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ongoing basis at no additional charge, and must, as a condition of
payment, update drawings and plans during the Contract term to             A sample may be held by the Commissioner during the entire term of
reflect additions, alterations, and deletions. Such drawings and           the Contract and for a reasonable period thereafter for comparison with
diagrams shall be delivered to the Authorized User’s representative.       deliveries. At the conclusion of the holding period the sample, where
                                                                           feasible, will be returned as instructed by the Bidder, at the Bidder’s
F $FFXUDF\ RI 'UDZLQJV 6XEPLWWHG All drawings shall be neat               expense and risk. Where the Bidder has failed to fully instruct the
and professional in manner and shall be clearly labeled as to locations    Commissioner as to the return of the sample (i.e., mode and place of
and type of product, connections and components. Drawings and              return, etc.) or refuses to bear the cost of its return, the sample shall
diagrams are to be in compliance with accepted drafting standards.         become the sole property of the receiving entity at the conclusion of
Acceptance or approval of such plans shall not relieve the Contractor      the holding period.
from responsibility for design or other errors of any sort in the
drawings or plans, or from its responsibility for performing as            F (QKDQFHG 6DPSOHV When an approved sample exceeds the
required, furnishing product, services or installation, or carrying out    minimum specifications, all Product delivered must be of the same
any other requirements of the intended scope of work.                      enhanced quality and identity as the sample. Thereafter, in the event
                                                                           of a Contractor’s default, the Commissioner may procure a Product
 6,7( ,163(&7,21 Where a site inspection is required by the             substantially equal to the enhanced sample from other sources,
Bid Specifications or Project Definition, Bidder shall be required to      charging the Contractor for any additional costs incurred.
inspect the site, including environmental or other conditions for pre-
existing deficiencies that may affect the installed Product, equipment,    G &RQIRUPDQFH ZLWK 6DPSOH V Submission of a sample (whether
or environment or services to be provided and, which may affect            or not such sample is tested by, or for, the Commissioner) and
Bidder’s ability to properly deliver, install or otherwise provide the     approval thereof shall not relieve the Contractor from full compliance
required Product. All inquiries regarding such conditions shall be         with all terms and conditions, performance related and otherwise,
made in writing. Bidder shall be deemed to have knowledge of any           specified in the Bid Specifications. If in the judgment of the
deficiencies or conditions which such inspection or inquiry might have     Commissioner the sample or product submitted is not in accordance
disclosed. Bidder must provide a detailed explanation with its Bid if      with the specifications or testing requirements prescribed in the Bid
additional work is required under this clause in order to properly         Specifications, the Commissioner may reject the Bid. If an award has
complete the delivery and installation of the required Product or          been made, the Commissioner may cancel the Contract at the expense
provide the requested service.                                             of the Contractor.

 352&85(0(17 &$5' The State has entered into an                         H 7HVWLQJ All samples are subject to tests in the manner and place
agreement for purchasing card services. The Purchasing Card enables        designated by the Commissioner, either prior to or after Contract
Authorized Users to make authorized purchases directly from a              award. Unless otherwise stated in the Bid Specifications, Bidder
Contractor without processing a Purchase Orders or Purchase                samples consumed or rendered useless by testing will not be returned
Authorizations. Purchasing Cards are issued to selected employees          to the Bidder. Testing costs for samples that fails to meet Contract
authorized to purchase for the Authorized User and having direct           requirements may be at the expense of the Contractor.
contact with Contractors. Cardholders can make purchases directly
from any Contractor that accepts the Purchasing Card.                      I 5HTXHVWV )RU 6DPSOHV %\ $XWKRUL]HG 8VHUV Requests for
                                                                           samples by Authorized Users require the consent of the Contractor.
     The Contractor shall not process a transaction for payment            Where Contractor refuses to furnish a sample, Authorized User may,
through the credit card clearinghouse until the purchased products         in its sole discretion, make a determination on the performance
have been shipped or services performed. Unless the cardholder             capability of the Product or on the issue in question.
requests correction or replacement of a defective or faulty Product in
accordance with other Contract requirements, the Contractor shall                                 %,' (9$/8$7,21
immediately credit a cardholder’s account for products returned as
defective or faulty.                                                        %,' (9$/8$7,21 The Commissioner reserves the right to
                                                                           accept or reject any and all Bids, or separable portions of offers, and
 6$03/(6                                                                waive technicalities, irregularities, and omissions if the Commissioner
D 6WDQGDUG 6DPSOHV Bid Specifications may indicate that the               determines the best interests of the State will be served. The
Product to be purchased must be equal to a standard sample on display      Commissioner, in his/her sole discretion, may accept or reject illegible,
in a place designated by the Commissioner and such sample will be          incomplete or vague Bids and his/her decision shall be final. A
made available to the Bidder for examination prior to the opening date.    conditional or revocable Bid which clearly communicates the terms or
Failure by the Bidder to examine such sample shall not entitle the         limitations of acceptance may be considered, and Contract award may
Bidder to any relief from the conditions imposed by the Bid                be made in compliance with the Bidder’s conditional or revocable
Specifications.                                                            terms in the offer.

E %LGGHU 6XSSOLHG 6DPSOHV The Commissioner reserves the right              &21',7,21$/ %,' Unless the Bid Specifications provides
to request from the Bidder/Contractor a representative sample(s) of the    otherwise, a Bid is not rendered non-responsive if the Bidder specifies
Product offered at any time prior to or after award of a contract.         that the award will be accepted only on all or a specified group of
Unless otherwise instructed, samples shall be furnished within the time    items or Product included in the specification. It is understood that
specified in the request. Untimely submission of a sample may              nothing herein shall be deemed to change or alter the method of award
constitute grounds for rejection of Bid or cancellation of the Contract.   contained in the Bid Documents.
Samples must be submitted free of charge and be accompanied by the
Bidder’s name and address, any descriptive literature relating to the       &/$5,),&$7,216 / 5(9,6,216                 Prior to award, the
Product and a statement indicating how and where the sample is to be       Commissioner reserves the right to seek clarifications, request Bid
returned. Where applicable, samples must be properly labeled with the      revisions, or to request any information deemed necessary for proper
appropriate Bid or Contract reference.

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evaluation of Bids from all Bidders deemed to be eligible for Contract        Pursuant to Section 163(9)(e) of the State Finance Law and Section 2-
award. Failure to provide requested information may result in                 205 of the Uniform Commercial Code when applicable, where an
rejection of the Bid.                                                         award is not made within the sixty (60) day period or other time
                                                                              specified as set forth in the Bid Documents, the Bids shall remain firm
 352037 3$<0(17 ',6&28176 While prompt payment                             until such later time as either a Contract is awarded or the Bidder
discounts will not be considered in determining the low Bid, the              delivers to the Commissioner written notice of the withdrawal of its
Commissioner may consider any prompt payment discount in                      Bid. Any Bid which expressly states therein that acceptance must be
resolving Bids which are otherwise tied. However, any notation                made within a shorter specified time, may at the sole discretion of the
indicating that the price is net, (e.g., net 30 days), shall be understood    Commissioner, be accepted or rejected.
to mean only that no prompt payment discount is offered by the
Bidder. The imposition of service, interest, or other charges, except                             7(506         &21',7,216
pursuant to the provisions of Article 11-A of the State Finance Law,
which are applicable in any case, may render the Bid non-responsive            &2175$&7 &5($7,21  (;(&87,21                          Except for
and may be cause for its rejection.                                           contracts governed by Article 11-B of the State Finance Law, subject
                                                                              to and upon receipt of all required approvals as set forth in the Bid
 (48,9$/(17 25 ,'(17,&$/ %,'6 In the event two                             Specifications a Contract shall be deemed executed and created with
offers are found to be substantially equivalent, price shall be the basis     the successful Bidder(s), upon the Commissioner’s mailing or
for determining the award recipient. If two or more Bidders submit            electronic communication to the address on the Bid/Contract of: (i)
substantially equivalent Bids as to pricing or other factors, the decision    the final Contract Award Notice; (ii) a fully executed Contract; or (iii)
of the Commissioner to award a Contract to one or more of such                a Purchase Order authorized by the Commissioner.
Bidders shall be final.

 3(5)250$1&(                     $1'           5(63216,%,/,7<               02',),&$7,21 2) &2175$&7 7(506 The terms and
48$/,),&$7,216 The Commissioner reserves the right to                         conditions set forth in the Contract shall govern all transactions by
investigate or inspect at any time whether or not the Product, services,      Authorized User(s) under this Contract. The Contract may only be
qualifications or facilities offered by the Bidder/Contractor meet the        modified or amended upon mutual written agreement of the
requirements set forth in the Bid Specifications/Contract or as set forth     Commissioner and Contractor.
during Contract negotiations. Contractor shall at all times during the
Contract term remain responsible and responsive.                       A      The Contractor may, however, offer Authorized User(s) more
Bidder/Contractor must be prepared, if requested by the                       advantageous pricing, payment, or other terms and conditions than
Commissioner, to present evidence of legal authority to do business in        those set forth in the Contract. In such event, a copy of such terms
New York State, integrity, experience, ability, prior performance,            shall be furnished to the Authorized User(s) and Commissioner by the
organizational and financial capacity as well as where applicable, a          Contractor at the time of such offer.
statement as to supply, plant, machinery and capacity of the
manufacturer or source for the production, distribution and servicing         Other than where such terms are more advantageous for the
of the Product offered/Bid. If the Commissioner determines that the           Authorized User(s) than those set forth in the Contract, no alteration or
conditions and terms of the Bid Documents, Bid Specifications or              modification of the terms of the Contract, including substitution of
Contract are not complied with, or that items, services or Product            Product, shall be valid or binding against Authorized User(s) unless
proposed to be furnished do not meet the specified requirements, or           authorized by the Commissioner or specified in the Contract Award
that the legal authority, integrity experience, ability, prior                Notification. No such alteration or modification shall be made by
performance, organization and financial capacity or facilities are not        unilaterally affixing such terms to Product upon delivery (including,
satisfactory, the Commissioner may reject such Bid or terminate the           but not limited to, attachment or inclusion of standard pre-printed
Contract.                                                                     order forms, product literature, “shrink wrap” terms accompanying
                                                                              software upon delivery, or other documents) or by incorporating such
 ',648$/,),&$7,21 )25 3$67 3(5)250$1&( $1'                                 terms onto order forms, purchase orders or other documents forwarded
),1',1*6 2) 1215(63216,%,/,7<                    Bidder may be               by the Contractor for payment, notwithstanding Authorized User’s
disqualified from receiving awards if Bidder, or anyone in Bidder’s           subsequent acceptance of Product, or that Authorized User has
employment, has previously failed to perform satisfactorily in                subsequently processed such document for approval or payment.
connection with public Bidding or contracts or is deemed non-
responsible.                                                                   6&23( &+$1*(6 The Commissioner reserves the right,
                                                                              unilaterally, to require, by written order, changes by altering, adding to
 48$17,7< &+$1*(6 35,25 72 $:$5'                                    The    or deducting from the Bid Specifications, such changes to be within
Commissioner reserves the right, at any time prior to the award of a          the general scope of the Contract. The Commissioner may make an
specific quantity Contract, to alter in good faith the quantities listed in   equitable adjustment in the Contract price or delivery date if the
the Bid Specifications. In the event such right is exercised, the lowest      change affects the cost or time of performance. Such equitable
responsible Bidder meeting Bid Specifications will be advised of the          adjustments require the consent of the Contractor, which consent shall
revised quantities and afforded an opportunity to extend or reduce its        not be unreasonably withheld.
Bid price in relation to the changed quantities. Refusal by the low
Bidder to so extend or reduce its Bid price may result in the rejection        (67,0$7('  63(&,),& 48$17,7< &2175$&76
of its Bid and the award of such Contract to the lowest responsible           Estimated quantity contracts are expressly agreed and understood to be
Bidder who accepts the revised qualifications.                                made for only the quantities, if any, actually ordered during the
                                                                              Contract term. No guarantee of any quantity(s) is implied or given.
 7,0()5$0( )25 2))(56 The Commissioner reserves the                        Purchases by Authorized Users from Contracts for services and
right to make awards within sixty (60) days after the date of the Bid         technology are voluntary.
opening or such other period of time as set forth in the Bid Documents,
during which period, Bids must remain firm and cannot e withdrawn.

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With respect to any specific quantity stated in the contract, the           352'8&7 '(/,9(5< Delivery must be made as ordered to
Commissioner reserves the right after award to order up to 20% more        the address specified on the Purchase Order and in accordance with the
or less (rounded to the next highest whole number) than the specific       terms of the Contract or Contract Award Notice. Unless otherwise
quantities called for in the Contract. Notwithstanding the foregoing,      specified in the Bid Documents, delivery shall be made within thirty
the Commissioner may purchase greater or lesser percentages of             calendar days after receipt of a Purchase Order by the Contractor. The
Contract quantities should the Commissioner and Contractor so agree.       decision of the Commissioner as to compliance with delivery terms
Such agreement may include an equitable price adjustment.                  shall be final. The burden of proof for delay in receipt of Purchase
                                                                           Order shall rest with the Contractor. In all instances of a potential or
 (0(5*(1&< &2175$&76 In the event that a disaster                       actual delay in delivery, the Contractor shall immediately notify the
emergency is declared by Executive Order under Section 28 of Article       Commissioner and the Authorized User, and confirm in writing the
2-B of the Executive Law, or the Commissioner determines pursuant          explanation of the delay, and take appropriate action to avoid any
to his/her authority under Section 163 (10) (b) of the State Finance       subsequent late deliveries. Any extension of time for delivery must be
Law that an emergency exists requiring the prompt and immediate            requested in writing by the Contractor and approved in writing by the
delivery of Product, the Commissioner reserves the right to obtain         Authorized User. Failure to meet such delivery time schedule may be
such Product from any source, including but not limited to this            grounds for cancellation of the order or, in the Commissioner’s
Contract(s), as the Commissioner in his/her sole discretion determines     discretion, the Contract.
will meet the needs of such emergency. Contractor shall not be
entitled to any claim or lost profits for Product procured from other       :((.(1' $1' +2/,'$< '(/,9(5,(6 Unless otherwise
sources pursuant to this paragraph. The reasons underlying the finding     specified in the Bid Specifications or by an Authorized User,
that an emergency exists shall be included in the procurement record.      deliveries will be scheduled for ordinary business hours, Monday
                                                                           through Friday (excluding legal holidays observed by the State of New
 385&+$6( 25'(56 Unless otherwise authorized in writing                 York). Deliveries may be scheduled by mutual agreement for
by the Commissioner, no Product is to be delivered or furnished by         Saturdays, Sundays or legal holidays observed by the State of New
Contractor until transmittal of an official Purchase Order from the        York where the Product is for daily consumption, an emergency exists,
Authorized User. Unless terminated or cancelled pursuant to the            the delivery is a replacement, delivery is late, or other reasonable
authority vested in the Commissioner, Purchase Orders shall be             circumstance in which event the convenience of the Authorized User
effective and binding upon the Contractor when placed in the mail or       shall govern.
electronically transmitted prior to the termination of the contract
period, addressed to the Contractor at the address for receipt of orders    6+,33,1*5(&(,37 2) 352'8&7
set forth in the Contract or in the Contract Award Notification.           D 3DFNDJLQJ Tangible Product shall be securely and properly
                                                                           packed for shipment, storage and stocking in appropriate, clearly
All Purchase Orders issued pursuant to Contracts let by the                labeled shipping containers and according to accepted commercial
Commissioner must bear the appropriate Contract number and, if             practice, without any extra charges for packing materials, cases or
necessary, required State approvals. As deemed necessary, the              other types of containers. The container shall become and remain the
Authorized User may confirm pricing and other Product information          property of the Authorized User unless otherwise specified in the
with the Contractor prior to placement of the Purchase Order. The          Contract documents.
State reserves the right to require any other information from the
Contractor which the State deems necessary in order to complete any        E 6KLSSLQJ &KDUJHV            Unless otherwise stated in the Bid
Purchase Order placed under the Contract. Unless otherwise specified,      Specifications, all deliveries shall be deemed to be freight on board
all Purchase Orders against Centralized Contracts will be placed by        (F.O.B.) destination tailgate delivery at the dock of the Authorized
Authorized Users directly with the Contractor and any discrepancy          User. Unless otherwise agreed, items purchased at a price F.O.B.
between the terms stated on the vendor’s order form, confirmation or       Shipping point plus transportation charges shall not relieve the
acknowledgment, and the Contract terms shall be resolved in favor of       Contractor from responsibility for safe and proper delivery
the terms most favorable to the Authorized User. Should an                 notwithstanding the Authorized User’s payment of transportation
Authorized User add written terms and conditions to the Purchase           charges. Contractor shall be responsible for ensuring that the Bill of
Order that conflict with the terms and conditions of the Contract, the     Lading states “charges prepaid” for all shipments.
Contractor has the option of rejecting the Purchase Order within five
business days of its receipt but shall first attempt to negotiate the      F 5HFHLSW RI 3URGXFW The Contractor shall be solely responsible
additional written terms and conditions in good faith with the             for assuring that deliveries are made to personnel authorized to accept
Authorized User, or fulfill the Purchase Order. Notwithstanding the        delivery on behalf of the Authorized User. Any losses resulting from
above, the Authorized User reserves the right to dispute any               the Contractor’s failure to deliver Product to authorized personnel
discrepancies arising from the presentation of additional terms and        shall be borne exclusively by the Contractor.
conditions with the Contractor.
                                                                            7,7/( $1' 5,6. 2) /266 Notwithstanding the form of
If, with respect to an Agency Specific Contract let by DOCCS, a            shipment, title or other property interest, risk of loss shall not pass
Purchase Order is not received by the Contractor within two weeks          from the Contractor to the Authorized User until the Products have
after the issuance of a Contract Award Notification, it is the             been received, inspected and accepted by the receiving entity.
responsibility of the Contractor to request in writing that the            Acceptance shall occur within a reasonable time or in accordance with
appropriate Authorized User forward a Purchase Order. If, thereafter,      such other defined acceptance period as may be specified in the Bid
a Purchase Order is not received within a reasonable period of time,       Specifications or Purchase Order.         Mere acknowledgment by
the Contractor shall promptly notify in writing the appropriate            Authorized User personnel of the delivery or receipt of goods (e.g.,
purchasing officer. Failure to timely notify such officer may, in the      signed bill of lading) shall not be deemed or construed as acceptance
discretion of DOCCS and without cost to the State, result in the           of the Products received. Any delivery of Product that is substandard
cancellation of such requirement by DOCCS with a corresponding             or does not comply with the Bid Specifications or Contract terms and
reduction in the Contract quantity and price.                              conditions, may be rejected or accepted on an adjusted price basis, as
                                                                           determined by the Commissioner.

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                                                                              216,7( 6725$*( With the written approval of the
 5(:(,*+,1* 352'8&7 Deliveries are subject to re-                        Authorized User, materials, equipment or supplies may be stored at the
weighing at the point of destination by the Authorized User. If              Authorized User’s site at the Contractor’s sole risk.
shrinkage occurs which exceeds that normally allowable in the trade,
the Authorized User shall have the option to require delivery of the          (03/2<((6 68%&2175$&7256                            $*(176           All
difference in quantity or to reduce the payment accordingly. Such            employees, Subcontractors or agents performing work under the Contract
option shall be exercised in writing by the Authorized User.                 must be trained staff or technicians who meet or exceed the professional,
 352'8&7 68%67,787,21                    In the event a specified         technical and training qualifications set forth in the Bid Specifications or
manufacturer’s Product listed in the Contract becomes unavailable or         the Bid Documents, whichever is more restrictive, and must comply with
cannot be supplied by the Contractor for any reason (except as               all security and administrative requirements of the Authorized User. The
provided for in the Savings/Force Majeure Clause) a Product deemed           Commissioner reserves the right to conduct a security background check
in writing by the Commissioner to be equal to or better than the             or otherwise approve any employee, Subcontractor or agent furnished by
specified Product must be substituted by the Contractor at no                Contractor and to refuse access to or require replacement of any personnel
additional cost or expense to the Authorized User. Unless otherwise          for cause based on, including but not limited to, professional, technical or
specified, any substitution of Product prior to the Commissioner’s           training qualifications, quality of work or change in security status or non-
written approval may be cause for cancellation of Contract.                  compliance with Authorized User’s security or other requirements. Such
                                                                             approval shall not relieve the Contractor of the obligation to perform all
. 5(-(&7(' 352'8&7 When Product is rejected, it must be                    work in compliance with the Contract terms. The Commissioner reserves
removed by the Contractor from the premises of the Authorized User           the right to reject and/or bar from the facility for cause any employee,
within ten calendar days of notification of rejection by the Authorized      Subcontractor, or agents of the Contractor.
User. Upon notification of rejection, risk of loss of rejected or non-
conforming Product shall remain with Contractor. Rejected items not           $66,*10(17 The Contractor shall not assign, transfer,
removed by the Contractor within ten calendar days of notification           convey, sublet, or otherwise dispose of the contract or its right, title or
shall be regarded as abandoned by the Contractor, and the Authorized         interest therein, or its power to execute such contract to any other
User shall have the right to dispose of Product as its own property.         person, company, firm or corporation in performance of the contract
The Contractor shall promptly reimburse the Authorized User for any          without the prior written consent of the Commissioner or Authorized
and all costs and expenses incurred in storage or effecting removal or       User (as applicable). Failure to obtain consent to assignment from the
disposition after the ten-calendar day period.                               Authorized User shall revoke and annul such Contract.
                                                                             Notwithstanding the foregoing, the State shall not hinder, prevent or
 ,167$//$7,21 Where installation is required, Contractor                  affect assignment of money by a Contractor for the benefit of its
shall be responsible for placing and installing the Product in the           creditors. Prior to a consent to assignment of monies becoming
required locations. All materials used in the installation shall be of       effective, the Contractor shall file a written notice of such monies
good quality and shall be free from any and all defects that would mar       assignment(s) with the Comptroller. Prior to a consent to assignment
the appearance of the Product or render it structurally unsound.             of a Contract, or portion thereof, becoming effective, the Contractor
Installation includes the furnishing of any equipment, rigging and           shall submit the request to assignment to the Commissioner and seek
materials required to install or place the Product in the proper location.   written agreement from the Commissioner which will be filed with the
The Contractor shall protect the site from damage for all its work and       Comptroller. The Commissioner reserves the right to reject any
shall repair damages or injury of any kind caused by the Contractor, its     proposed assignee in his/her discretion.
employees, officers or agents. If any alteration, dismantling or
excavation, etc. is required to effect installation, the Contractor shall    Upon notice to the Contractor, the Contract may be assigned without
thereafter promptly restore the structure or site. Work shall be             the consent of the Contractor to another State Agency or subdivision
performed to cause the least inconvenience to the Authorized User(s)         of the State pursuant to a governmental reorganization or assignment
and with proper consideration for the rights of other Contractors or         of functions under which the functions are transferred to a successor
workers. The Contractor shall promptly perform its work and shall            Agency or to another Agency that assumes responsibilities for the
coordinate its activities with those of other Contractors. The               Contract.
Contractor shall clean up and remove all debris and rubbish from its
work as required or directed. Upon completion of the work, the                68%&2175$&7256 $1' 6833/,(56 The Commissioner
building and surrounding area of work shall be left clean and in a neat,     reserves the right to reject any proposed Subcontractor or supplier for
unobstructed condition, and everything in satisfactory repair and order.     bona fide business reasons, which may include, but are not limited to:
                                                                             they are on the Department of Labor’s list of companies with which
 5(3$,5(' 25 5(3/$&(' 3$576  &20321(176                                  New York State cannot do business; the Commissioner determines that
Where the Contractor is required to repair, replace or substitute            the company is not qualified; the Commissioner determines that the
Product or parts or components of the Product under the Contract, the        company is not responsible; the company has previously provided
repaired, replaced or substituted Products shall be subject to all terms     unsatisfactory work or services; the company failed to solicit minority
and conditions for new parts and components set forth in the Contract        and women’s business enterprises (M/WBE) Bidders as required by
including Warranties, as set forth in the Additional Warranties Clause       prior Contracts.
herein. Replaced or repaired Product or parts and components of such
Product shall be new and shall, if available, be replaced by the original     3(5)250$1&(  %,' %21' The Commissioner reserves
manufacturer’s component or part. Remanufactured parts or components         the right to require a Bidder or Contractor to furnish without additional
meeting new Product standards may be permitted by the Commissioner or        cost, a performance, payment or Bid bond or negotiable irrevocable
Authorized User. Before installation, all proposed substitutes for the       letter of credit or other form of security for the faithful performance of
original manufacturer’s installed parts or components must be approved       the Contract. Where required, such bond or other security shall be in
by the Authorized User. The part or component shall be equal to or of        the form prescribed by the Commissioner.
better quality than the original part or component being replaced.
                                                                              6863(16,21 2) :25. The Commissioner, in his/her sole
                                                                             discretion, reserves the right to suspend any or all activities under this

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Contract, at any time, in the best interests of the Authorized User. In       be prevented. Contractor shall provide the Commissioner with written
the event of such suspension, the Contractor will be given a formal           notice of any force majeure occurrence as soon as the delay is known.
written notice outlining the particulars of such suspension. Examples
of the reason for such suspension include, but are not limited to, a          Neither the Contractor nor the Commissioner shall be liable to the
budget freeze or reduction on State spending, declaration of                  other for any delay in or failure of performance under the Contract due
emergency, contract compliance issues or other such circumstances.            to a force majeure occurrence. Any such delay in or failure of
Upon issuance of such notice, the Contractor is not to accept any             performance shall not constitute default or give rise to any liability for
Purchase Orders, and shall comply with the suspension order. Activity         damages. The existence of such causes of such delay or failure shall
may resume at such time as the Commissioner issues a formal written           extend the period for performance to such extent as determined by the
notice authorizing a resumption of performance under the Contract.            Contractor and the Commissioner to be necessary to enable complete
                                                                              performance by the Contractor if reasonable diligence is exercised
An Authorized User may issue a formal written notice for the                  after the cause of delay or failure has been removed.
suspension of work for which it has engaged the Contractor for
reasons specified in the above paragraph. The written notice shall set        Notwithstanding the above, at the discretion of the Commissioner
forth the reason for such suspension and a copy of the written notice         where the delay or failure will significantly impair the value of the
shall be provided to the Commissioner.                                        Contract to the State or to Authorized Users, the Commissioner may:

 7(50,1$7,21                                                               D Accept allocated performance or deliveries from the Contractor.
D )RU &DXVH: For a material breach that remains uncured for more             The Contractor, however, hereby agrees to grant preferential treatment
than thirty (30) days or other specified period after written notice to the   to Authorized Users with respect to Product subjected to allocation;
Contractor, the Contract or Purchase Order may be terminated by the           and/or
Commissioner or Authorized User at the Contractor’s expense where
Contractor becomes unable or incapable of performing, or meeting any          E Purchase from other sources (without recourse to and by the
requirements or qualifications set forth in the Contract, or for non-         Contractor for the costs and expenses thereof) to replace all or part of
performance, or upon a determination that Contractor is non-                  the Products which are the subject of the delay, which purchases may
responsible. Such termination shall be upon written notice to the             be deducted from the Contract quantities without penalty or liability to
Contractor. In such event, the Commissioner or Authorized User may            the State; or
complete the contractual requirements in any manner it may deem
advisable and pursue available legal or equitable remedies for breach.        F Terminate the Contract or the portion thereof which is subject to
                                                                              delays, and thereby discharge any unexecuted portion of the Contract
E )RU &RQYHQLHQFH: By written notice, this Contract may be                   or the relative part thereof.
terminated at any time by the State for convenience upon sixty (60) days
written notice or other specified period without penalty or other early       In addition, the Commissioner reserves the right, in his/her sole
termination charges due. Such termination of the Contract shall not           discretion, to make an equitable adjustment in the Contract terms
affect any project or Purchase Order that has been issued under the           and/or pricing should extreme and unforeseen volatility in the
Contract prior to the date of such termination. If the Contract is            marketplace affect pricing or the availability of supply. "Extreme and
terminated pursuant to this subdivision, the Authorized User shall            unforeseen volatility in the marketplace" is defined as market
remain liable for all accrued but unpaid charges incurred through the         circumstances which meet the following criteria: (i) the volatility is
date of the termination. Contractor shall use due diligence and provide       due to causes outside the control of Contractor; (ii) the volatility
any outstanding deliverables.                                                 affects the marketplace or industry, not just the particular Contract
                                                                              source of supply; (iii) the effect on pricing or availability of supply is
F )RU 9LRODWLRQ RI WKH 6HFWLRQV M DQG N RI WKH 6WDWH                 substantial; and (iv) the volatility so affects Contractor's performance
)LQDQFH /DZ The Commissioner reserves the right to terminate the             that continued performance of the Contract would result in a
Contract in the event it is found that the certification filed by the         substantial loss.
Bidder in accordance with Section 139-k of the State Finance Law was
intentionally false or intentionally incomplete. Upon such finding, the        &2175$&7             %,//,1*6             Contractor       and     the
Commissioner may exercise its termination right by providing written          distributors/resellers designated by the Contractor, if any, shall provide
notification to the Contractor in accordance with the written                 complete and accurate billing invoices to each Authorized User in
notification terms of the Contract.                                           order to receive payment. Billings for Authorized Users must contain
                                                                              all information required by the Contract and the State Comptroller.
G )RU 9LRODWLRQ RI 5HYLVHG 7D[ /DZ D: The Commissioner                      The State Comptroller shall render payment for Authorized User
reserves the right to terminate the contract in the event it is found that    purchases, and such payment shall be made in accordance with
the certification filed by the Contractor in accordance with §5-a of the      ordinary State procedures and practices. Payment of Contract
Tax Law is not timely filed during the term of the Contract or the            purchases made by Authorized Users, other than Agencies, shall be
certification furnished was intentionally false or intentionally              billed directly by Contractor on invoices/vouchers, together with
incomplete. Upon such finding, the Commissioner may exercise its              complete and accurate supporting documentation as required by the
termination right by providing written notification to the Contractor.        Authorized User.

 6$9,1*6)25&( 0$-(85( A force majeure occurrence is                       Submission of an invoice and payment thereof shall not preclude the
an event or effect that cannot be reasonably anticipated or controlled.       Commissioner from reimbursement or demanding a price adjustment
Force majeure includes, but is not limited to, acts of God, acts of war,      in any case where the Product delivered is found to deviate from the
acts of public enemies, strikes, fires, explosions, actions of the            terms and conditions of the Contract or where the billing was
elements, floods, or other similar causes beyond the control of the           inaccurate.
Contractor or the Commissioner in the performance of the Contract
which non- performance, by exercise of reasonable diligence, cannot           Contractor shall provide, upon request of the Commissioner, any and
                                                                              all information necessary to verify the accuracy of the billings. Such

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information shall be provided in the format requested by the                Commissioner may acquire acceptable replacement Product of lesser
Commissioner and in a media commercially available from the                 or greater quality.
Contractor. The Commissioner may direct the Contractor to provide
the information to the State Comptroller or to any Authorized User of       Such purchases may, in the discretion of the Commissioner, be
the Contract.                                                               deducted from the Contract quantity and payments due Contractor.

 '()$8/7 – $87+25,=(' 86(5                                               E :LWKKROG 3D\PHQW In any case where a question of non-
D Breach of Authorized User Not Breach of Centralized Contract.            performance by Contractor arises, payment may be withheld in whole
An Authorized User’s breach shall not be deemed a breach of the             or in part at the discretion of the Commissioner. Should the amount
Centralized Contract, rather it shall be deemed a breach of the             withheld be finally paid, a cash discount originally offered may be
Authorized User’s performance under the terms and conditions of the         taken as if no delay in payment had occurred.
Centralized Contract.
                                                                            F %DQNUXSWF\ In the event that the Contractor files a petition
E Failure to Make Payment. In the event a participating Authorized         under the U.S. Bankruptcy Code during the term of this Centralized
User fails to make payment to the Contractor for Products delivered,        Contract, Authorized Users may, at their discretion, make application
accepted and properly invoiced, within 60 days of such delivery and         to exercise its right to set-off against monies due the Debtor or, under
acceptance, the Contractor may, upon 10 days advance written notice         the Doctrine of Recoupment, credit the Authorized User the amounts
to both the Commissioner and the Authorized User’s purchasing               owed by the Contractor arising out of the same transactions.
official, suspend additional shipments of Product or provision of
services to such entity until such time as reasonable arrangements have     G 5HLPEXUVHPHQW RI &RVWV ,QFXUUHG The Contractor agrees to
been made and assurances given by such entity for current and future        reimburse the Authorized User promptly for any and all additional
Contract payments.                                                          costs and expenses incurred for acquiring acceptable services, and/or
                                                                            replacement Product. Should the cost of cover be less than the
F Notice of Breach. Notwithstanding the foregoing, the Contractor          Contract price, the Contractor shall have no claim to the difference.
shall, at least 10 days prior to declaring a breach of Contract by any      The Contractor covenants and agrees that in the event suit is
Authorized User, by certified or registered mail, notify both the           successfully prosecuted for any default on the part of the Contractor,
Commissioner and the purchasing official of the breaching Authorized        all costs and expenses expended or incurred by the Authorized User in
User of the specific facts, circumstances and grounds upon which a          connection therewith, including reasonable attorney’s fees, shall be
breach will be declared.                                                    paid by the Contractor.

G It is understood, however, that if the Contractor’s basis for            Where the Contractor fails to timely deliver pursuant to the guaranteed
declaring a breach is insufficient, the Contractor’s declaration of         delivery terms of the Contract, the ordering Authorized User may rent
breach and failure to service an Authorized User shall constitute a         substitute equipment temporarily. Any sums expended for such rental
breach of its Contract and the Authorized User may thereafter seek any      shall, upon demand, be reimbursed to the Authorized User promptly
remedy available at law or equity.                                          by the Contractor or deducted by the Authorized User from payments
                                                                            due or to become due the Contractor on the same or another
 ,17(5(67 21 /$7( 3$<0(176                                               transaction.
D 6WDWH $JHQFLHV The payment of interest on certain payments due
and owed by Agency may be made in accordance with Article 11-A of           H 'HGXFWLRQ/&UHGLW Sums due as a result of these remedies may
the State Finance Law (SFL §179-d et. Seq.) and Title 2 of the New          be deducted or offset by the Authorized User from payments due, or to
York Code of Rules and Regulations, Part 18 (Implementation of              become due, the Contractor on the same or another transaction. If no
Prompt Payment Legislation -2 NYCRR §18.1 et seq.).                         deduction or only a partial deduction is made in such fashion the
                                                                            Contractor shall pay to the Authorized User the amount of such claim
E %\ 1RQ-6WDWH $JHQFLHV The terms of Article 11-A apply only to            or portion of the claim still outstanding, on demand.               The
procurements by and the consequent payment obligations of Agencies.         Commissioner reserves the right to determine the disposition of any
Neither expressly nor by any implication is the statute applicable to       rebates, settlements, restitution, liquidated damages, etc., which arise
Non-State Authorized Users.       Neither DOCCS nor the State               from the administration of the Contract.
Comptroller is responsible for payments on any purchases made by a
Non-State Agency Authorized User.                                            $66,*10(17 2) &/$,0 Contractor hereby assigns to the
                                                                            State any and all its claims for overcharges associated with this
F %\ &RQWUDFWRU Should the Contractor be liable for any payments           Contract which may arise under the antitrust laws of the United States,
to the State hereunder, interest, late payment charges and collection fee   15 USC Section 1, et. seq. and the antitrust laws of the State of New
charges will be determined and assessed pursuant to Section 18 of the       York, General Business Law Section 340, et. seq.
State Finance Law.
                                                                             72;,& 68%67$1&(6 Each Contractor furnishing a toxic
 5(0(',(6 )25 %5($&+ It is understood and agreed that                    substance as defined by Section 875 of the Labor Law, shall provide
all rights and remedies afforded below shall be in addition to all          such Authorized User with not less than two copies of a material safety
remedies or actions otherwise authorized or permitted by law:               data sheet, which sheet shall include for each such substance the
                                                                            information outlined in Section 876 of the Labor Law.
D &RYHU/6XEVWLWXWH 3HUIRUPDQFH In the event of Contractor's
material breach, the Commissioner may, with or without formally             Before any chemical product is used or applied on or in any building, a
Bidding: (i) Purchase from other sources; or (ii) If the Commissioner       copy of the product label and Material Safety Data Sheet must be
is unsuccessful after making reasonable attempts, under the                 provided to and approved by the Authorized User agency representative.
circumstances then existing, to timely obtain acceptable service or
acquire replacement Product of equal or comparable quality, the              ,1'(3(1'(17 &2175$&725 It is understood and agreed
                                                                            that the legal status of the Contractor, its agents, officers and employees

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under this Contract is that of an independent Contractor, and in no manner       Contract, in whole or in part, or to take any other action deemed
shall they be deemed employees of the Authorized User, and therefore are         necessary by the Commissioner.
not entitled to any of the benefits associated with such employment. The
Contractor agrees, during the term of this Contract, to maintain at              G 3URGXFW :DUUDQW\ Unless recycled or recovered materials are
Contractor’s expense those benefits to which its employees would                 available in accordance with the “Recycled or Recovered Materials”
otherwise be entitled by law, including health benefits, and all necessary       clause, Product offered shall be standard new equipment, current
insurance for its employees, including worker’s compensation, disability         model or most recent release of regular stock product with all parts
and unemployment insurance, and to provide the Authorized User with              regularly used with the type of equipment offered; and no attachment
certification of such insurance upon request. The Contractor remains             or part has been substituted or applied contrary to the manufacturer’s
responsible for all applicable federal, state and local taxes, and all FICA      recommendations and standard practice.
contributions.
                                                                                 Contractor further warrants and represents that components or
 6(&85,7< Contractor warrants, covenants and represents that                  deliverables specified and furnished by or through Contractor shall
it will comply fully with all security procedures of the Authorized              individually, and where specified and furnished as a system, be
User(s) in performance of the Contract including but not limited to              substantially uninterrupted or error-free in operation and guaranteed
physical, facility, documentary and cyber security rules, procedures             against faulty material and workmanship for the warranty period, or
and protocols.                                                                   for a minimum of one (1) year from the date of acceptance, whichever
                                                                                 is longer (“Project warranty period”). During the Project warranty
 &223(5$7,21 :,7+ 7+,5' 3$57,(6 The Contractor                                period, defects in the materials or workmanship of components or
shall be responsible for fully cooperating with any third party,                 deliverables specified and furnished by or through Contractor shall be
including but not limited to other Contractors or Subcontractors of the          repaired or replaced by Contractor at no cost or expense to the
Authorized User, as necessary to ensure delivery of Product or                   Authorized User. Contractor shall extend the Project warranty period
coordination of performance of services.                                         for individual component(s), or for the System as a whole, as
                                                                                 applicable, by the cumulative period(s) of time, after notification,
 &2175$&7 7(50  5(1(:$/ In addition to any stated                            during which an individual component or the System requires
renewal periods in the Contract, any Contract or unit portion thereof            servicing or replacement (down time) or is in the possession of the
let by the Commissioner may be extended by the Commissioner for an               Contractor, its agents, officers, Subcontractors, distributors, resellers
additional period(s) of up to one year with the written concurrence of           or employees (“extended warranty”).
the Contractor and Comptroller. Such extension may be exercised on
a month to month basis or in other stated periods of time during the             Where Contractor, the Independent Software Vendor “ISV,” or other
one year extension.                                                              third party manufacturer markets any Project Deliverable delivered by
                                                                                 or through Contractor with a standard commercial warranty, such
 $'',7,21$/ :$55$17,(6 Where Contractor, product                              standard warranty shall be in addition to, and not relieve the
manufacturer or service provider generally offers additional or more             Contractor from, Contractor’s warranty obligations during the project
advantageous warranties than set forth below, Contractor shall offer or          warranty and extended warranty period(s). Where such standard
pass through any such warranties to Authorized Users. Contractor                 commercial warranty covers all or some of the Project warranty or
hereby warrants and represents:                                                  extended warranty period(s), Contractor shall be responsible for the
                                                                                 coordination during the Project warranty or extended warranty
D 3URGXFW 3HUIRUPDQFH Contractor warrants and represents that                   period(s) with ISV or other third party manufacturer(s) for warranty
Products delivered pursuant to this Contract conform to the                      repair or replacement of ISV or other third party manufacturer’s
manufacturer's    specifications, performance  standards    and                  Product.
documentation, and the documentation fully describes the proper
procedure for using the Products.                                                Where Contractor, ISV or other third party manufacturer markets any
                                                                                 Project Deliverable with a standard commercial warranty which goes
E 7LWOH DQG 2ZQHUVKLS :DUUDQW\ Contractor warrants, represents                  beyond the Project warranty or extended warranty period(s),
and conveys (i) full ownership, clear title free of all liens, or (ii) the       Contractor shall notify the Authorized User and pass through the
right to transfer or deliver perpetual license rights to any Products            manufacturer’s standard commercial warranty to Authorized User at
transferred to Authorized User under this Contract. Contractor shall             no additional charge; provided, however, that Contractor shall not be
be solely liable for any costs of acquisition associated therewith.              responsible for coordinating services under the third party extended
Contractor fully indemnifies the Authorized User for any loss,                   warranty after expiration of the Project warranty and extended
damages or actions arising from a breach of said warranty without                warranty period(s).
limitation.
                                                                                 H 5HSODFHPHQW 3DUWV :DUUDQW\ If during the regular or extended
F &RQWUDFWRU &RPSOLDQFH Contractor represents and warrants to                   warranty period’s faults develop, the Contractor shall promptly repair
pay, at its sole expense, for all applicable permits, licenses, tariffs, tolls   or, upon demand, replace the defective unit or component part
and fees to give all notices and comply with all laws, ordinances, rules         affected. All costs for labor and material and transportation incurred
and regulations of any governmental entity in conjunction with the               to repair or replace defective Product during the warranty period shall
performance of obligations under the Contract. Prior to award and                be borne solely by the Contractor, and the State or Authorized User
during the Contract term and any renewals thereof, Contractor must               shall in no event be liable or responsible therefor.
establish to the satisfaction of the Commissioner that it meets or
exceeds all requirements of the Bid/Contract and any applicable laws,            Any part of component replaced by the Contractor under the Contract
including but not limited to, permits, insurance coverage, licensing,            warranty shall be replaced at no cost to the Authorized User and
proof of coverage for worker’s compensation, and shall provide such              guaranteed for the greater of: a) the warranty period under paragraph (d)
proof as required by the Commissioner. Failure to do so may                      above; or b) if a separate warranty for that part or component is generally
constitute grounds for the Commissioner to cancel or suspend this                offered by the manufacturer, the standard commercial warranty period
                                                                                 offered by the manufacturer for the individual part or component.

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                                                                              employees, partners or Subcontractors, without limitation; provided,
I 9LUXV :DUUDQW\ The Contractor represents and warrants that                 however, that the Contractor shall not indemnify for that portion of
Licensed Software contains no known viruses. Contractor is not                any claim, loss or damage arising hereunder due to the negligent act or
responsible for viruses introduced at Licensee’s site.                        failure to act of the Authorized Users.

J 'DWH7LPH :DUUDQW\             Contractor warrants that Product(s)          ,1'(01,),&$7,21 5(/$7,1* 72 7+,5' 3$57<
furnished pursuant to this Contract shall, when used in accordance with       5,*+76 The Contractor will also indemnify and hold the Authorized
the Product documentation, be able to accurately process date/time data       Users harmless from and against any and all damages, expenses
(including, but not limited to, calculating, comparing, and sequencing)       (including reasonable attorneys' fees), claims, judgments, liabilities
transitions, including leap year calculations. Where a Contractor             and costs that may be finally assessed against the Authorized Users in
proposes or an acquisition requires that specific Products must perform as    any action for infringement of a United States Letter Patent, or of any
a package or system, this warranty shall apply to the Products as a system.   copyright, trademark, trade secret or other third party proprietary right
                                                                              except to the extent such claims arise from the Authorized Users gross
Where Contractor is providing ongoing services, including but not limited     negligence or willful misconduct, provided that the State shall give
to: i) consulting, integration, code or data conversion, ii) maintenance or   Contractor: (i) prompt written notice of any action, claim or threat of
support services, iii) data entry or processing, or iv) contract              infringement suit, or other suit, (ii) the opportunity to take over, settle
administration services (e.g., billing, invoicing, claim processing),         or defend such action, claim or suit at Contractor's sole expense, and
Contractor warrants that services shall be provided in an accurate and        (iii) assistance in the defense of any such action at the expense of
timely manner without interruption, failure or error due to the inaccuracy    Contractor.
of Contractor’s business operations in processing date/time data
(including, but not limited to, calculating, comparing, and sequencing)       If usage shall be enjoined for any reason or if Contractor believes that
various date/time transitions, including leap year calculations. Contractor   it may be enjoined, Contractor shall have the right, at its own expense
shall be responsible for damages resulting from any delays, errors or         and sole discretion to take action in the following order of precedence:
untimely performance resulting therefrom, including but not limited to the    (i) to procure for the Authorized User the right to continue Usage (ii)
failure or untimely performance of such services.                             to modify the service or Product so that Usage becomes non-
                                                                              infringing, and is of at least equal quality and performance; or (iii) to
This Date/Time Warranty shall survive beyond termination or expiration        replace said service or Product or part(s) thereof, as applicable, with
of this contract through: a) ninety (90) days or b) the Contractor’s or       non-infringing service or Product of at least equal quality and
Product manufacturer/developer’s stated date/time warranty term,              performance. If the above remedies are not available, the parties shall
whichever is longer. Nothing in this warranty statement shall be              terminate the Contract, in whole or in part as necessary and applicable,
construed to limit any rights or remedies otherwise available under this      provided the Authorized User is given a refund for any amounts paid
Contract for breach of warranty.                                              for the period during which Usage was not feasible.

K :RUNPDQVKLS :DUUDQW\                  Contract warrants that all           The foregoing provisions as to protection from third party rights shall
components or deliverables specified and furnished by or through              not apply to any infringement occasioned by modification by the
Contractor under the Project Definition/Work Order meet the                   Authorized User of any Product without Contractor’s approval.
completion criteria set forth in the Project Definition/Work Order and
any subsequent statement(s) of work, and that services will be                In the event that an action at law or in equity is commenced against the
provided in a workmanlike manner in accordance with industry                  Authorized User arising out of a claim that the Authorized User's use of
standards.                                                                    the service or Product under the Contract infringes any patent,
                                                                              copyright or proprietary right, and Contractor is of the opinion that the
L 6XUYLYDO RI :DUUDQWLHV All warranties contained in this                    allegations in such action in whole or in part are not covered by the
Contract shall survive the termination of this Contract.                      indemnification and defense provisions set forth in the Contract,
                                                                              Contractor shall immediately notify the Authorized User and the
 /(*$/ &203/,$1&( Contractor represents and warrants                       Office of the Attorney General in writing and shall specify to what
that it shall secure all notices and comply with all laws, ordinances,        extent Contractor believes it is obligated to defend and indemnify
rules and regulations of any governmental entity in conjunction with          under the terms and conditions of the Contract. Contractor shall in
the performance of obligations under the Contract. Prior to award and         such event protect the interests of the Authorized User and secure a
during the Contract term and any renewals thereof, Contractor must            continuance to permit the Authorized User to appear and defend its
establish to the satisfaction of the Commissioner that it meets or            interests in cooperation with Contractor, as is appropriate, including
exceeds all requirements of the Bid and Contract and any applicable           any jurisdictional defenses the Authorized User may have. This
laws, including but not limited to, permits, licensing, and shall provide     constitutes the Authorized User’s sole and exclusive remedy for patent
such proof as required by the Commissioner. Failure to comply or              infringement, or for infringement of any other third party proprietary
failure to provide proof may constitute grounds for the Commissioner          right.
to cancel or suspend the Contract, in whole or in part, or to take any
other action deemed necessary by the Commissioner. Contractor also             /,0,7$7,21 2) /,$%,/,7< Except as otherwise set forth
agrees to disclose information and provide affirmations and                   in the Indemnification Paragraphs above, the limit of liability shall be
certifications to comply with Sections 139-j and 139-k of the State           as follows:
Finance Law.
                                                                              D Contractor’s liability for any claim, loss or liability arising out of,
 ,1'(01,),&$7,21 Contractor shall be fully liable for the                  or connected with the Products and services provided, and whether
actions of its agents, employees, partners or Subcontractors and shall        based upon default, or other liability such as breach of contract,
fully indemnify and save harmless the Authorized Users from suits,            warranty, negligence, misrepresentation or otherwise, shall in no case
actions, damages and costs of every name and description relating to          exceed direct damages in: (i) an amount equal to two (2) times the
personal injury and damage to real or personal tangible property              charges specified in the Purchase Order for the Products and services,
caused by any intentional act or negligence of Contractor, its agents,        or parts thereof forming the basis of the Authorized User’s claim, (said

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amount not to exceed a total of twelve (12) months charges payable         Contractor hereby grants to Licensee a perpetual license right to make,
under the applicable Purchase Order) or (ii) one million dollars           reproduce (including downloading electronic copies of the Product)
($1,000,000), whichever is greater.                                        and distribute, either electronically or otherwise, copies of Product
                                                                           Documentation as necessary to enjoy full use of the Product in
E The Authorized User may retain such monies from any amount              accordance with the terms of license.
due Contractor as may be necessary to satisfy any claim for damages,
costs and the like asserted against the Authorized User unless             G 3URGXFW 7HFKQLFDO 6XSSRUW           0DLQWHQDQFH Licensee shall
Contractor at the time of the presentation of claim shall demonstrate to   have the option of electing the Product technical support and
the Authorized User’s satisfaction that sufficient monies are set aside    maintenance (“maintenance”) set forth in the Contract by giving
by the Contractor in the form of a bond or through insurance coverage      written notice to Contractor any time during the Centralized Contract
to cover associated damages and other costs.                               term. Maintenance term(s) and any renewal(s) thereof are independent
                                                                           of the expiration of the Centralized Contract term and will not
F Notwithstanding the above, neither the Contractor nor the               automatically renew.
Authorized User shall be liable for any consequential, indirect or
special damages of any kind which may result directly or indirectly        Maintenance shall include, at a minimum, (i) the provision of error
from such performance, including, without limitation, damages              corrections, updates, revisions, fixes, upgrade and new releases to
resulting from loss of use or loss of profit by the Authorized User, the   Licensee, and (ii) Help Desk assistance with locally accessible “800”
Contractor, or by others.                                                  or toll free, local telephone service, or alternatively on-line Help Desk
                                                                           accessibility. Contractor shall maintain the Products so as to provide
 ,1685$1&( Contractor shall secure and maintain insurance               Licensee with the ability to utilize the Products in accordance with the
coverage as specified in the Bid Documents and shall promptly              Product documentation without significant functional downtime to its
provide documentation of specified coverages to the Authorized User.       ongoing business operations during the maintenance term.
If specified, the Contractor may be required to add the Authorized
User as an additional insured.                                             Authorized User shall not be required to purchase maintenance for use
                                                                           of Product, and may discontinue maintenance at the end of any current
         7+( )2//2:,1* &/$86(6 3(57$,1 72                                  maintenance term upon notice to Contractor. In the event that
        7(&+12/2*< 1(*27,$7(' &2175$&76                                    Authorized User does not initially acquire or discontinues maintenance
                                                                           of licensed Product, it may, at any time thereafter, reinstate
 62)7:$5( /,&(16( *5$17 Where Product is acquired                       maintenance for Product without any additional penalties or other
on a licensed basis the following shall constitute the license grant:      charges, by paying Contractor the amount which would have been due
                                                                           under the Contract for the period of time that such maintenance had
D /LFHQVH 6FRSH Licensee is granted a non-exclusive, perpetual            lapsed, at then current NYS net maintenance rates.
license to use, execute, reproduce, display, perform, or merge the
Product within its business enterprise in the United States up to the      H 3HUPLWWHG /LFHQVH 7UDQVIHUV As Licensee’s business operations
maximum licensed capacity stated on the Purchase Order. Product            may be altered, expanded or diminished, licenses granted hereunder
may be accessed, used, executed, reproduced, displayed or performed up     may be transferred or combined for use at an alternative or
to the capacity measured by the applicable licensing unit stated on the    consolidated site not originally specified in the license, including
Purchase Order (i.e., payroll size, number of employees, CPU, MIPS,        transfers between Agencies (“permitted license transfers”).
MSU, concurrent user, workstation). Licensee shall have the right to       Licensee(s) do not have to obtain the approval of Contractor for
use and distribute modifications or customizations of the Product to       permitted license transfers, but must give thirty (30) days prior written
and for use by any Authorized Users otherwise licensed to use the          notice to Contractor of such move(s) and certify in writing that the
Product, provided that any modifications, however extensive, shall not     Product is not in use at the prior site. There shall be no additional
diminish Licensor’s proprietary title or interest. No license, right or    license or other transfer fees due Contractor, provided that: i) the
interest in any trademark, trade name, or service mark is granted          maximum capacity of the consolidated machine is equal to the
hereunder.                                                                 combined individual license capacity of all licenses running at the
                                                                           consolidated or transferred site (e.g., named users, seats, or MIPS); or
E /LFHQVH 7HUP The license term shall commence upon the                   ii) if the maximum capacity of the consolidated machine is greater
License Effective Date, provided, however, that where an acceptance        than the individual license capacity being transferred, a logical or
or trial period applies to the Product, the License Term shall be          physical partition or other means of restricting access will be
extended by the time period for testing, acceptance or trial.              maintained within the computer system so as to restrict use and access
                                                                           to the Product to that unit of licensed capacity solely dedicated to
F /LFHQVHG 'RFXPHQWDWLRQ If commercially available, Licensee              beneficial use for Licensee. In the event that the maximum capacity of
shall have the option to require the Contractor to deliver, at             the consolidated machine is greater than the combined individual
Contractor’s expense: (i) one (1) hard copy and one (1) master             license capacity of all licenses running at the consolidated or
electronic copy of the Documentation in a mutually agreeable format;       transferred site, and a logical or physical partition or other means of
(ii) based on hard copy instructions for access by downloading from        restricting use is not available, the fees due Contractor shall not exceed
the Internet (iii) hard copies of the Product Documentation by type of     the fees otherwise payable for a single license for the upgrade
license in the following amounts, unless otherwise mutually agreed:        capacity.

  • Individual/Named User License - one (1) copy per License               I 5HVWULFWHG 8VH %\ 2XWVRXUFHUV  )DFLOLWLHV 0DQDJHPHQW
  • Concurrent Users - 10 copies per site                                  6HUYLFH %XUHDXV  RU 2WKHU 7KLUG 3DUWLHV Outsourcers, facilities
  • Processing Capacity - 10 copies per site                               management or service bureaus retained by Licensee shall have the
                                                                           right to use the Product to maintain Licensee’s business operations,
Software media must be in a format specified by the Authorized User,       including data processing, for the time period that they are engaged in
without requiring any type of conversion.                                  such activities, provided that: 1) Licensee gives notice to Contractor
                                                                           of such party, site of intended use of the Product, and means of access;

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and 2) such party has executed, or agrees to execute, the Product           Unless otherwise provided by mutual agreement of the Authorized User
manufacturer’s standard nondisclosure or restricted use agreement           and the Contractor, Authorized User shall have the option to run testing
which executed agreement shall be accepted by the Contractor (“Non-         on the Product prior to acceptance, such tests and data sets to be
Disclosure Agreement”); and 3) if such party is engaged in the              specified by User. Where using its own data or tests, Authorized User
business of facility management, outsourcing, service bureau or other       must have the tests or representative set of data available upon
services, such third party will maintain a logical or physical partition    delivery. This demonstration will take the form of a documented
within its computer system so as to restrict use and access to the          installation test, capable of observation by the Authorized User, and
program to that portion solely dedicated to beneficial use for Licensee.    shall be made part of the Contractor’s standard documentation. The
In no event shall Licensee assume any liability for third party’s           test data shall remain accessible to the Authorized User after
compliance with the terms of the Non-Disclosure Agreement, nor shall        completion of the test.
the Non-Disclosure Agreement create or impose any liabilities on the
State or Licensee.                                                          In the event that the documented installation test cannot be completed
                                                                            successfully within the specified acceptance period, and the Contractor
Any third party with whom a Licensee has a relationship for a state         or Product is responsible for the delay, Authorized User shall have the
function or business operation, shall have the temporary right to use       option to cancel the order in whole or in part, or to extend the testing
Product (e.g., JAVA Applets), provided that such use shall be limited       period for an additional thirty (30) day increment. Authorized User
to the time period during which the third party is using the Product for    shall notify Contractor of acceptance upon successful completion of
the function or business activity.                                          the documented installation test. Such cancellation shall not give rise
                                                                            to any cause of action against the Authorized User for damages, loss of
J $UFKLYDO %DFN8S DQG 'LVDVWHU 5HFRYHU\ Licensee may use                  profits, expenses, or other remuneration of any kind.
and copy the Product and related Documentation in connection with:
i) reproducing a reasonable number of copies of the Product for             If the Authorized User elects to provide a deficiency statement
archival backup and disaster recovery procedures in the event of            specifying how the Product fails to meet the specifications within the
destruction or corruption of the Product or disasters or emergencies        testing period, Contractor shall have thirty (30) days to correct the
which require Licensee to restore backup(s) or to initiate disaster         deficiency, and the Authorized User shall have an additional sixty (60)
recovery procedures for its platform or operating systems; ii)              days to evaluate the Product as provided herein. If the Product does
reproducing a reasonable number of copies of the Product and related        not meet the specifications at the end of the extended testing period,
Documentation for cold site storage. “Cold Site” storage shall be           Authorized User, upon prior written notice to Contractor, may then
defined as a restorable back-up copy of the Product not to be installed     reject the Product and return all defective Product to Contractor, and
until and after the declaration by the Licensee of a disaster; iii)         Contractor shall refund any monies paid by the Authorized User to
reproducing a back-up copy of the Product to run for a reasonable           Contractor therefor. Costs and liabilities associated with a failure of
period of time in conjunction with a documented consolidation or            the Product to perform in accordance with the functionality tests or
transfer otherwise allowed herein. “Disaster Recovery” shall be             product specifications during the acceptance period shall be borne
defined as the installation and storage of Product in ready-to-execute,     fully by Contractor to the extent that said costs or liabilities shall not
back-up computer systems prior to disaster or breakdown which is not        have been caused by negligent or willful acts or omissions of the
used for active production or development.                                  Authorized User’s agents or employees. Said costs shall be limited to
                                                                            the amounts set forth in the Limitation of Liability Clause for any
K &RQILGHQWLDOLW\ 5HVWULFWLRQV The Product is a trade secret,              liability for costs incurred at the direction or recommendation of
copyrighted and proprietary product. Licensee and its employees will        Contractor.
keep the Product strictly confidential, and Licensee will not disclose or
otherwise distribute or reproduce any Product to anyone other than as        $8',7 2) /,&(16(' 352'8&7 86$*( Contractor
authorized under the terms of Contract. Licensee will not remove or         shall have the right to periodically audit, no more than annually, at
destroy any proprietary markings of Contractor.                             Contractor’s expense, use of licensed Product at any site where a copy
                                                                            of the Product resides provided that: (i) Contractor gives Licensee(s)
L     5HVWULFWHG 8VH E\ /LFHQVHH Except as expressly authorized by         at least thirty (30) days advance written notice, (ii) such audit is
the terms of license, Licensee shall not:                                   conducted during such party’s normal business hours, (iii) the audit is
       (i) Copy the Product;                                                conducted by an independent auditor chosen on mutual agreement of
       (ii) Cause or permit reverse compilation or reverse assembly of      the parties. Contractor shall recommend a minimum of three (3)
all or any portion of the Product;                                          auditing/accounting firms from which the Licensee will select one (1).
       (iii) Export the Licensed Software in violation of any U.S.          In no case shall the Business Software Alliance (BSA), Software
Department of Commerce export administration regulations.                   Publishers Association (SPA), Software and Industry Information
                                                                            Association (SIIA) or Federation Against Software Theft (FAST) be
 352'8&7 $&&(37$1&( Unless otherwise provided by                         used directly or indirectly to conduct audits, or be recommended by
mutual agreement of the Authorized User and the Contractor, Authorized      Contractor; (iv) Contractor and Licensee are each entitled to designate
User(s) shall have thirty (30) days from the date of delivery to accept     a representative who shall be entitled to participate, and who shall
hardware products and sixty (60) days from the date of delivery to          mutually agree on audit format, and simultaneously review all
accept all other Product. Where the Contractor is responsible for           information obtained by the audit. Such representatives also shall be
installation, acceptance shall be from completion of installation.          entitled to copies of all reports, data or information obtained from the
Failure to provide notice of acceptance or rejection or a deficiency        audit; and (v) if the audit shows that such party is not in compliance,
statement to the Contractor by the end of the period provided for under     Licensee shall be required to purchase additional licenses or capacities
this clause constitutes acceptance by the Authorized User(s) as of the      necessary to bring it into compliance and shall pay for the unlicensed
expiration of that period. The License Term shall be extended by the        capacity at the NYS Net Price in effect at time of audit, or if none,
time periods allowed for trial use, testing and acceptance unless the       then at the Contractor’s U.S. Commercial list price. Once such
Commissioner or Authorized User agrees to accept the Product at             additional licenses or capacities are purchased, Licensee shall be
completion of trial use.                                                    deemed to have been in compliance retroactively, and Licensee shall


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have no further liability of any kind for the unauthorized use of the              (LL &XVWRP 3URGXFWV: Effective upon creation of Custom
software.                                                                   Products, Contractor hereby conveys, assigns and transfers to
                                                                            Authorized User the sole and exclusive rights, title and interest in
    2:1(56+,37,7/( 72 352-(&7 '(/,9(5$%/(6                              Custom Product(s), whether preliminary, final or otherwise, including
D     'HILQLWLRQV                                                          all trademark and copyrights. Contractor hereby agrees to take all
       L For purposes of this paragraph, “Products.” A deliverable          necessary and appropriate steps to ensure that the Custom Products are
furnished under this Contract by or through Contractor, including           protected against unauthorized copying, reproduction and marketing
existing and custom Products, including, but not limited to: a)             by or through Contractor, its agents, employees, or Subcontractors.
components of the hardware environment, b) printed materials                Nothing herein shall preclude the Contractor from otherwise using the
(including but not limited to training manuals, system and user             related or underlying general knowledge, skills, ideas, concepts,
documentation, reports, drawings), whether printed in hard copy or          techniques and experience developed under a Purchase Order, project
maintained on diskette, CD, DVD or other electronic media c) third          definition or work order in the course of Contractor’s business.
party software, d) modifications, customizations, custom programs,          Authorized User may, by providing written notice thereof to the
program listings, programming tools, data, modules, components, and         Contractor, elect in the alternative to take a non-exclusive perpetual
e) any properties embodied therein, whether in tangible or intangible       license to Custom Products in lieu of Authorized User taking exclusive
form (including but not limited to utilities, interfaces, templates,        ownership and title to such Products. In such case, Licensee on behalf
subroutines, algorithms, formulas, source code, object code).               of all Authorized Users shall be granted a non-exclusive perpetual
                                                                            license to use, execute, reproduce, display, perform, adapt and
       LL For purposes of this paragraph, “Existing Products.”              distribute Custom Product as necessary to fully effect the general
Tangible Products and intangible licensed Products that exist prior to      business purpose(s) as stated in paragraph (b)(i)(2), above.
the commencement of work under the Contract. Contractor bears the
burden of proving that a particular product was in existence prior to       F 7UDQVIHUV RU $VVLJQPHQWV WR D 7KLUG 3DUW\ )LQDQFLQJ $JHQW It
the commencement of the Project.                                            is understood and agreed by the parties that a condition precedent to
                                                                            the consummation of the purchase (s) under the Contract may be the
       LLL For purposes of this paragraph, “Custom Products.”               obtaining of acceptable third party financing by the Authorized User.
Products, preliminary, final or otherwise, which are created or             The Authorized User shall make the sole determination of the
developed by Contractor, its Subcontractors, partners, employees or         acceptability of any financing proposal. The Authorized User will
agents for Authorized User under the Contract.                              make all reasonable efforts to obtain such financing, but makes no
                                                                            representation that such financing has been obtained as of the date of
E     7LWOH WR 3URMHFW 'HOLYHUDEOHV Contractor acknowledges that it        Bid receipt. Where financing is used, Authorized User may assign or
is commissioned by the Authorized User to perform the services              transfer its rights in Licensed Products (existing or custom) to a third
detailed in the Purchase Order. Unless otherwise specified in writing       party financing entity or trustee (“Trustee”) as collateral where required
in the Bid or Purchase Order, the Authorized User shall have                by the terms of the financing agreement. Trustee’s sole rights with
ownership and license rights as follows:                                    respect to transferability or use of Licensed Products shall be to
        L ([LVWLQJ 3URGXFWV:                                                exclusively sublicense to Authorized User all of its Licensee’s rights
            +DUGZDUH - Title and ownership of Existing Hardware           under the terms and conditions of the License Agreement; provided,
Product shall pass to Authorized User upon Acceptance.                      further, however, in the event of any termination or expiration of such
            6RIWZDUH - Title and ownership to Existing Software           sublicense by reason of payment in full, all of Trustee’s rights in such
Product(s) delivered by Contractor under the Contract that is normally      Licensed Product shall terminate immediately and Authorized User’s
commercially distributed on a license basis by the Contractor or other      prior rights to such Existing Licensed Product shall be revived.
independent software vendor proprietary owner (“Existing Licensed
Product”), whether or not embedded in, delivered or operating in            G 6DOH RU /LFHQVH RI &XVWRP 3URGXFWV ,QYROYLQJ 7D[([HPSW
conjunction with hardware or Custom Products, shall remain with             )LQDQFLQJ LH &HUWLILFDWHV RI 3DUWLFLSDWLRQ  &236 The Authorized
Contractor or the proprietary owner of other independent software           User’s sale or other transfer of Custom Products which were acquired by
vendor(s) (ISV). Effective upon acceptance, such Product shall be           the Authorized User using third party, tax-exempt financing may not
licensed to Authorized User in accordance with the Contractor or ISV        occur until such Custom Products are, or become, useable. In the event
owner’s standard license agreement, provided, however, that such            that the Contractor wishes to obtain ownership rights to Custom
standard license, must, at a minimum: (a) grant Authorized User a           Product(s), the sale or other transfer shall be at fair market value
non-exclusive, perpetual license to use, execute, reproduce, display,       determined at the time of such sale or other transfer, and must be pursuant
perform, adapt (unless Contractor advises Authorized User as part of        to a separate written agreement in a form acceptable to the Authorized
Contractor’s proposal that adaptation will violate existing agreements      User which complies with the terms of this paragraph.
or statutes and Contractor demonstrates such to the Authorized User’s
satisfaction) and distribute Existing Licensed Product to the               H Contractor’s Obligation with Regard to ISV (Third Party)
Authorized User up to the license capacity stated in the Purchase           3URGXFW Where Contractor furnishes Existing Licensed Product(s) as a
Order or work order with all license rights necessary to fully effect the   Project Deliverable, and sufficient rights necessary to effect the purposes
general business purpose(s) stated in the Bid or Authorized User’s          of this section are not otherwise provided in the Contractor or ISV’s
Purchase Order or work order, including the financing assignment            standard license agreement, Contractor shall be responsible for obtaining
rights set forth in paragraph (c) below; and (b) recognize the State of     from the ISV third party proprietary owner/developer the rights set forth
New York as the licensee where the Authorized User is a state agency,       herein to the benefit of the Authorized User at Contractor’s sole cost and
department, board, commission, office or institution. Where these           expense.
rights are not otherwise covered by the ISV’s owner’s standard license
agreement, the Contractor shall be responsible for obtaining these           3522) 2) /,&(16( The Contractor must provide to each
rights at its sole cost and expense. The Authorized User shall              Licensee who places a Purchase Order either: (i) the Product
reproduce all copyright notices and any other legend of ownership on        developer’s certified License Confirmation Certificates in the name of
any copies authorized under this paragraph.                                 such Licensee; or (ii) a written confirmation from the Proprietary
                                                                            owner accepting Product invoice as proof of license. Contractor shall

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GENERAL SPECIFICATIONS                                                                                                          APPENDIX B

submit a sample certificate, or alternatively such written confirmation     disable the Product or Upgrades or impair in any way its operation
from the proprietary developer. Such certificates must be in a form         based on the elapsing of a period of time, exceeding an authorized
acceptable to the Licensee.                                                 number of copies, advancement to a particular date or other numeral,
                                                                            or other similar self-destruct mechanisms (sometimes referred to as
 352'8&7 9(56,21 Purchase Orders shall be deemed to                      “time bombs,” “time locks,” or “drop dead” devices) or that would
reference Manufacturer’s most recently released model or version of         permit Contractor to access the Product to cause such disablement or
the Product at time of order, unless an earlier model or version is         impairment (sometimes referred to as a “trap door” device).
specifically requested in writing by Authorized User and Contractor is      Contractor agrees that in the event of a breach or alleged breach of this
willing to provide such version.                                            provision that Authorized User shall not have an adequate remedy at
                                                                            law, including monetary damages, and that Authorized User shall
 &+$1*(6 72 352'8&7 25 6(59,&( 2))(5,1*6                                 consequently be entitled to seek a temporary restraining order,
D 3URGXFW RU 6HUYLFH 'LVFRQWLQXDQFH Where Contractor is the                injunction, or other form of equitable relief against the continuance of
Product Manufacturer/Developer, and Contractor publicly announces           such breach, in addition to any and all remedies to which Authorized
to all U.S. customers (“date of notice”) that a Product is being            User shall be entitled.
withdrawn from the U.S. market or that maintenance service or
technical support provided by Contractor (“withdrawn support”) is no         6285&( &2'( (6&52: )25 /,&(16(' 352'8&7 If
longer going to be offered, Contractor shall be required to: (i) notify     Source Code or Source Code escrow is offered by either Contractor or
the Commissioner, each Licensee and each Authorized User then               Product manufacturer or developer to any other commercial
under contract for maintenance or technical support in writing of the       customers, Contractor shall either: (i) provide Licensee with the
intended discontinuance; and (ii) continue to offer Product or              Source Code for the Product; or (ii) place the Source Code in a third
withdrawn support upon the Contract terms previously offered for the        party escrow arrangement with a designated escrow agent who shall be
greater of: a) the best terms offered by Contractor to any other            named and identified to the State, and who shall be directed to release
customer, or b) not less than twelve (12) months from the date of           the deposited Source Code in accordance with a standard escrow
notice; and (iii) at Authorized User’s option, provided that the            agreement acceptable to the State; or (iii) will certify to the State that
Authorized User is under contract for maintenance on the date of            the Product manufacturer/developer has named the State, acting by and
notice, either: provide the Authorized User with a Product replacement      through the Authorized User, and the Licensee, as a named beneficiary
or migration path with at least equivalent functionality at no additional   of an established escrow arrangement with its designated escrow agent
charge to enable Authorized User to continue use and maintenance of         who shall be named and identified to the State and Licensee, and who
the Product.                                                                shall be directed to release the deposited Source Code in accordance
                                                                            with the terms of escrow. Source Code, as well as any corrections or
In the event that the Contractor is not the Product Manufacturer,           enhancements to such source code, shall be updated for each new
Contractor shall be required to: (i) provide the notice required under      release of the Product in the same manner as provided above and such
the paragraph above, to the entities described within five (5) business     updating of escrow shall be certified to the State in writing.
days of Contractor receiving notice from the Product Manufacturer,          Contractor shall identify the escrow agent upon commencement of the
and (ii) include in such notice the period of time from the date of         Contract term and shall certify annually that the escrow remains in
notice that the Product Manufacturer will continue to provide Product       effect in compliance with the terms of this paragraph.
or withdraw support.
                                                                            The State may release the Source Code to Licensees under this
The provisions of this subdivision (a) shall not apply or eliminate         Contract who have licensed Product or obtained services, who may use
Contractor’s obligations where withdrawn support is being provided          such copy of the Source Code to maintain the Product.
by an independent Subcontractor. In the event that such Subcontractor
ceases to provide service, Contractor shall be responsible for
subcontracting such service, subject to state approval, to an alternate     )25 1(*27,$7(' &2175$&76 7+( )2//2:,1*
Subcontractor.                                                              &/$86(6 $5( 5(6(59(' %(&$86( %,'',1* '2(6 127
                                                                            $33/<
E. 3URGXFW RU 6HUYLFH 5H%XQGOLQJ In the event that Contractor is
the Product manufacturer and publicly announces to all U.S. customers       &ODXVHV                 
(“date of notice”) that a Product or maintenance or technical support             DQG 
offering is being re-bundled in a different manner from the structure or
licensing model of the prior U.S. commercial offering, Contractor shall
be required to: (i) notify the State and each Authorized User in writing
of the intended change; (ii) continue to provide Product or withdrawn
support upon the same terms and conditions as previously offered on
the then-current NYS Contract for the greater of: a) the best terms
offered by Contractor to any other customer, or b) not less than twelve
(12) months from the date of notice; and (iii) shall submit the proposed
rebundling change to the Commissioner for approval prior to its
becoming effective for the remainder of the Contract term. The
provisions of this section do not apply if the Contractor is not the
Product manufacturer.

 12 +$5'67233$66,9( /,&(16( 021,725,1*
Unless an Authorized User is otherwise specifically advised to the
contrary in writing at the time of order and prior to purchase,
Contractor hereby warrants and represents that the Product and all
Upgrades do not and will not contain any computer code that would

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                               APPENDIX C

                       Invitation for Bids 2018-06
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                       INVITATION FOR BIDS (IFB) 2018-06
                            URINALYSIS ANALYZERS


              Issue Date: May 1, 2018
              Bid Due Date & Time: May 23, 2018 – 3:00 p.m.
              Contract Period: September 1, 2018 – August 31, 2023




       Designated Contact                             Alternate Designated Contact

       Name: Marla Henriquez-Nepaulsingh               Name: David Gambacorta
       Phone: (518) 436-7886 ext. 3135                 Phone: (518) 436-7886 ext. 3135
       Email: doccscontracts@doccs.ny.gov              Email: doccscontracts@doccs.ny.gov




     The Harriman State Campus, 1220 Washington Avenue, Albany, NY, 12226 I www.doccs.ny.gov



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                                             BID SIGNATURE PAGE
    The bid must be fully and properly executed by an authorized person. By signing you certify your express
 authority to sign on behalf of yourself, your company, or other entity and full knowledge and acceptance of this
   INVITATION FOR BIDS, Appendix A (Standard Clauses For New York State Contracts), Appendix B (General
    Specifications), and State Finance Law §139-j and §139-k (Procurement Lobbying), and that all information
provided is complete, true and accurate. By signing, bidder affirms that it understands and agrees to comply with
 DOCCS procedures relative to permissible contacts as required by State Finance Law §139-j(3) and §139-j(6)(b).
                 Bidders are requested to retain Appendix A and Appendix B for future reference.

                             Procurement Lobbying information may be accessed at:
                   http://www.ogs.ny.gov/aboutogs/regulations/defaultAdvisoryCouncil.html
Legal Business Name of Company Bidding:                                   NYS Vendor Identification Number:
                                                                                       (see NYS vendor file registration clause)


D/B/A – Doing Business As (if applicable):                                             Federal Tax Identification Number:
                                                                                       (do not use Social Security Number)


Street                           City                            State           Zip                      County


If applicable, place an “x” next to each that apply:

                      New York State Small Business
                      New York State Certified Minority-owned Business Enterprise (MBE)
                      New York State Certified Woman-owned Business Enterprise (WBE)

Vendor Responsibility Questionnaire Filed Online:          Yes             No

Do you understand and is your firm capable of
meeting the insurance requirements to enter into
a contract with New York State?                            Yes             No

Does your bid proposal meet all the requirements
of this solicitation?                                      Yes             No


If you are not bidding, place an “x” in the box and return this page only.

  WE ARE UNABLE TO BID AT THIS TIME BECAUSE




Phone:                                                  Toll Free Phone:
Fax:
E-mail Address:                                         Company Web Site:


Bidder’s Signature:                                     Printed or Typed Name:

Date:                                                   Title:


                                        RETURN THIS PAGE AS PART OF THE BID


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                INDIVIDUAL, CORPORATION, PARTNERSHIP, OR LLC ACKNOWLEDGMENT


STATE OF                                  `
                                          } SS.:
COUNTY OF                                 `


On the ____ day of ___________________ in the year 20 __ , before me personally appeared

_______________________________________ , known to me to be the person who executed the foregoing

instrument, who, being duly sworn by me did depose and say that _he resides at

_____________________________________________________________,

Town of ______________________________________________ ,

County of _______________________________ , State of ______________________________ ; and further that:


[Check One]

   If an individual): _he executed the foregoing instrument in his/her name and on his/her own behalf.

   If a corporation): _he is the _________________________________ of
   ____________________________________ , the corporation described in said instrument; that, by authority of
   the Board of Directors of said corporation, _he is authorized to execute the foregoing instrument on behalf of
   the corporation for purposes set forth therein; and that, pursuant to that authority, _he executed the foregoing
   instrument in the name of and on behalf of said corporation as the act and deed of said corporation.

   If a partnership): _he is the ________________________________ of
   ___________________________________, the partnership described in said instrument; that, by the terms of
   said partnership, _he is authorized to execute the foregoing instrument on behalf of the partnership for
   purposes set forth therein; and that, pursuant to that authority, _he executed the foregoing instrument in the
   name of and on behalf of said partnership as the act and deed of said partnership.

   If a limited liability company): _he is a duly authorized member of ________________________________,
   LLC, the limited liability company described in said instrument; that _he is authorized to execute the foregoing
   instrument on behalf of the limited liability company for purposes set forth therein; and that, pursuant to that
   authority, _he executed the foregoing instrument in the name of and on behalf of said limited liability company
   as the act and deed of said limited liability company.




Notary Public
Registration No.




                                   RETURN THIS PAGE AS PART OF THE BID
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                                            CHECKLIST

                          IFB 2018-06 URINALYSIS ANALYZERS


All bidders must complete the checklist presented below and submit the following forms listed in the
checklist as required for each bid submission.

                SUBMISSION DOCUMENTS PACKAGE (SIGNATURES REQUIRED)

              This Checklist

                      Completed Bid Signature Page (pages 2-3)
                               Bidder's Federal Tax Identification Number
                               NYS Vendor Identification Number
                               Bidder's Signature
                               Individual, Corporation, Partnership, or LLC Acknowledgement (must be
                               notarized)
                      Completed Procurement Lobbying Certification (page 8)
                      Bid Response / Signature Page (pages 2)
                      Bid Cost Sheet (pages 28-30)
                      Notes to Bidders and Questions (pages 31-32)
                      Vendor Responsibility Questionnaire – Check one of the following:
                         Paper Submission
                               OR
                         Electronic Filing - Certified Date: ___________________
                                                         (Must be certified within the last 6 months)

                      Non-Disclosure Form (Attachment B)
                      Vendor Assurance of No Conflict of Interest or Detrimental Effect (Attachment C)
                      Contractor Certification Forms (Must Be Notarized)
                               Form ST-220-TD (File Directly with the Department of NYS Tax &
                               Finance)
                               Form ST-220-CA (Submit with Bid)

                      M/WBE – Equal Employment Opportunity Policy Statement (Appendix C)

                      Equal Employment Opportunity (EEO) Staffing Plan (Appendix C)


Signature:                                              Date:


Print Name:                                             Name of Company:




                                 RETURN THIS PAGE AS PART OF THE BID



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                                              GENERAL INFORMATION

PUR P OS E:

This Invitation for Bids (IFB) is issued by the New York State Department of Corrections and Community Supervision
(DOCCS). The purpose of this bid is for DOCCS to obtain competitive prices for reagent rentals of bench top urinalysis
analyzer services to be used in its correctional facilities for inmates. The bidder must also include the installation,
training, technical support, and maintenance of equipment in DOCCS facilities.

SP ECIFIC ATIONS:

Detailed specifications for this solicitation are provided in the Scope of Services, page 25-26, in this IFB.

DOCCS intends to award one vendor a contract for this service. The term of this contract will be for a period of five
(5) years, effective September 1, 2018 through August 31, 2023.

INQUIRIES / ISSUING OFFICE:

              All inquiries concerning this specification will be addressed to the following Designated Contact:

           PRIMARY CONTACT                                   SECONDARY CONTACT
           Marla Henriquez-Nepaulsingh                       David Gambacorta
           NYSDOCCS                                          NYSDOCCS
           Division of Support Operations / Contract         Division of Support Operations / Contract
            Procurement Unit                                   Procurement Unit
           550 Broadway                                      550 Broadway
           Menands, NY 12204                                 Menands, NY 12204
           Phone No.: 518-436-7886, ext. 3135                Phone No.: 518-436-7886, ext. 3135
           E-Mail: Doccscontracts@doccs.ny.gov               E-Mail: Doccscontracts@doccs.ny.gov

        Contacting someone else may result in rejection of bid – see “Procurement Lobbying Act”.

             All questions should be submitted in writing, citing the particular bid sections and paragraph number.
      Bidders are cautioned to read this document thoroughly to become familiar with all aspects of the bid.
      Prospective Bidders should note that all clarifications and exceptions including those relating to the terms and
      conditions of the contract are to be resolved prior to the submission of a bid. Answers to all questions of a
      substantive nature will be given to all Prospective Bidders in the form of a formal addendum which will become
      part of the ensuing contract. Bidders entering into a contract with the State are expected to comply with all the
      terms and conditions contained herein.

KEY EVENTS/DATES:


         Invitation for Bids (IFB) Issued                         May 1, 2018

         Written Bidders’ Questions Deadline                      May 11, 2018

         DOCCS Issues Answers to Questions (estimated)            May 15, 2018

         Bids Due to DOCCS                                        May 23, 2018

         Tentative Award Made (estimated)                         May 25, 2018

         Contract Start Date                                      September 1, 2018

QUALIFICATION OF BIDDERS:
           Bidders must be actively engaged in reagents drug testing/urinalysis analyzer services for a minimum of
    five (5) years.



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      DOCCS reserves the right to investigate or make any inquiry into the capabilities of any bidder to properly
      perform under any resultant contract.      See “Performance Qualifications,” “Disqualification for Past
      Performance” and “Employees/Subcontractors/Agents” in Appendix B, Specifications.

REQUIREMENTS:
      A.   Contractor must be able to perform all of the services outlined in the, Scope of Services.

       B.       Contractor will comply with all standards and appropriate regulations governing contracts with the
                State of New York (Appendix A – January 2014).

       C.       No illegal drug use of any type or alcoholic beverages by the Contractor or its personnel shall be
                permitted in the performance of the contract.

       D.       Contractor agrees to take all steps reasonably necessary to protect the secrecy of the Confidential
                Information, and to prevent the Confidential Information from falling into the public domain or into
                the possession of unauthorized persons. Such steps shall include keeping Confidential Information
                stored where only authorized personnel would have access.


IMPORTANT NOTICE TO POTENTIAL BIDDERS: Receipt of these bid documents does not indicate that the
NYS Department of Corrections and Community Supervision (DOCCS) – Contract Procurement Unit (CPU)
has pre-determined your company's qualifications to receive a contract award. Such determination will be
made after the bid opening and will be based on our evaluation of your bid submission compared to the
specific requirements and qualifications contained in these bid documents.

NOTICE TO BIDDERS:
          The DOCCS - Contract Procurement Unit (CPU) will receive bids pursuant to the provisions of Article XI
    of the State Finance Law or the provisions of the State Printing and Public Documents Law. The following
    procedures shall be used for bid submittals:

      1.    BID PREPARATION
      Prepare your bid on this form using indelible ink. Print the name of your company on each page of the bid in
      the block provided. One copy of the bid is required, unless otherwise specified herein.

      2.     BID SUBMISSION
      When submitting your bid, please submit complete original bid package, including all bidder questions and
      required certifications. You are not required to return Appendix A and Appendix B to this office. You may keep
      all those pages for your own reference.

     3.    BID DELIVERY
     Bidders assume all risks for timely, properly submitted deliveries. Bidders are strongly encouraged to
     arrange for delivery of bids to DOCCS - CPU prior to the date of the bid opening. LATE BIDS may be
     rejected. E-mail bid submissions are not acceptable and will not be considered.

            x   Bid envelopes
                The envelope containing a bid should be marked "BID ENCLOSED" and state the Bid Number, Bid
                Opening Date, and Time on the envelope containing the sealed bid. Failure to complete all
                information on the bid envelope may necessitate the premature opening of the bid and may
                compromise confidentiality. See "Bid Submission" in Appendix B, General Specifications. Bids shall
                be delivered to:

                                              State of New York
                           Department of Corrections and Community Supervision
                          Division of Support Operations/Contract Procurement Unit
                                   Attention: Marla Henriquez-Nepaulsingh
                                                550 Broadway
                                              Menands, NY 12204
                                      IFB #2018-06 – Urinalysis Analyzers



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            x   Hand deliveries
                Bidders must allow extra time to comply with the security procedures which may be in effect when
                hand delivering bids or using deliveries by independent courier services. Bidders assume all risks
                for timely, properly submitted deliveries.


NON-COLLUSIVE BIDDING CERTIFICATION:

      (Reference: State Finance Law Section 139-d and Appendix A, Clause 7)
            By submission of this bid, each bidder and each person signing on behalf of any bidder certifies, and in
      the case of a joint bid each party thereto certifies as to its own organization, under penalty of perjury, that to
      the best of its knowledge and belief:

            (1) The prices in this bid have been arrived at independently without collusion, consultation,
      communication, or agreement, for the purpose of restricting competition, as to any matter relating to such
      prices with any other bidder or with any competitor;

             (2) Unless otherwise required by law, the prices which have been quoted in this bid have not been
      knowingly disclosed by the bidder and will not knowingly be disclosed by the bidder prior to opening, directly
      or indirectly, to any other bidder or to any competitor; and

            (3) No attempt has been made or will be made by the bidder to induce any other person, partnership or
      corporation to submit or not submit a bid for the purpose of restricting competition.

            In the event that the bidder is unable to certify as stated above, the bidder shall provide a signed
      statement which sets forth in detail the reasons why the bidder is unable to furnish the certificate as required
      in accordance with State Finance Law Section 139-d(1)(b).

PROCUREMENT LOBBYING ACT:
    SUMMARY OF POLICY AND PROHIBITIONS ON PROCUREMENT LOBBYING
           Pursuant to State Finance Law §§139-j and 139-k, this solicitation includes and imposes certain
    restrictions on communications between DOCCS – CPU and an Offerer/bidder during the procurement
    *process. An Offerer/bidder is restricted from making contacts from the earliest notice of intent to solicit
    offers/bids through final award and approval of the Procurement Contract by DOCCS – CPU and if applicable,
    the Office of General Services, and/or the Office of the State Comptroller (“restricted period”) to other than
    designated staff unless it is a contact that is included among certain statutory exceptions set forth in State
    Finance Law §139-j (3) (a). Designated staff, as of the date hereof, is identified on the first page of this
    solicitation. DOCCS – CPU employees are also required to obtain certain information when contacted during
    the restricted period and make a determination of the responsibility of the Offerer/bidder pursuant to these two
    statutes. Certain findings of non-responsibility can result in rejection for contract award and in the event of two
    findings within a four-year period, the Offerer/bidder is debarred from obtaining governmental Procurement
    Contracts.         Further    information   about     these      requirements      can    be    found    on      the
    website:http://ogs.ny.gov/Aboutogs/regulations/defaultAdvisoryCouncil.html.

PROCUREMENT LOBBYING TERMINATION:
           DOCCS - CPU reserves the right to terminate this contract in the event it is found that the certification
    filed by the Offerer/bidder in accordance with New York State Finance Law §139-k was intentionally false or
    intentionally incomplete. Upon such finding, DOCCS – CPU may exercise its termination right by providing
    written notification to the Offerer/bidder in accordance with the written notification terms of this contract.




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                                      PROCUREMENT LOBBYING CERTIFICATION

      By signing, the offerer/bidder affirms that it understands and agrees to comply with the NYS Department of
      Corrections and Community Supervision (DOCCS) procedures relative to permissible contacts, as required by
      State Finance Law §139-j and §139-k.

      Procurement Lobbying information can be accessed at:
      http://www.ogs.ny.gov/aboutogs/regulations/advisoryCouncil/sfl139-j.htm and
      http://www.ogs.ny.gov/aboutogs/regulations/advisoryCouncil/sfl139-k.htm


Offeror affirms that it understands and agrees to comply with the procedures of the Government Entity relative to
permissible Contacts as required by State Finance Law §139-j (3) and §139-j (6) (b).

By: _____________________________________                      Date: ____________________

Name: __________________________________                       Title: ___________________


Contractor Name: _____________________________________________________________

Contractor Address: _____________________________________________________

______________________________________________________________________

______________________________________________________________________



Prior Non-Responsibility Determinations – State Finance Law §139-k
1. Has any Government Entity made a finding of non-responsibility against this organization/company? No   Yes

2. If yes, was the basis for the finding of non-responsibility due to a violation of SFL§139-j or
   due to the intentional provision of false or incomplete information to a Government Entity?      No    Yes

3. Has any Government Entity terminated or withheld a procurement contract with this
   organization/company due to the intentional provision of false or incomplete information?        No    Yes

If yes to any of the above questions, provide complete details on a separate page and attach.

Offerer Certification:
I certify that all information provided to the Governmental Entity with respect to State Finance Law §139-k is
complete, true and accurate.

By: _____________________________________                      Date: _______________________________

Name: __________________________________                       Title: _______________________________


Procurement Lobbying Termination
DOCCS reserves the right to terminate this contract in the event it is found that the certification filed by the
Offeror/bidder in accordance with New York State Finance Law §139-k was intentionally false or intentionally
incomplete. Upon such finding, DOCCS may exercise its termination right by providing written notice to the
Offeror/bidder in accordance with the written notification terms of the contract.


                                      RETURN THIS PAGE AS PART OF THE BID


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TAX LAW § 5-A:
     TAX LAW § 5-A (Amended April 26, 2006):
             Tax Law § 5-a, as amended on April 26, 2006, requires certain contractors who are awarded state
     contracts for commodities and/or services valued at more than REDACTED (over the full term of the contract,
     excluding renewals) to certify to the Department of Taxation and Finance (DTF) they are registered to collect
     New York State (NYS) and local sales and compensating use taxes. The law applies to contracts where the
     total amount of the contractor’s sales delivered into NYS exceed REDACTED for the four quarterly periods
     immediately preceding the quarterly period when the certification is made; and with respect to any affiliates
     and subcontractors whose sales delivered into NYS also exceed REDACTED in the same manner as noted above
     for the contractor.
             This law imposes upon certain contractors the obligation to certify whether or not the contractor, its
     affiliates, and its subcontractors are required to register to collect state sales and compensating use tax. The
     contractors must certify to DTF that each affiliate and subcontractor exceeding the sales threshold is registered
     with DTF to collect such State and local sales and compensating use taxes. The law prohibits the Comptroller,
     or other approving agency, from approving a contract to a vendor who is not registered in accordance with the
     law.
             There are two (2) Contractor certification forms, with instructions, attached to this bid. Form ST-220-TD
     is to be removed from this bid and submitted directly to DTF. Submission to DTF is a one-time
     occurrence. If you have already submitted this form to DTF for other bidding opportunities, you do not
     need to submit the form attached to this bid. If, however, any certification information changes, a new
     ST-220-TD must be filed with DTF. Form ST-220-CA must be completed and submitted with this bid.
     This form certifies to the procuring agency that the contractor has filed ST-220-TD with DTF in
     compliance with the law.
             Bidders should complete and submit the certification forms within two business days of request (if the
     forms are not submitted to DTF and/or and returned with bid). Bidders shall take the necessary steps to provide
     properly certified forms within a timely manner to ensure compliance with the law, as failure to do so may
     render a bidder non-responsive and non-responsible.
             Vendors may call DTF at 1-800-698-2909 for any and all questions relating to Tax Law § 5-a and relating
     to a company's registration status with DTF. For additional information and frequently asked questions, please
     refer to the DTF web site: http://www.tax.ny.gov.

TERMINATION FOR VIOLATION OF Revised Tax Law 5a:
          NYS DOCCS reserves the right to terminate this contract in the event it is found that the certification filed
    by the Contractor in accordance with § 5-a of the Tax Law is not timely filed during the term of the contract or
    the certification furnished was intentionally false or intentionally incomplete. Upon such finding, (facility name)
    may exercise its termination right by providing written notification to the Contractor.

DISPUTE RESOLUTION POLICY:
           It is the policy of the DOCCS – CPU and the Office of the State Comptroller to provide vendors with an
     opportunity to administratively resolve disputes, complaints or inquiries related to NYS bid solicitations or
     contract awards. DOCCS – CPU and the Office of the State Comptroller encourages vendors to seek resolution
     of disputes through consultation with DOCCS – CPU staff. All such matters will be accorded impartial and
     timely consideration. Interested parties may also file formal written disputes.

DEBRIEFING:
           Bidders will be accorded fair and equal treatment with respect to their opportunity for debriefing.
    Disclosure of the content of competing bids other than statistical tabulations of bids received in response to an
    IFB, is prohibited prior to contract award. Prior to final contract award, DOCCS-CPU shall, upon request,
    provide a debriefing which would be limited to review of that bidder’s proposal or bid. Requests for a debriefing
    prior to final contract award by an unsuccessful bidder(s) must be addressed to DOCCS - CPU in writing. The
    debriefing prior to final contract award must be requested in writing within 15 calendar days of notification that
    the bidder’s submission was unsuccessful.

            After final contract award, DOCCS-CPU shall, upon request, provide a debriefing to any bidder that
      responded to the IFB, regarding the reason that the proposal or bid submitted by the unsuccessful bidder was
      not selected for a contract award. Requests for debriefing by an unsuccessful bidder(s) must be addressed to
      DOCCS-CPU in writing. The post-award debriefing should be required in writing by the bidder within 30
      calendar days of contract approval by OSC.


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APPENDIX A:
         Appendix A, Standard Clauses For New York State Contracts, dated January 2014, attached hereto, is
    hereby expressly made a part of this Bid Document as fully as if set forth at length herein. Please retain this
    document for future reference.

APPENDIX B:
          Appendix B, General Specifications (Commodities and Non-Technology Services), dated August 2012,
    attached hereto, is hereby expressly made a part of this Bid Document as fully as if set forth at length herein
    and shall govern any situations not covered by this Bid Document or Appendix A. Please retain this
    document for future reference.

APPENDIX C:
           Appendix C, CONTRACTOR REQUIREMENTS FOR EEO AND MWBE, attached hereto expressly made
    a part of this Bid Document as fully as if set forth at length herein and shall govern any situations not covered
    by this Bid Document or Appendix A. Please retain this document for future reference.

CONFLICT OF TERMS AND CONDITIONS:
         Conflicts between documents shall be resolved in the following order of precedence:
         a.    Appendix A
         b.    This Invitation for Bids
         c.    Appendix B
         d.    Appendix C
         e.    Bidder’s Bid

CONTRACTOR REQUIREMENTS FOR EEO AND MWBE:
CONTRACTOR REQUIREMENTS AND PROCEDURES FOR PARTICIPATION BY NEW YORK STATE
CERTIFIED MINORITY AND WOMEN-OWNED BUSINESS ENTERPRISES AND EQUAL EMPLOYMENT
OPPORTUNITIES FOR MINORITY GROUP MEMBERS AND WOMEN
           New York State Law: Pursuant to New York State Executive Law Article 15-A and Parts 140-145 of Title
    5 of the New York Codes, Rules and Regulations DOCCS is required to promote opportunities for the maximum
    feasible participation of New York State-certified Minority and Women-owned Business Enterprises (“MWBEs”)
    and the employment of minority group members and women in the performance of DOCCS contracts.

      Business Participation Opportunities for MWBEs
             For purposes of this solicitation, DOCCS hereby establishes an overall goal of 0% for MWBE
      participation, 0% for New York State-certified Minority-owned Business Enterprise (“MBE”) participation and
      0% for New York State-certified Women-owned Business Enterprise (“WBE”) participation (based on the
      current availability of MBEs and WBEs). A contractor (“Contractor”) on any contract resulting from this
      procurement (“Contract”) must document its good faith efforts to provide meaningful participation by MWBEs
      as subcontractors and suppliers in the performance of the Contract. To that end, by submitting a response to
      this IFB, the bidder agrees that DOCCS may withhold payment pursuant to any Contract awarded as a result
      of this IFB pending receipt of the required MWBE documentation. The directory of MWBEs can be viewed at:
      https://ny.newnycontracts.com. For guidance on how DOCCS will evaluate a Contractor’s “good faith efforts,”
      refer to 5 NYCRR § 142.8.

             The bidder understands that only sums paid to MWBEs for the performance of a commercially useful
      function, as that term is defined in 5 NYCRR § 140.1, may be applied towards the achievement of the applicable
      MWBE participation goal.

          The portion of a contract with an MWBE serving as a broker that shall be deemed to represent the
      commercially useful function performed by the MWBE shall be 25 percent of the total value of the contract.

             In accordance with 5 NYCRR § 142.13, the bidder further acknowledges that if it is found to have willfully
      and intentionally failed to comply with the MWBE participation goals set forth in a Contract resulting from this
      solicitation, such finding constitutes a breach of contract and DOCCS may withhold payment as liquidated
      damages.




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           Such liquidated damages shall be calculated as an amount equaling the difference between: (1) all sums
    identified for payment to MWBEs had the Contractor achieved the contractual MWBE goals; and (2) all sums
    actually paid to MWBEs for work performed or materials supplied under the Contract.

           By submitting a bid or proposal, a bidder agrees to demonstrate its good faith efforts to achieve the
    applicable MWBE participation goals by submitting evidence thereof through the New York State Contract
    System (“NYSCS”), which can be viewed at https://ny.newnycontracts.com, provided, however, that a bidder
    may arrange to provide such evidence via a non-electronic method by contacting the designated contact(s) for
    this procurement. Additionally, a bidder will be required to submit the following documents and information as
    evidence of compliance with the foregoing:

    1. An MWBE Utilization Plan with their bid or proposal. Any modifications or changes to an accepted MWBE
       Utilization Plan after the Contract award and during the term of the Contract must be reported on a revised
       MWBE Utilization Plan and submitted to DOCCS for review and approval.

        DOCCS will review the submitted MWBE Utilization Plan and advise the bidder of DOCCS acceptance or
        issue a notice of deficiency within 30 days of receipt.

    2. If a notice of deficiency is issued, the bidder will be required to respond to the notice of deficiency within
       seven (7) business days of receipt by submitting to DOCCS, a written remedy in response to the notice of
       deficiency. If the written remedy that is submitted is not timely or is found by DOCCS to be inadequate,
       DOCCS shall notify the bidder and direct the bidder to submit, within five (5) business days, a request for
       a partial or total waiver of MWBE participation goals. Failure to file the waiver form in a timely manner may
       be grounds for disqualification of the bid or proposal.

        DOCCS may disqualify a bidder as being non-responsive under the following circumstances:
            a) If a bidder fails to submit an MWBE Utilization Plan;
            b) If a bidder fails to submit a written remedy to a notice of deficiency;
            c) If a bidder fails to submit a request for waiver; or
            d) If DOCCS determines that the bidder has failed to document good faith efforts.

           The successful bidder will be required to attempt to utilize, in good faith, any MBE or WBE identified
    within its MWBE Utilization Plan, during the performance of the Contract. Requests for a partial or total waiver
    of established goal requirements made subsequent to Contract Award may be made at any time during the
    term of the Contract to DOCCS, but must be made no later than prior to the submission of a request for final
    payment on the Contract.

          The successful bidder will be required to submit a quarterly M/WBE Contractor Compliance &
    Subcontractor Payment Report to DOCCS, by the 10th day following each end of quarter as applicable over the
    term of the Contract documenting the progress made toward achievement of the MWBE goals of the Contract.

    Equal Employment Opportunity Requirements

          By submission of a bid or proposal in response to this solicitation, the bidder agrees with all of the terms
    and conditions of Appendix A – Standard Clauses for All New York State Contracts including Clause 12 - Equal
    Employment Opportunities for Minorities and Women. The bidder is required to ensure that it and any
    subcontractors awarded a subcontract for the construction, demolition, replacement, major repair, renovation,
    planning or design of real property and improvements thereon (the "Work"), except where the Work is for the
    beneficial use of the bidder, undertake or continue programs to ensure that minority group members and
    women are afforded equal employment opportunities without discrimination because of race, creed, color,
    national origin, sex, age, disability or marital status. For these purposes, equal opportunity shall apply in the
    areas of recruitment, employment, job assignment, promotion, upgrading, demotion, transfer, layoff,
    termination, and rates of pay or other forms of compensation. This requirement does not apply to: (i) work,
    goods, or services unrelated to the Contract; or (ii) employment outside New York State.

         The bidder will be required to submit a Minority and Women-owned Business Enterprise and Equal
    Employment Opportunity Policy Statement to DOCCS with its bid or proposal.




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            If awarded a Contract, bidder shall submit a Workforce Utilization Report and shall require each of its
      Subcontractors to submit a Workforce Utilization Report, in such format as shall be required by DOCCS on a
      quarterly basis as required during the term of the Contract.

            Further, pursuant to Article 15 of the Executive Law (the “Human Rights Law”), all other State and Federal
      statutory and constitutional non-discrimination provisions, the Contractor and sub-contractors will not
      discriminate against any employee or applicant for employment because of race, creed (religion), color, sex,
      national origin, sexual orientation, military status, age, disability, predisposing genetic characteristic, marital
      status or domestic violence victim status, and shall also follow the requirements of the Human Rights Law with
      regard to non-discrimination on the basis of prior criminal conviction and prior arrest.

           Please Note: Failure to comply with the foregoing requirements may result in a finding of non-
      responsiveness, non-responsibility and/or a breach of the Contract, leading to the withholding of
      funds, suspension or termination of the Contract or such other actions or enforcement proceedings as
      allowed by the Contract.

USE OF SERVICE-DISABLED VETERAN-OWNED BUSINESS ENTERPRISES IN CONTRACT PERFORMANCE
          Article 17-B of the Executive Law enacted in 2014 acknowledges that Service-Disabled Veteran-Owned
    Businesses (SDVOBs) strongly contribute to the economies of the State and the nation. As defenders of our
    nation and in recognition of their economic activity in doing business in New York State, bidders/proposers for
    this contract for commodities, services or technology are strongly encouraged and expected to consider
    SDVOBs in the fulfillment of the requirements of the contract. Such partnering may be as subcontractors,
    suppliers, protégés or other supporting roles. SDVOBs can be readily identified on the directory of certified
    businesses at http://ogs.ny.gov/Core/docs/CertifiedNYS SDVOB.pdf.

             For purposes of this procurement, the DOCCS hereby establishes an overall goal of 0% for SDVOB
      participation based on the current availability of qualified SDVOBs. Bidders/proposers need to be aware that
      all authorized users of this contract will be strongly encouraged to the maximum extent practical and consistent
      with legal requirements of the State Finance Law and the Executive Law to use responsible and responsive
      SDVOBs in purchasing and utilizing commodities, services and technology that are of equal quality and
      functionality to those that may be obtained from non-SDVOBs. Furthermore, bidders/proposers are reminded
      that they must continue to utilize small, minority and women-owned businesses consistent with current State
      law.

             Utilizing SDVOBs in State contracts will help create more private sector jobs, rebuild New York State’s
      infrastructure, and maximize economic activity to the mutual benefit of the contractor and its SDVOB partners.
      SDVOBs will promote the contractor’s optimal performance under the contract, thereby fully benefiting the
      public-sector programs that are supported by associated public procurements.

            Public procurements can drive and improve the State’s economic engine through promotion of the use
      of SDVOBs by its contractors. The State, therefore, expects bidders/proposers to provide maximum assistance
      to SDVOBs in their contract performance. The potential participation by all kinds of SDVOBs will deliver great
      value to the State and its taxpayers.
FREEDOM OF INFORMATION LAW / TRADE SECRETS:
          During the evaluation process, the content of each bid will be held in confidence and details of any bid will
    not be revealed (except as may be required under the Freedom of Information Law or other State law). The
    Freedom of Information Law provides for an exemption from disclosure for trade secrets or information the
    disclosure of which would cause injury to the competitive position of commercial enterprises. This exemption
    would be effective both during and after the evaluation process.
          Should you feel your firm’s bid contains any such trade secrets or other confidential or proprietary
    information, you must submit a request to exempt such information from disclosure. Such request must be in
    writing, must state the reasons why the information should be exempt from disclosure and must be provided at
    the time of submission of the subject information.
          Requests for exemption of the entire contents of a bid from disclosure have generally not been found to
    be meritorious and are discouraged. Kindly limit any requests for exemption of information from disclosure to
    bona fide trade secrets or specific information, the disclosure of which would cause a substantial injury to the
    competitive position of your firm.


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NEW YORK STATE VENDOR FILE REGISTRATION:
          Prior to being awarded a contract pursuant to this Solicitation, the Bidder(s) and any designated authorized
    resellers who accept payment directly from the State, must be registered in the New York State Vendor File
    (Vendor File) administered by the Office of the State Comptroller (OSC). This is a central registry for all vendors
    who do business with New York State Agencies and the registration must be initiated by a State Agency.
    Following the initial registration, unique New York State ten-digit vendor identification numbers will be assigned
    to your company and to each of your authorized resellers (if any) for usage on all future transactions with New
    York State. Additionally, the Vendor File enables vendors to use the Vendor Self-Service application to manage
    all vendor information in one central location for all transactions related to the State of New York. If Bidder is
    already registered in the New York State Vendor File, list the ten-digit vendor ID number on the Bid Proposal
    Form (Attachment 1). Authorized resellers already registered should list the ten-digit vendor ID number along
    with the authorized reseller information.

              If the Bidder is not currently registered in the Vendor File and is recommended for award, DOCCS shall
       request completion of OSC Substitute W-9 Form. A fillable form with instructions can be found at the link
       below. In addition, if authorized resellers are to be used, an OSC Substitute W-9 form should be completed
       by each of the designated authorized resellers and submitted to the Office of General Services Business
       Services Center. The Office of General Services Business Services Center will initiate the vendor registration
       process for all Bidders recommended for Contract Award and their authorized resellers. Once the process is
       initiated, registrants will receive an email from OSC that includes the unique ten-digit vendor identification
       number assigned to the company and instructions on how to enroll in the online Vendor Self-Service
       application. For more information on the vendor file please visit the following website:
       http://www.osc.state.ny.us/vendor management
       Form to be completed: http://www.osc.state.ny.us/vendors/forms/ac3237 fe.pdf

NYS VENDOR RESPONSIBILITY QUESTIONNAIRE:
          DOCCS conducts a review of prospective contractors (“Bidders”) to provide reasonable assurances that
     the Bidder is responsive and responsible. A Questionnaire is used for non-construction contracts and is
     designed to provide information to assess a Bidder’s responsibility to conduct business in New York based
     upon financial and organizational capacity, legal authority, business integrity, and past performance history.
     By submitting a bid, Bidder agrees to fully and accurately complete the “Questionnaire.” The Bidder
     acknowledges that the State’s execution of the Contract will be contingent upon the State’s determination that
     the Bidder is responsible, and that the State will be relying upon the Bidder’s responses to the Questionnaire
     when making its responsibility determination.

            DOCCS recommends each Bidder file the required Questionnaire online via the New York State VendRep
      System. To enroll in and use the VendRep System, please refer to the VendRep System Instructions and User
      Support for Vendors available at the Office of the State Comptroller’s (OSC) website,
      http://www.osc.state.ny.us./vendrep/vendor index.htm or to enroll, go directly to the VendRep System online
      at https://portal.osc.state.ny.us

            OSC provides direct support for the VendRep System through user assistance, documents, online help,
      and     a    help   desk.         The    OSC     Help    Desk     contact information   is   located   at
      http://www.osc.state.ny.us/portal/contactbuss.htm. Bidders opting to complete the paper questionnaire can
      access      this    form     and       associated     definitions    via  the     OSC      website     at:
      http://www.osc.state.ny.us/vendrep/forms vendor.htm

            The Contractor must remain a responsible vendor throughout the duration of the contract and, if at any
      time the Contractor is found to be not responsible or there is a question as to the vendor’s responsibility, any
      activities pursuant to the contract may be suspended. Finally, the contract may be terminated following a
      finding of non-responsibility.

            To assist the State in determining the responsibility of the Bidder, the Bidder should complete and certify
      (or recertify) the Questionnaire no more than six (6) months prior to the bid due date.

            A Bidder’s Questionnaire cannot be viewed by DOCCS until the Bidder has certified the Questionnaire. It
      is recommended that all Bidders become familiar with all of the requirements of the Questionnaire in advance
      of the bid opening to provide sufficient time to complete the Questionnaire.



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            The Bidder agrees that if it is found by the State that the Bidder’s responses to the Questionnaire were
      intentionally false or intentionally incomplete, on such finding, DOCCS may terminate the Contract. In no case
      shall such termination of the Contract by the State be deemed a breach thereof, nor shall the State be liable
      for any damages for lost profits or otherwise, which may be sustained by the Contractor as a result of such
      termination.

           The CONTRACTOR shall at all times during the Contract term remain responsible. The CONTRACTOR
      agrees, if requested by the Commissioner of DOCCS or his designee, to present evidence of its continuing
      legal authority to do business in New York State, integrity, experience, ability, prior performance, and
      organizational and financial capacity.

            The DOCCS Commissioner or his designee, in his or her sole discretion, reserves the right to suspend
      any or all activities under this Contract, at any time, when he or she discovers information that calls into question
      the responsibility of the Contractor. In the event of such suspension, the Contractor will be given written notice
      outlining the particulars of such suspension. Upon issuance of such notice, the Contractor must comply with
      the terms of the suspension order. Contract activity may resume at such time as the DOCCS Commissioner
      or his designee issues a written notice authorizing a resumption of performance under the Contract.

CONFLICT OF INTEREST:
           Bidder must disclose any existing or contemplated relationship with any other person or entity, including
    relationships with any member, shareholders of 5% or more, parent, subsidiary, or affiliated firm, which would
    constitute an actual or potential conflict of interest or appearance of impropriety, relating to other
    clients/customers of the Respondent or former officers and employees of the Agencies and their Affiliates, in
    connection with your rendering services enumerated in this IFB. If a conflict does or might exist, please describe
    how your Staffing Firm would eliminate or prevent it. Indicate what procedures will be followed to detect, notify
    the Agencies of, and resolve any such conflicts.
           Bidder must disclose whether it, or any of its members, shareholders of 5% or more, parents, affiliates,
    or subsidiaries, have been the subject of any investigation or disciplinary action by the New York State
    Commission on Public Integrity or its predecessor State entities (collectively, "Commission"), and if so, a brief
    description must be included indicating how any matter before the Commission was resolved or whether it
    remains unresolved.
           Additionally, a bidder will be required to submit the Vendor Assurance of No Conflict of Interest or
    Detrimental Effect form located within this IFB as evidence of compliance with the foregoing.

PUBLIC OFFICERS LAW:
           Contractors, consultants, vendors, and subcontractors may hire former State Agency or Authority
    employees. However, as a general rule and in accordance with New York Public Officers Law, former
    employees of the State Agency or Authority may neither appear nor practice before the State Agency or
    Authority, nor receive compensation for services rendered on a matter before the State Agency or Authority,
    for a period of two years following their separation from State Agency or Authority service. In addition, former
    State Agency or Authority employees are subject to a "lifetime bar" from appearing before the State Agency or
    Authority or receiving compensation for services regarding any transaction in which they personally participated
    or which was under their active consideration during their tenure with the State Agency or Authority.

ETHICS REQUIREMENTS:
            The Contractor and its Subcontractors shall not engage any person who is, or has been at any time, in
     the employ of the State to perform services in violation of the provisions of the New York Public Officers Law,
     other laws applicable to the service of State employees, and the rules, regulations, opinions, guidelines or
     policies promulgated or issued by the New York State Joint Commission on Public Ethics, or its predecessors
     (collectively, the "Ethics Requirements"). The Contractor certifies that all of its employees and those of its
     Subcontractors who are former employees of the State and who are assigned to perform services under this
     Contract shall be assigned in accordance with all Ethics Requirements. During the Term, no person who is
     employed by the Contractor or its Subcontractors and who is disqualified from providing services under this
     Contract pursuant to any Ethics Requirements may share in any net revenues of the Contractor or its
     Subcontractors derived from this Contract. The Contractor shall identify and provide the State with notice of
     those employees of the Contractor and its Subcontractors who are former employees of the State that will be
     assigned to perform services under this Contract, and make sure that such employees comply with all



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      applicable laws and prohibitions. The State may request that the Contractor provide it with whatever
      information the State deems appropriate about each such person's engagement, work cooperatively with the
      State to solicit advice from the New York State Joint Commission on Public Ethics, and, if deemed
      appropriate by the State, instruct any such person to seek the opinion of the New York State Joint
      Commission on Public Ethics. The State shall have the right to withdraw or withhold approval of any
      Subcontractor if utilizing such Subcontractor for any work performed hereunder would be in conflict with any
      of the Ethics Requirements. The State shall have the right to terminate this Contract at any time if any work
      performed hereunder is in conflict with any of the Ethics Requirements.

SUBCONTRACTING:
          The Contractor agrees not to subcontract any of its services, unless as indicated in its bid, without the
    prior written approval of the DOCCS. Approval shall not be unreasonably withheld upon receipt of written
    request to subcontract.

            The Contractor may arrange for a portion/s of its responsibilities to be subcontracted to qualified,
      responsible subcontractors, subject to approval of the DOCCS. If the Contractor determines to subcontract a
      portion of the services, the subcontractors must be clearly identified and the nature and extent of its involvement
      in and/or proposed performance must be fully explained by the Contractor to the DOCCS. As part of this
      explanation, the subcontractor must submit to the DOCCS a completed Vendor Assurance of No Conflict of
      Interest or Detrimental Effect form, as required by the Contractor prior to execution of a contract.

            The Contractor retains ultimate responsibility for all services performed under a contract.

            All subcontracts shall be in writing and shall contain provisions, which are functionally identical to, and
      consistent with, the provisions of this IFB. Unless waived in writing by DOCCS, all subcontracts between the
      Contractor and subcontractors shall expressly name DOCCS as the sole intended third party beneficiary of
      such subcontract. DOCCS reserves the right to review and approve or reject any subcontract, as well as any
      amendment to said subcontract(s), and this right shall not make DOCCS a party to any subcontract or create
      any right, claim, or interest in the subcontractor or proposed subcontractor against DOCCS.

           DOCCS reserves the right, at any time during the contract term to verify that the written subcontract
      between the Contractor and subcontractors is in compliance with all of the provisions of this Section and any
      subcontract provisions contained in this IFB.

           The Contractor shall give DOCCS immediate notice in writing of the initiation of any legal action or suit
      which relates in any way to a subcontract with a subcontractor or which may affect the performance of the
      Contractor's duties under a contract. Any subcontract shall not relieve the Contractor in any way of any
      responsibility, duty and/or obligation of a contract.

            If at any time during performance under the contract the total compensation to a subcontractor exceeds
      or is expected to exceed REDACTED that subcontractor shall be required to submit and certify a Vendor
      Responsibility Questionnaire.

PRICE:
             Bidders must submit pricing using the Bid Cost Sheet (see page 27). Bidders are required to submit
      pricing for all line items to be considered for contract award. Any alteration to the Bid Cost Sheet may result
      in the disqualification of bid.

             DOCCS conducts approximately 340,000 scans (84,165 x 4 + 3,340) for illicit substances using 5 reagent
      tests at 52 locations annually A normal scan consists of THC (50ng/ml cutoff), Opiate (300 ng/ml cutoff),
      Buprenorphine (5 ng/ml cutoff), and Synthetic Cannabinoids XLR-11/UR-144 (10ng/ml cutoff). Additionally,
      work release facilities conduct scans for the use of ethyl alcohol (3,340), which is included in the above number
      of tests and scans. These reagents will be worth 88% of the total weighted bid price.

             There are 27 Other Reagents (totaling 14,850 tests) listed on the bid cost sheet that DOCCS may require
      testing during the contract period. Please note, DOCCS is not currently testing for all of the substances
      listed. However, based on possible changes in the drug world, should the need arise, DOCCS asks bidders



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      for pricing on other known reagents for future testing ability.” These other reagents will only be worth 2% of
      the total weighted bid price.

            Bidder’s bid price shall be inclusive of the following: licenses, insurance, administrative, profit, all labor
      and equipment costs, reporting or other requirements, all overhead costs, and other ancillary costs. Details of
      service not explicitly stated in these specifications, but necessarily attendant thereto are deemed to be
      understood by the Bidder and included herein.

            For evaluation purposes, the total cost of training will be worth 10% of the total weighted bid price.

METHOD OF AWARD:
         Award shall be made by Grand Total Weighted Bid Price to the lowest responsive and responsible
    bidder as calculated on the Bid Cost Sheet.

            Upon award, Contractor will have until 11/30/18 to install equipment and complete training.

MINOR DEVIATIONS (s)/MINOR TECHNICALITY:
           DOCCS reserves the right to have the flexibility to consider bids with minor deviations or technicalities
    and to waive minor deviations or technicalities that may be consistent with the intent and scope of the
    solicitation. The flexibility may permit a reasonable outcome in cases where the results of a fair, competitive
    process are clear but the award of a contract is threatened due to a minor technicality or a minor deviation.

“OR EQUAL”:
          The State reserves the right to determine if a product/service is ‘equal’ to bid specifications. Bids with
    minor deviations or technicalities may be waived if consistent with the intent and scope of the solicitation.
    The flexibility may permit a reasonable outcome in cases where the results of a fair, competitive process are
    clear but the award of a contract is threatened due to a minor technicality or a minor deviation.

CONTRACT PAYMENTS:
           Contractor shall provide complete and accurate billing invoices to the Agency in order to receive
    payment. Billing invoices submitted to the Agency must contain all information and supporting documentation
    required by the Contract, the Agency and the State Comptroller. Payment for invoices submitted by the
    Contractor shall only be rendered electronically unless payment by paper check is expressly authorized by the
    Commissioner, in the Commissioner’s sole discretion, due to extenuating circumstances. Such electronic
    payment shall be made in accordance with ordinary State procedures and practices. The Contractor shall
    comply with the State Comptroller’s procedures to authorize electric payments. Authorization forms are
    available at the State Comptroller’s website at www.osc.state.ny.us/epay/index.htm, by email at
    epunit@osc.state.ny.us, or by telephone at (518) 474-4032. Contractor acknowledges that it will not receive
    payment on any invoices submitted under this Contract if it does not comply with the State Comptroller’s
    electronic payment procedures, except where the Commissioner has expressly authorized payment by paper
    check as set forth above.

BILLING:

            Invoices should be sent to the ordering Correctional Facility, address, attention: Accounts Payable.
      Payment will be based on an invoice used in the supplier’s normal course of business. Invoices must contain
      the Contract No., description of materials, quantity, unit and price per unit as well as the Federal Identification
      Number and New York State Vendor ID.

                       If unable to email invoices, mail them to the Business Services Center address at:

                                       Dept. of Corrections and Community Supervision
                                                       Unit ID: 3250226
                                               c/o OGS BSC Accounts Payable
                                                      Building 5, 5th floor
                                                    1220 Washington Ave
                                                   Albany, NY 12226-1900


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            Invoices should be sent to the Office of General Services’ (OGS) Business Services Center (BSC) within
      ten (10) business days after the first day of the following month.

INTEREST:
            Interest on late payment is governed by State Finance Law, Section 179-M.

CONTRACT PERIOD:
          The contract awarded as a result of this IFB shall commence on September 1, 2018, or upon approval
    of the Office of the State Comptroller (OSC), whichever date is later, and will continue for five (5) years from
    the commencement date.

REJECTION:
           The State reserves the right to reject an obviously unbalanced bid or to make "NO AWARD" on individual
    listings or sub-items if individual bid prices are deemed to be unbalanced or excessive or if an error in the
    solicitation becomes evident. In such case, ranking and evaluation of bids may be made on remaining items.
    Award would be made on the remaining items. The determination of an unbalanced bid shall be at the sole
    discretion of the State. Options contained in this paragraph shall also be at the State’s sole discretion.

CANCELLATION FOR CAUSE AND CONVENIENCE:
           This agreement may be terminated by mutual agreement upon thirty (30) days written notice. Also,
    DOCCS – CPU may terminate the agreement immediately for cause, upon written notice, if the contractor fails
    to comply with the terms and conditions of this agreement and/or with any laws, rules, regulations, policies or
    procedures of the State of New York affecting this agreement.
           The State of New York retains the right to cancel this contract, in whole or in part without reason provided
    that the Contractor is given at least thirty (30) day notice of its intent to cancel. This provision should not be
    understood as waiving the State's right to terminate the contract for cause or stop work immediately for
    unsatisfactory work, but is supplementary to that provision. Any such cancellation shall have no effect on
    existing Agency agreements, which are subject to the same 30-day discretionary cancellation or cancellation
    for cause by the respective user Agencies.

CO NTRACTOR INSUR ANCE REQUIREMENTS :
                Prior to the commencement of the work to be performed by the Contractor hereunder, the Contractor
      shall file with The People of the State of New York, DOCCS, Certificates of Insurance (hereinafter referred
      to as “Certificates”), evidencing compliance with all requirements. Such Certificates shall be of a form and
      substance acceptable to DOCCS.

               Certificate acceptance and/or approval by DOCCS does not and shall not be construed to relieve
        Contractor of any obligations, responsibilities or liabilities under the Contract.

                  Contractors shall be required to procure, at their sole cost and expense, and shall maintain in force
        at all times during the term of any Contract resulting from this Solicitation, policies of insurance as required
        by this Section. All insurance required by this Section shall be written by companies that have an A.M. Best
        Company rating of “A-,” Class “VII” or better. In addition, companies writing insurance intended to comply
        with the requirements of this Section should be licensed or authorized by the New York State Department of
        Financial Services to issue insurance in the State of New York. DOCCS may, in its sole discretion, accept
        policies of insurance written by a non-authorized carrier or carriers when certificates and/or other policy
        documents are accompanied by a completed Excess Lines Association of New York (ELANY) affidavit or
        other documents demonstrating the company’s strong financial rating. If, during the term of a policy, the
        carrier’s A.M. Best rating falls below “A-,” Class “VII,” the insurance must be replaced, on or before the
        renewal date of the policy, with insurance that meets the requirements above.

                   Bidders and Contractors shall deliver to DOCCS evidence of the insurance required by this
        Solicitation and any Contract resulting from this Solicitation in a form satisfactory to DOCCS. Policies must
        be written in accordance with the requirements of the paragraphs below, as applicable. While acceptance
        of insurance documentation shall not be unreasonably withheld, conditioned or delayed, acceptance and/or
        approval by DOCCS does not, and shall not be construed to, relieve Bidders or Contractors of any
        obligations, responsibilities or liabilities under this Solicitation or any Contract resulting from this Solicitation.


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      .
               The Contractor shall not take any action, or omit to take any action that would suspend or invalidate
      any of the required coverages during the term of the Contract.

   A. General Conditions Applicable to Insurance. All policies of insurance required by this Solicitation or any
      Contract resulting from this Solicitation shall comply with the following requirements:
      1. Coverage Types and Policy Limits. The types of coverage and policy limits required from Bidders and
         Contractors are specified in Paragraph B Insurance Requirements below.
      2. Policy Forms. Except as otherwise specifically provided herein, or agreed to in the Contract resulting
         from this Solicitation, all policies of insurance required by this Section shall be written on an occurrence
         basis.
          Certificates of Insurance/Notices
              Bidders and Contractors shall provide DOCCS with a Certificate or Certificates of Insurance, in a
              form satisfactory to DOCCS as detailed below, and pursuant to the timelines set forth in Section B
              below. Certificates shall reference the Solicitation or award number and shall name The New York
              State Department of Corrections and Community Supervision, Harriman Campus, Division of
              Support Operations – Contract Procurement Unit, 550 Broadway, Menands, NY 12204, as the
              certificate holder.

          Certificates of Insurance shall
              x Be in the form acceptable to DOCCS and in accordance with the New York State Insurance
                   Law;
              x Disclose any deductible, self-insured retention, aggregate limit or exclusion to the policy that
                   materially changes the coverage required by this Solicitation or any Contract resulting from this
                   Solicitation;
              x Refer to this Solicitation and any Contract resulting from this Solicitation by award number;
              x Be signed by an authorized representative of the referenced insurance carriers; and
              x Contain the following language in the Description of Operations / Locations / Vehicles section:
                   Additional insured protection afforded is on a primary and non-contributory basis. A waiver of
                   subrogation is granted in favor of the additional insureds.

              Only original documents (certificates of insurance and any endorsements and other attachments) or
              electronic versions of the same that can be directly traced back to the insurer, agent or broker via e-
              mail distribution or similar means will be accepted.
              DOCCS generally requires Contractors to submit only certificates of insurance and additional insured
              endorsements, although DOCCS reserves the right to request other proof of insurance. Contractors
              should refrain from submitting entire insurance policies, unless specifically requested by DOCCS. If
              an entire insurance policy is submitted but not requested, DOCCS shall not be obligated to review
              and shall not be chargeable with knowledge of its contents. In addition, submission of an entire
              insurance policy not requested by DOCCS does not constitute proof of compliance with the insurance
              requirements and does not discharge Contractors from submitting the requested insurance
              documentation.

      3. Primary Coverage. All liability insurance policies shall provide that the required coverage shall be
         primary and non-contributory to other insurance available to the People of the State of New York, the
         New York State Department of Corrections and Community Supervision, any entity authorized by law or
         regulation to use the Contract and their officers, agents, and employees. Any other insurance maintained
         by the People of the State of New York, the New York State Department of Corrections and Community
         Supervision, any entity authorized by law or regulation to use the Contract and their officers, agents, and
         employees shall be excess of all applicable Contractor’s insurance, including any umbrella and/or excess
         policies, and shall not contribute with the Bidder/Contractor’s insurance.
      4. Breach for Lack of Proof of Coverage. The failure to comply with the requirements of this Section at
         any time during the term of the Contract shall be considered a breach of the terms of the Contract and
         shall allow the People of the State of New York, the New York State Department of Corrections and
         Community Supervision, any entity authorized by law or regulation to use the Contract and their officers,
         agents, and employees to avail themselves of all remedies available under the Contract or at law or in
         equity.


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      5. Self-Insured Retention/Deductibles. Certificates of Insurance must indicate the applicable
         deductibles/self-insured retentions for each listed policy. Deductibles or self-insured retentions above
         REDACTED are subject to approval from DOCCS. Such approval shall not be unreasonably withheld,
         conditioned or delayed. Bidders and Contractors shall be solely responsible for all claim expenses and
         loss payments within the deductibles or self-insured retentions. If the Bidder/Contractor is providing the
         required insurance through self-insurance, evidence of the financial capacity to support the self-
         insurance program along with a description of that program, including, but not limited to, information
         regarding the use of a third-party administrator shall be provided upon request. If the Contractor is
         unable to meet their obligation under any deductible, self-insured retention or self-insurance, neither the
         People of the State of New York nor DOCCS will be obligated to drop down to cover those amounts.
      6. Subcontractors. Prior to the commencement of any work by a Subcontractor, the Contractor shall
         require such Subcontractor to procure policies of insurance as required by this Section and maintain the
         same in force during the term of any work performed by that Subcontractor.
      7. Waiver of Subrogation. For all liability policies and the workers’ compensation insurance required
         below, the Bidder/Contractor shall cause to be included in its policies insuring against loss, damage or
         destruction by fire or other insured casualty a waiver of the insurer’s right of subrogation against The
         People of the State of New York, the New York State Department of Corrections and Community
         Supervision, any entity authorized by law or regulation to use the Contract and their officers, agents, and
         employees, or, if such waiver is unobtainable (i) an express agreement that such policy shall not be
         invalidated if the Contractor waives or has waived before the casualty, the right of recovery against The
         People of the State of New York, the New York State Department of Corrections and Community
         Supervision, any entity authorized by law or regulation to use the Contract and their officers, agents, and
         employees or (ii) any other form of permission for the release of The People of the State of New York,
         the New York State Department of Corrections and Community Supervision, any entity authorized by law
         or regulation to use the Contract and their officers, agents, and employees. A Waiver of Subrogation
         Endorsement shall be provided upon request. A blanket Waiver of Subrogation Endorsement evidencing
         such coverage is also acceptable.
      8. Additional Insured. The Contractor shall cause to be included in each of the liability policies required
         below, ISO form CG 20 10 11 85 (or a form or forms that provide equivalent coverage, such as the
         combination of CG 20 10 04 13 and CG 20 37 04 13) and form CA 20 48 10 13 (or a form or forms that
         provide equivalent coverage), naming as additional insureds: The People of the State of New York, the
         New York State Department of Corrections and Community Supervision, any entity authorized by law or
         regulation to use the Contract and their officers, agents, and employees. An Additional Insured
         Endorsement evidencing such coverage shall be provided to DOCCS pursuant to the timelines set forth
         in Section B below. A blanket Additional Insured Endorsement evidencing such coverage is also
         acceptable. For Contractors who are self-insured, the Contractor shall be obligated to defend and
         indemnify the above-named additional insureds with respect to Commercial General Liability and
         Business Automobile Liability, in the same manner that the Contractor would have been required to
         pursuant to this Section had the Contractor obtained such insurance policies.
      9. Excess/Umbrella Liability Policies. Required insurance coverage limits may be provided through a
         combination of primary and excess/umbrella liability policies; however, a minimum of one million dollars
         REDACTED must be primary coverage for general liability and auto liability. All Contractor’s
         applicable insurance policies, including umbrella and excess insurance, will be primary to any insurance,
         self-insurance, deductible or self- insured retention of The People of the State of New York, the New
         York State Department of Corrections and Community Supervision, or any entity authorized by law or
         regulation to use the Contract and their officers, agents, and employees. If coverage limits are provided
         through excess/umbrella liability policies, then a Schedule of underlying insurance listing policy
         information for all underlying insurance policies (insurer, policy number, policy term, coverage and limits
         of insurance), including proof that the excess/umbrella insurance follows form must be provided upon
         request.
      10. Notice of Cancellation or Non-Renewal. Policies shall be written so as to include the requirements for
          notice of cancellation or non-renewal in accordance with the New York State Insurance Law. Within five
          (5) business days of receipt of any notice of cancellation or non-renewal of insurance, the Contractor
          shall provide DOCCS with a copy of any such notice received from an insurer together with proof of
          replacement coverage that complies with the insurance requirements of this Solicitation and any Contract
          resulting from this Solicitation.


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         Coverage shall include, but not be limited to, the following:
          x Premises liability;
          x Independent contractors;
          x Blanket contractual liability, including tort liability of another assumed in a contract;
          x Defense and/or indemnification obligations, including obligations assumed under the
              Contract;
          x Cross liability for additional insureds;
          x Products/completed operations for a term of no less than three [1-3] years,
              commencing upon acceptance of the work, as required by the Contract;
          x [Explosion, collapse and underground hazards; and
          x Contractor means and methods].

      2. Business Automobile Liability Insurance: Such insurance shall cover liability arising out of any
         automobile used in connection with performance under the Contract, including owned, leased, hired and
         non-owned automobiles bearing or, under the circumstances under which they are being used, required
         by the Motor Vehicles Laws of the State of New York to bear, license plates.
         In the event that the Contractor does not own, lease or hire any automobiles used in connection with
         performance under the Contract, the Contractor does not need to obtain Business Automobile Liability
         Insurance, but must attest to the fact that the Contractor does not own, lease or hire any automobiles
         used in connection with performance under the Contract on a form provided by DOCCS. If, however,
         during the term of the Contract, the Contractor acquires, leases or hires any automobiles that will be
         used in connection with performance under the Contract, the Contractor must obtain Business
         Automobile Liability Insurance that meets all of the requirements of this section and provide proof of such
         coverage to DOCCS in accordance with the insurance requirements of any Contract resulting from this
         Solicitation.

         In the event that the Contractor does not own or lease any automobiles used in connection with
         performance under the Contract, but the Contractor does subcontract, hire and/or utilize non-owned
         automobiles in connection with performance under the Contract, the Contractor, subcontractor or owner
         of the automobile(s) must: (i) obtain Business Automobile Liability Insurance as required by this
         Solicitation or any Contract resulting from this Solicitation, except that such insurance may be limited to
         liability arising out of hired and/or non-owned automobiles, as applicable; and (ii) attest to the fact that
         the Contractor does not own or lease any automobiles used in connection with performance under the
         Contract, on a form provided by DOCCS. If, however, during the term of the Contract, the Contractor
         acquires or leases any automobiles that will be used in connection with performance under the Contract,
         the Contractor must obtain Business Automobile Liability Insurance that meets all of the requirements of
         this Section and provide proof of such coverage to DOCCS in accordance with the insurance
         requirements of any Contract resulting from this Solicitation.

      3. Workers’ Compensation Insurance and Disability Benefits Requirements
         Sections 57 and 220 of the New York State Workers’ Compensation Law require the heads of all
         municipal and state entities to ensure that businesses applying for contracts have appropriate workers’
         compensation and disability benefits insurance coverage. These requirements apply to both original
         contracts and renewals. Failure to provide proper proof of such coverage or a legal exemption
         will result in a rejection of a Bid or any contract renewal. A Bidder will not be awarded a
         Contract unless proof of workers’ compensation and disability insurance is provided to
         DOCCS. Proof of workers’ compensation and disability benefits coverage, or proof of exemption must
         be submitted to DOCCS at the time of Bid submission, policy renewal, contract renewal, and upon
         request. Proof of compliance must be submitted on one of the following forms designated by the New
         York State Workers’ Compensation Board. An ACORD form is not acceptable proof of New York
         State workers’ compensation or disability benefits insurance coverage.

         Proof of Compliance with Workers’ Compensation Coverage Requirements:
         x Form CE-200, Certificate of Attestation for New York Entities With No Employees and Certain Out of
            State Entities, That New York State Workers’ Compensation and/or Disability Benefits Insurance
            Coverage is Not Required, which is available on the Workers’ Compensation Board’s website
            (www.wcb.ny.gov);


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            x   Form C-105.2 (9/07), Certificate of Workers’ Compensation Insurance, sent to DOCCS by the
                Contractor’s insurance carrier upon request, or if coverage is provided by the New York State
                Insurance Fund, they will provide Form U-26.3 to DOCCS upon request from the Contractor; or
            x   Form SI-12, Certificate of Workers’ Compensation Self-Insurance, available from the New York State
                Workers’ Compensation Board’s Self-Insurance Office, or
            x   Form GSI-105.2, Certificate of Participation in Workers’ Compensation Group Self-Insurance,
                available from the Contractor’s Group Self-Insurance Administrator.

            Proof of Compliance with Disability Benefits Coverage Requirements:
            x Form CE-200, Certificate of Attestation for New York Entities With No Employees and Certain Out of
               State Entities, That New York State Workers’ Compensation and/or Disability Benefits Insurance
               Coverage is Not Required, which is available on the Workers’ Compensation Board’s website
               (www.wcb.ny.gov);
            x Form DB-120.1, Certificate of Disability Benefits Insurance, sent to DOCCS by the Contractor’s
               insurance carrier upon request; or
            x Form DB-155, Certificate of Disability Benefits Self-Insurance, available from the New York State
               Workers’ Compensation Board’s Self-Insurance Office.

            An instruction manual clarifying the New York State Workers’ Compensation Law requirements is
            available for download at the New York State Workers’ Compensation Board’s website,
            http://www.wcb.ny.gov. Once on the site, click on the Employers/Businesses tab and then click on
            Employers’ Handbook.

INDEMNIFICATION:
            The Contractor shall assume all risks of liability for its performance, or that of any of its officers,
      employees, subcontractors or agents, of any contract resulting from this solicitation and shall be solely
      responsible and liable for all liabilities, losses, damages, costs or expenses, including attorney's fees, arising
      from any claim, action or proceeding relating to or in any way connected with the performance of this
      Agreement and covenants and agrees to defend, indemnify and hold harmless the State of New York, its
      agents, officers and employees, from any and all claims, suits, causes of action and losses of whatever kind
      and nature, arising out of or in connection with its performance of any contract resulting from this solicitation,
      including negligence, active or passive or improper conduct of the Contractor, its officers, agents,
      subcontractors or employees, or the failure by the Contractor, its officers, agents, subcontractors or
      employees to perform any obligations or commitments to the State or third parties arising out of or resulting
      from any contract resulting from this solicitation. Such indemnity shall not be limited to the insurance
      coverage herein prescribed.

REFERENCES:
           As per the “Vendor Responsibility Disclosure” clause, bidders may be required to provide references of
    the bidder's largest customers. References shall be commercial or governmental accounts, and should
    demonstrate the ability of the vendor to perform jobs similar in scope to the size, nature and complexity of the
    outlined bid. The references shall include the:
           x Name, address, contact person, telephone number, fax number, and number of years bidder has
               serviced the referenced account;
           x Volume of business performed within the past three years for each referenced account.

FINANCIAL STABILITY:
            As per the “Vendor Responsibility Disclosure” clause, bidder may be required to document its ability to
     service a contract with dollar sales volume similar to scope of this bid through submission of financial
     statements documenting past sales history. The bidder must be financially stable and able to substantiate the
     financial statements of its company. In addition to sales history, current financial statements may be requested
     and must be provided within five business days. The state reserves the right to request additional
     documentation from the bidder and to request reports on financial stability from independent financial rating
     services. The state reserves the right to reject any bidder who does not demonstrate financial stability sufficient
     for the scope of this bid.



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GENERAL REQUIREMENTS:
        The Bidder agrees to
           1. Adhere to all State and Federal laws and regulations in connection with the contract; and,
           2. Notify DOCCS of any changes in the legal status or principal ownership of the firm, forty-five (45)
               days in advance of said change.

           The Bidder agrees that
               3. In any contract resulting from this IFB, it shall be completely responsible for its work, including
                  any damages or breakdowns caused by its failure to take appropriate action; and,
               4. Any contract resulting from this IFB may not be assigned, transferred, conveyed or the work
                  subcontracted without the prior written consent of the Commissioner of DOCCS.
               5. For reasons of safety and public policy, in any contract resulting from this IFB, the use of illegal
                  drugs and/or alcoholic beverages by the Contractor or its personnel shall not be permitted while
                  performing any phase of the work herein specified.
               6. For purposes of any contract resulting from this IFB, the State will not be liable for any expense
                  incurred by the Contractor for any parking fees or as a consequence of any traffic infraction or
                  parking violations attributable to employees of the Contractor.
               7. The Commissioner’s interpretation of specifications shall be final and binding upon the
                  Contractor.
               8. The Commissioner of DOCCS will make no allowance or concession to the Bidder for any alleged
                  misunderstanding because of quantity, quality, character, location or other conditions.
               9. Should it appear that there is a real or apparent discrepancy between different sections of
                  specifications concerning the nature, quality or extent of work to be furnished, it shall be assumed
                  that the Bidder has based its bid on the more expensive option. Final decision will rest with the
                  Commissioner of DOCCS.
             10. Inspection – For purposes of any contract resulting from this IFB, the quality of service is subject
                  to inspection and may be made at any reasonable time by the State of New York. Should it be
                  found that quality of services being performed is not satisfactory and that the requirements of the
                  specifications are not being met, the Commissioner DOCCS may terminate the contract and
                  employ another contractor to fulfill the requirements of the contract. The existing Contractor shall
                  be liable to the State of New York for costs incurred on account thereof.
            11. Stop Work Order - The Commissioner of DOCCS reserves the right to stop the work covered by
                  this IFB and any contract(s) resulting therefrom at any time that it is deemed the successful
                  Bidder is unable or incapable of performing the work to the state’s satisfaction. In the event of
                  such stopping, DOCCS shall have the right to arrange for the completion of the work in such
                  manner as it may deem advisable and if the cost thereof exceeds the amount of the bid, the
                  successful Bidder shall be liable to the State of New York for any such costs on account thereof.
                  In the event that DOCCS issues a stop work order for the work as provided herein, the Contractor
                  shall have ten (10) working days to respond thereto before any such stop work order shall
                  become effective.

CONTRACT TERMS:
     1. All provisions and requirements of Appendix A Standard Clauses for New York State Contracts, which is
        attached hereto and forms a part hereof, will be incorporated into any contract resulting from this IFB, and
        will be binding upon the parties to such contract.
     2. All provisions and requirements that are attached hereto and form a part hereof, will be incorporated into
        any contract resulting from this IFB, and will be binding upon the parties to such contract.
     3. It is stipulated and agreed by the parties that the law of the State of New York shall solely and in all respects,
        govern with relation to any dispute, litigation, or interpretation arising out of or connected with any contract
        resulting from this IFB.
     4. Any contract resulting from this IFB shall not be deemed executed, valid or binding unless and until
        approved in writing by the Attorney General and the Comptroller of the State of New York.




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PROCUREMENT RIGHTS:

The State of New York reserves the rights for the following:
     1. Reject any and all bids received in response to this Solicitation.
     2. Disqualify a Bidder from receiving the award if the Bidder, or anyone in the Bidder's employ, has previously
          failed to perform satisfactorily in connection with public bidding or contracts.
     3. Correct Bidders’ mathematical errors and waive or modify other minor irregularities in bids received, after
          prior notification to the Bidder.
     4. Adjust any Bidder's expected costs of the bid price based on a determination of the evaluation committee
          that the selection of the said Bidder will cause the State to incur additional costs.
     5. Negotiate with Bidders responding to this Solicitation within the Solicitation requirements to serve the best
          interests of the State.
     6. Begin contract negotiations with another bidding Contractor(s) to serve the best interests of the State
          should DOCCS be unsuccessful negotiating a contract with the selected Contractor within 21 days of
          selection notification.
     7. Waive any mandatory, non-material requirement not met by all Bidders.
     8. Not make an award from this Solicitation or withdraw any tentative awards made as a result of this
          Solicitation.
     9. Make an award under this Solicitation in whole or in part.
     10. Make multiple contract awards pursuant to the Solicitation.
     11. Have any service completed via separate competitive bid or other means, as determined to be in the best
          interest of the State.
     12. Seek clarifications of bids.
     13. Disqualify any bidder whose conduct and/or bid fails to conform to the requirements of the IFB.
     14. Prior to the bid opening, amend the IFB specifications to correct errors or oversights, or to supply additional
          information, as it becomes available.
     15. Change any of the scheduled dates stated herein with written notice to all bidders who have received this
          IFB.
     16. If two or more offers are found to be substantially equivalent, the Commissioner of DOCCS, at his sole
          discretion, will determine award.

      Please Note: The State is not liable for any costs incurred by Bidders in the preparation and production of bids
      or for any work performed prior to the issuance of a contract.




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              NYS DEP ARTMENT OF CO RRECT IONS AND COMMUNITY SUPERVI SION
                            IFB 2018- 06 URINALYS IS ANALYZERS
                           SEPTEM BER 1, 2018 – AUGUS T 31 , 2023

                                               SCOPE OF SERVICES

OVERVIEW:

         DOCCS is seeking to award a contract for bench top urinalysis analyzers on a reagent rental basis that
includes machines, consumables (excluding distilled/sterile water), calibrators, controls, maintenance, testimony,
training, and help desk assistance.

        DOCCS conducts approximately 340,000 scans (84,165 x 4 + 3,340) for illicit substances using 5 reagent
tests at 52 locations annually. A normal scan consists of THC (50ng/ml cutoff), Opiate (300 ng/ml cutoff),
Buprenorphine (5 ng/ml cutoff), and Synthetic Cannabinoids XLR-11/UR-144 (10ng/ml cutoff). Additionally, work
release facilities conduct scans for the use of ethyl alcohol (3,340), which is included in the above number of tests
and scans. For evaluation purposes, the total cost of these tests will represent 88% of the weighted bid price.

         There are 27 Other Reagents (totaling 14,850 tests) listed on the bid cost sheet that DOCCS may require
testing during the contract period. Please note, DOCCS is not currently testing for all of the substances
listed. However, based on possible changes in the drug world, should the need arise, DOCCS asks bidders for
pricing on other known reagents for future testing ability.” For evaluation purposes, the total cost of these tests
will represent 2% of the weighted price.

        For evaluation purposes, the total cost of training will be worth 10% of the total weighted bid price.

DESCRIPTION OF SYSTEM FUNCTIONALITY: Documentation should be provided that is descriptive of the
functions supported by the system. Existing product literature and prepared marketing materials may be included;
however, this information is less useful than a more detailed user and technical document. Please include
information on the following:

PRODUCT SPECIFICATIONS:
Hardware:
   1. Analyzers must be new and not refurbished.
   2. Must provide 1 analyzer machine to each correctional facility (see Attachment A - Correctional Facilities
      Map & Locations, excluding the following correctional facilities: Taconic and Moriah).
   3. Must print a daily sheet of all individuals tested with results, as well as the ability to print individual results.
   4. Machine must be able to operate independent of internet connection, the ability to connect should be
      present for possible future use.
   5. Installation shall be conducted by the company at a date and time requested by DOCCS (at least 1 week
      notice).
   6. Provide timeframe for installation of equipment (as mutually agreed upon schedule between DOCCS and
      Awardee).
   7. Provide delivery time after the order of equipment and reagents/consumables.


Consumables:
          Contractor will provide all consumables relating to urinalysis testing conducted with the exception of
distilled water. Consumables must be received by the ordering Correctional Facility within 5 business days of an
official request. Please note: there will be no shipping costs associated for orders of consumables and are to be
shipped F.O.B. destination. In addition, the Contractor will be required to develop a method for correctional
facilities to order consumables to be approved by DOCCS. Contractor must designate someone in their
organization to be DOCCS’ official contact for consumables.


Training:
    1. Initial onsite training for a maximum of 5 staff members shall be conducted by the awarded Contractor at
       each of DOCCS 52 facilities. The training will be worth 10% of the total weighted score.



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   2. In addition, a mandatory Master trainer class will be conducted by the Contractor to allow DOCCS to train
      and certify new testers. Certificates will be provided by the Contractor. On-site master trainer classes
      will be conducted at the request of DOCCS but not more than one (1) time annually. This will occur in
      each of 9 DOCCS regions (HUBs) at a DOCCS location and will include no more than 36 individuals in
      total (approximately 4 per HUB). The training will encompass new drug trends, testifying for
      administrative hearings, common issues with the machine, proper procedures for training new testers,
      common issues with training new testers, minor preventative maintenance.

         The training should also include peripherals and training materials for both the master trainer and new
         tester (PowerPoint/manual, tests, training aids, etc.) A method for the supply and updating of the
         curriculum as needed by the manufacturer should be available.

         A minimum should be set by the manufacturer to determine tester proficiency. All training must occur on
         site as the restrictions to internet access is limited for many DOCCS employees. A state map of DOCCS
         facilities and HUBS is attached. The training may be conducted at any facility within a specific HUB
         based on availability of urinalysis room space and need.

         For evaluation purposes, the total cost of training (total for items 1. and 2a-b.) will be worth 10% of the
         total weighted bid price. Please note: Vendor will only be paid for actual training events provided.
         DOCCS reserves the right to increase or decrease training sessions based on actual staff training needs;
         additional training classes will be paid based on the vendor’s bid rate for the location where the additional
         training will be held.

         Please note: Training cost shall be invoiced separately from testing costs.

Support and Maintenance:

    1. Operators manual must be provided at a minimum of English and Spanish. Additional, manuals in other
       languages must be available upon request free of charge.

    2. The Department requires a maintenance agreement for the life of agreement during business hours for
       service to the Urinalysis Analyzer as requested. This maintenance agreement will become effective
       upon expiration of the initial warranty. Business Hours: 8:00 am – 5:00 pm, Monday – Friday (no
       weekends or state holidays) The following are New York State designated holidays:


           New Year’s Day                                    Labor Day
           Martin Luther King, Jr. Day                       Columbus Day
           Lincoln’s Birthday                                Election Day
           Washington’s Birthday                             Veteran’s Day
           Memorial Day                                      Thanksgiving
           Independence Day                                  Christmas



    3.    Must provide unlimited 24/7 telephone support (for technical support and troubleshooting)
    4.    Must provide preventive maintenance visits (at least 2 visits annually)
    5.    Must provide 24-hour response time (when on-site service is required/requested)
    6.    Must provide and cover, all parts, labor (including travel), and costs associated with repair and
          maintenance of the machine.
    7.    If replacement equipment is required due to failure, it must be received within 48 hours.
    8.    If replacement software is required due to failure, it must be received within 24 hours.
    9.    Helpdesk Operations
    10.   User feedback procedures
    11.   24/7 and 365 support procedures
    12.   Warranty, returns and exchanges



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TESTIMONY:
Testimony at DOCCS administrative hearings is required by the Contractor during normal business hours,
telephonic testimony will be required on an as needed. Testimony may be, but is not limited to, machine
operation, calibration, maintenance, procedures, and cross-reactivity. In the event of litigation, DOCCS may
require the manufacturer provide an expert in the field of urinalysis drug testing to assist the New York State
Attorney General’s Office or DOCCS Counsel’s Office in defending issues that may arise from the urinalysis
testing of inmates.




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                  NYS DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
                              IFB 2018-06 URINALYSIS ANALYZERS
                                        BID COST SHEET

DOCCS is seeking to award a contract for bench top urinalysis analyzers on a reagent rental basis that includes
machines, consumables (excluding distilled/sterile water), calibrators, controls, maintenance, testimony, training,
and help desk assistance. An award will be made to the responsive, responsible bidder offering the lowest grand
total weighted bid price for testing requested in this IFB.



                                         Estimated
                                        Annual Test       Price per        Kit                   Price per     Total Cost
               Reagents                 Quantity (A)       test (B)       size      Kit Yield       Kit         (A x B)

  Buprenorphine                       84,165 tests

  Cannabinoids (THC)                  84,165 tests

  Opiates                             84,165 tests

  Synthetic Cannabinoids-2            84,165 tests

  Ethyl Ethanol                         3,340 tests


  Total                                  340,000 tests                               Total Cost of Above              (C)


                                        *Estimated
                                        Annual Test       Price per        Kit                   Price per     Total Cost
            *Other Reagents             Quantity (A)       test (B)       size      Kit Yield       Kit         (A x B)

  6-AM                                    550 tests

  Amphetamine                             550 tests

  Barbiturates                            550 tests

  Benzodiazepines                         550 tests
  Benzoylecgonine (cocaine
  metabolite)                             550 tests

  Creatinine                              550 tests

  Ecstasy                                 550 tests

  EDDP                                    550 tests

  Etg                                     550 tests

 K2 (Synthetic Cannabinoids-1)            550 tests
  K2 (Synthetic Cannabinoids-2)           550 tests

  K2 (Synthetic Cannabinoids-3)           550 tests

  Ketamine                                550 tests

  Meperidine                              550 tests

  Methadone                               550 tests

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                                        *Estimated
                                        Annual Test       Price per       Kit                    Price per     Total Cost
            *Other Reagents             Quantity (A)       test (B)      size      Kit Yield        Kit         (A x B)

  Methamphetamine                         550 tests

  Methaqualone                            550 tests

  Nitrite                                 550 tests

  Opiates 2k                              550 tests

  Oxidants                                550 tests

  Oxycodone                               550 tests

  pH                                      550 tests

  Phencyclidine (PCP)                     550 tests

  Propoxyphene                            550 tests

  Specific gravity                        550 tests

  Tramadol                                550 tests

  Tricyclic antidepressants               550 tests



  Total                                 14,850 tests                                   Total Cost of Above           (D)



*Test quantities are for evaluation purposes only in determining the lowest weighted bid price. The test quantities
can increase or decrease during the contract period.

For evaluation purposes, a weighted bid price of eighty-eight percent (88%) of the cost for the 5 reagents listed
above will be used, and a weighted bid price of 2% of the overall cost will be attributed to the other listed
reagents. * The price requested for Other Reagents are for the purpose of establishing the price per test should
the need to test arise during the contract period.

Bidders must submit pricing per test for the reagents listed to be considered for award. Any alteration to the Bid
Cost Sheet may result in the disqualification of bid.

Training

1. Initial on-site training for a maximum of 5 DOCCS staff members per facility shall be conducted by the
   awarded Contractor at each of DOCCS 52 facilities (Attachment A)


   Total cost: ________________ (1.)




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2. On-site master training – HUB Training:

                                                                        Annual
                                                      Employees                       Bid Price per training
                 HUBs          Locations                                Training
                                                       Trained                               section
                                                                         Event
        Clinton                Clinton CF             4             1

        Elmira                 Five Points CF         4             1

        Great Meadow           Great Meadow CF        4             1

        Green Haven            Fishkill CF            4             1

        Sullivan               Eastern CF             4             1

        Oneida                 Mid-State CF           4             1

        New York City          Queensboro CF          4             1

        Watertown              Watertown CF           4             1

        Wende                  Wende CF               4             1



       a) Total Annual Cost Per Year (9 Sessions) =                                            $

       b) Option: Additional Training Events (2 / Year x Average of 9 events in a) above) $___________


   Total cost (a)+(b):                       (2.)


   For evaluation purposes, DOCCS will use the average of 9 events for additional training classes per year.
   DOCCS reserves the right to increase or decrease training sessions based on actual staff training needs; vendor
   will be paid for the vendor’s bid rate for the location where the additional training will be held.

   For evaluation purposes, the total cost of training (total for items 1. and 2a-b.) will be worth 10% of the total
   weighted bid price.

   Reagents Total Weighted Cost:             (C) _______________ x 88% =           ______________________

   Other Reagents Total Weighted Cost: (D) _______________ x 2% =                  ______________________

   Training Total Weighted Cost:           (1+2) _______________ x 10% =           ______________________



                                                              Grand Total: =       $ _____________________

SIGNATURE: _____________________________________________________


PRINTED NAME: __________________________________________________



                                     RETURN THIS PAGE AS PART OF THE BID



                                                    DOCCS 00187
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 PLEASE USE BLACK INK OR TYPEWRITER WHEN                           Bidder
 PREPARING YOUR BID.   BE SURE YOU HAVE
 INSERTED YOUR COMPANY’S NAME IN THE BOX

      
 NOTES TO BIDDERS: FAILURE TO ANSWER THE
 QUESTIONS WILL DELAY THE EVALUATION OF YOUR BID
 AND MAY RESULT IN REJECTION OF YOUR BID.

 x   Are prices quoted the same as or lower than those quoted
     other corporations, institutions and government agencies
     (including GSA/VA contracts) on similar products,
     quantities, terms, and conditions? See "Best Pricing Offer"
     in Appendix B, General Specifications.                           _________YES _________NO
     If "NO", please explain on a separate sheet.


 x   Person or persons to contact for expediting
     New York State contract orders:                    Name:

                                                         Title:

                                          Telephone Number:           (     )

                                Toll Free Telephone Number:           (     )

                                                   Fax Number:        (     )

                                       Toll Free Fax Number:          (     )

                                              E-Mail Address:

 x   Person or persons to contact in the event of an emergency
     occurring after business hours or on weekend/holidays:

       State Normal Business Hours (Specify M-F, Sat, Sun):

                                                        Name:

                                                         Title:

                                          Telephone Number:
                                                                      (     )
                                                   Fax Number:
                                                                      (     )
                                               Pager Number:
                                                                      (     )
                                  Cellular Telephone Number:
                                                                      (     )
                                              E-Mail Address:




                                 RETURN THIS PAGE AS PART OF THE BID




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 PLEASE USE BLACK INK OR TYPEWRITER WHEN                           Bidder
 PREPARING YOUR BID. BE SURE YOU HAVE
 INSERTED YOUR COMPANY’S NAME IN THE BOX

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 BIDDERS PLEASE ANSWER THE FOLLOWING
 QUESTIONS:

 1. Are you a New York State resident business?                       _________YES _________NO


 2. Total number of people employed by your business:                 _________


 3. Total number of people employed by your business in               _________
    New York State:

                                                                      _________YES _________NO
 4. Is your business independently owned and operated?


 5. BIDDER’S PRINCIPAL PLACE OF BUSINESS*:                            State of

   *"Principal Place of Business" is the location of the primary
    control, direction and management of the enterprise.




                                 RETURN THIS PAGE AS PART OF THE BID




                                              DOCCS 00189
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                                                                   Bidder
 PLEASE USE BLACK INK OR TYPEWRITER WHEN
 PREPARING YOUR BID. BE SURE YOU HAVE
 INSERTED YOUR COMPANY’S NAME IN THE BOX

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  6. ENCOURAGING USE OF NEW YORK STATE
      BUSINESSES IN CONTRACT PERFORMANCE

  New York State businesses have a substantial presence in            Bidders/Proposers can demonstrate their
  State Contracts and strongly contribute to the economies of         commitment to the use of New York State
  the state and the nation. In recognition of their economic          businesses by responding to the question
  activity and leadership in doing business in New York State,        below:
  Bidders/Proposers for this contract for commodities, services
  or technology are strongly encouraged and expected to
  consider New York State businesses in the fulfillment of the        Will New York State Businesses be used
  requirements of the Contract. Such partnering may be as             in the performance of this Contract?
  subcontractors, suppliers, protégés or other supporting roles.
                                                                      _________YES _________NO
  Bidders/Proposers need to be aware that all authorized
  users of this Contract will be strongly encouraged, to the
  maximum extent practical and consistent with legal                  If yes, identify New York State
  requirements, to use responsible and responsive New York            Business(es) that will be used:
  State businesses in purchasing commodities that are of              (Attach identifying information)
  equal quality and functionality and in utilizing services and
  technology. Furthermore, Bidders/Proposers are reminded
  that they must continue to utilize small, minority and women-
  owned businesses, consistent with current State law.

  Utilizing New York State businesses in State Contracts will
  help create more private sector jobs, rebuild New York’s
  infrastructure, and maximize economic activity to the mutual
  benefit of the Contractor and its New York State business
  partners. New York State businesses will promote the
  Contractor’s optimal performance under the Contract,
  thereby fully benefiting the public sector programs that are
  supported by associated procurements.

  Public procurements can drive and improve the State’s
  economic engine through promotion of the use of New York
  businesses by its Contractors. The State therefore expects
  Bidders/Proposers to provide maximum assistance to New
  York businesses in their use of the Contract. The potential
  participation by all kinds of New York businesses will deliver
  great value to the State and its taxpayers.




                                  RETURN THIS PAGE AS PART OF THE BID



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                               Required Information and Forms



    x   Appendix A – Standard Clauses for New York State Contracts

    x   Appendix B – General Specifications (dated August 2012)

    x   Appendix C – Contractor Requirements for EEO and M/WBE

 All bidders must submit the following required forms with bid. Forms are provided in this attachment unless
 otherwise noted:

    x   Bid Cost Sheet (pages 28-30)

    x   Non-Disclosure Form (Attachment B)

    x   Vendor Assurance of No Conflict of Interest or Detrimental Effect (Attachment C)

    x   Vendor Responsibility Questionnaire (if not completed online, see Page 13 for information and web links
        to complete)

    x   Tax and Finance Form ST-220-CA (Form ST-220-TD is filed directly with NYS Department of Tax &
        Finance)

    x   Use of Service-Disabled Veteran-Owned Business Enterprises in Contract Performance

    x   M/WBE and EEO Policy Statement (located in Appendix C)

    x   EEO Staffing Plan (Form EEO 100)


 The following documentation will be required only upon notice of tentative award:

    x   Compliance with Workers’ Compensation and NYS Disability Benefits Insurance Requirements (see
        Page 21):
           o Proof of Compliance with Workers’ Compensation Coverage
           o Proof of Compliance with Disability Benefits Coverage

    x   Contractor Insurance Requirements (see Pages 17-22)




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                                 Appendix A




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                                 Appendix B




                                 DOCCS 00193
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                                 Appendix C

   CONTRACTOR REQUIREMENTS FOR EEO AND MWBE




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   B. The Contractor shall comply with the following provisions of Article 15-A:

      1. Contractor and subcontractor performing work on the Contract (“Subcontractor”) shall undertake or
         continue existing EEO programs to ensure that minority group members and women are afforded equal
         employment opportunities without discrimination because of race, creed, color, national origin, sex, age,
         disability or marital status. For these purposes, EEO shall apply in the areas of recruitment, employment,
         job assignment, promotion, upgrading, demotion, transfer, layoff, or termination and rates of pay or other
         forms of compensation.
      2. The Contractor shall submit an EEO policy statement to the DOCCS within seventy- two (72) hours after
         the date of the notice by DOCCS to award the Contract to the Contractor.
      3. If the Contractor or Subcontractor does not have an existing EEO policy statement, the DOCCS may
         provide the Contractor or Subcontractor a model statement (see Form – Minority and Women-Owned
         Business Enterprises Equal Employment Opportunity Policy Statement).
      4. The Contractor’s EEO policy statement shall include the following language:

           a. The Contractor will not discriminate against any employee or applicant for employment because of
              race, creed, color, national origin, sex, age, disability or marital status, will undertake or continue
              existing EEO programs to ensure that minority group members and women are afforded equal
              employment opportunities without discrimination, and shall make and document its conscientious
              and active efforts to employ and utilize minority group members and women in its work force.
           b. The Contractor shall state in all solicitations or advertisements for employees that, in the performance
              of the contract, all qualified applicants will be afforded equal employment opportunities without
              discrimination because of race, creed, color, national origin, sex, age, disability or marital status.
           c. The Contractor shall request each employment agency, labor union, or authorized representative of
              workers with which it has a collective bargaining or other agreement or understanding, to furnish a
              written statement that such employment agency, labor union, or representative will not discriminate
              on the basis of race, creed, color, national origin, sex age, disability or marital status and that such
              union or representative will affirmatively cooperate in the implementation of the Contractor's
              obligations herein.
           d. The Contractor will include the provisions of Subdivisions (a) through (c) of this Subsection 4 and
              Paragraph “E” of this Section III, which provides for relevant provisions of the Human Rights Law, in
              every subcontract in such a manner that the requirements of the subdivisions will be binding upon
              each Subcontractor as to work in connection with the Contract.

   C. Form 101 - Staffing Plan

       To ensure compliance with this Section, the Contractor shall submit a staffing plan to document the
       composition of the proposed workforce to be utilized in the performance of the Contract by the specified
       categories listed, including ethnic background, gender, and Federal occupational categories. The Contractor
       shall complete the Staffing plan form and submit it as part of their bid or proposal or within a reasonable time,
       but no later than the time of award of the contract.

   D. Form 103 - Workforce Employment Utilization Report (“Workforce Report”)

       1. Once a contract has been awarded and during the term of Contract, the Contractor is responsible for
          updating and providing notice to the DOCCS of any changes to the previously submitted Staffing Plan.
          This information is to be submitted on a quarterly basis during the term of the contract to report the actual
          workforce utilized in the performance of the contract by the specified categories listed including ethnic
          background, gender, and Federal occupational categories. The Workforce Report must be submitted to
          report this information.
       2. Separate forms shall be completed by Contractor and any Subcontractor.
       3. In limited instances, the Contractor may not be able to separate out the workforce utilized in the
          performance of the Contract from the Contractor's and/or Subcontractor's total workforce. When a
          separation can be made, the Contractor shall submit the Workforce Report and indicate that the
          information provided related to the actual workforce utilized on the Contract. When the workforce to be
          utilized on the contract cannot be separated out from the Contractor's and/or Subcontractor's total
          workforce, the Contractor shall submit the Workforce Report and indicate that the information provided
          is the Contractor's total workforce during the subject time frame, not limited to work specifically under the
          contract.


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   E. The Contractor shall comply with the provisions of the Human Rights Law, all other State and Federal
      statutory and constitutional non-discrimination provisions. The Contractor and Subcontractors shall not
      discriminate against any employee or applicant for employment because of race, creed (religion), color, sex,
      national origin, sexual orientation, military status, age, disability, predisposing genetic characteristic, marital
      status or domestic violence victim status, and shall also follow the requirements of the Human Rights Law
      with regard to non-discrimination on the basis of prior criminal conviction and prior arrest.

IV. MWBE Utilization Plan

   A. The Contractor represents and warrants that Contractor has submitted an MWBE Utilization Plan, by
      submitting evidence thereof through the New York State Contract System (“NYSCS”), which can be viewed
      at https://ny.newnycontracts.com, provided, however, that the Contractor may arrange to provide such
      evidence via a non-electronic method to DOCCS, either prior to, or at the time of, the execution of the
      contract.

   B. The Contractor agrees to use such MWBE Utilization Plan for the performance of MWBEs on the Contract
      pursuant to the prescribed MWBE goals set forth in Section III-A of this Appendix.

   C. The Contractor further agrees that a failure to submit and/or use such MWBE Utilization Plan shall constitute
      a material breach of the terms of the Contract. Upon the occurrence of such a material breach, DOCCS shall
      be entitled to any remedy provided herein, including but not limited to, a finding of the Contractor non-
      responsiveness.

V. Waivers

   A. For Waiver Requests, the Contractor should use the NYSCS, provided, however, that Bidder may arrange
      to provide such evidence via a non-electronic method to DOCCS.

   B. If the Contractor, after making good faith efforts, is unable to comply with MWBE goals, the Contractor may
      submit a Request for Waiver documenting good faith efforts by the Contractor to meet such goals. If the
      documentation included with the waiver request is complete, the DOCCS shall evaluate the request and
      issue a written notice of acceptance or denial within twenty (20) days of receipt.

   C. If the DOCCS, upon review of the MWBE Utilization Plan and updated Quarterly MWBE Contractor
      Compliance Reports determines that the Contractor is failing or refusing to comply with the MWBE Contract
      Goals and no waiver has been issued in regards to such non-compliance, the DOCCS may issue a notice of
      deficiency to the Contractor. The Contractor must respond to the notice of deficiency within seven (7)
      business days of receipt. Such response may include a request for partial or total waiver of MWBE Contract
      Goals.

VI. Quarterly MWBE Contractor Compliance Report

       The Contractor is required to submit a Quarterly MWBE Contractor Compliance Report through the NYSCS,
       provided, however, that Bidder may arrange to provide such evidence via a non-electronic method to the
       DOCCS by the 10th day following each end of quarter over the term of the Contract documenting the progress
       made towards achievement of the MWBE goals of the Contract.

VII. Liquidated Damages - MWBE Participation

   A. Where DOCCS determines that the Contractor is not in compliance with the requirements of the Contract
      and the Contractor refuses to comply with such requirements, or if the Contractor is found to have willfully
      and intentionally failed to comply with the MWBE participation goals, the Contractor shall be obligated to pay
      to the DOCCS liquidated damages.

   B. Such liquidated damages shall be calculated as an amount equaling the difference between:
      1. All sums identified for payment to MWBEs had the Contractor achieved the contractual MWBE goals;
         and
      2. All sums actually paid to MWBEs for work performed or materials supplied under the Contract.



                                               DOCCS 00197
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   C. In the event a determination has been made which requires the payment of liquidated damages and such
      identified sums have not been withheld by the DOCCS, the Contractor shall pay such liquidated damages to
      the DOCCS within sixty (60) days after they are assessed by the DOCCS unless prior to the expiration of
      such sixtieth day, the Contractor has filed a complaint with the Director of the Division of Minority and Woman
      Business Development pursuant to Subdivision 8 of Section 313 of the Executive Law in which event the
      liquidated damages shall be payable if Director renders a decision in favor of the DOCCS.




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                            APPENDIX D
                              Bid Cost Sheet

                  (Bid Cost Sheet is part of Appendix H
                        and is not included here)
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                               APPENDIX E

                  Vendor Assurance of Non-Conflict
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                     Non-Disclosure Agreement
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            Disclosure of New York State Department of Corrections
                    and Community Supervision Information


            THIS NON-DISCLOSURE AGREEMENT is entered into as of _______, 20__
     by the New York State Department of Corrections and Community Supervision (“DOCCS”)
     which is the party disclosing confidential information, and Microgenics Corporation,
     which is the party receiving confidential information (“Recipient’), in order to protect the
     confidential information which is disclosed to the Recipient by DOCCS.

             NOW THERFORE, in consideration of the mutual covenants contained herein, the
     parties hereto agree as follows:

             1. The Recipient’s representatives for receiving confidential information are:
     _________________________________________. Recipient shall not disclose the
     confidential information to any of its employees other than those who have a need to review
     it and which employees are legally obligated to honor the confidentiality provisions herein.

            2. The confidential information disclosed by DOCCS under this Agreement is
     described as:
     _____N/A____________________________________________________________.

            3. The Recipient shall keep the information confidential and shall use the confidential
     information only for Urinalysis Analyzers Contract #CC161458. The Recipient shall not
     make any copies of the confidential information except as necessary for its employees who
     are entitled to view it under Section 1 above. Any copies made shall be identified as
     belonging to DOCCS and marked “confidential” or with a similar legend.

            4. The Recipient shall, where applicable, protect the confidential information in a
     manner consistent with the Health Insurance Portability and Accountability Act (“HIPAA”)
     of 1996 Privacy and Security provisions and all other applicable regulations.

             5. The Recipient shall comply with all Federal and State regulations intended to
     protect criminal history records as they apply to the confidential information.

            6. The Recipient shall comply with all DOCCS directives, policies, practices and
     procedures as they apply to the protection of the confidential information.

             7. The Recipient shall, in the event, of unauthorized disclosure of the confidential
     information, immediately notify DOCCS, in writing, and fully comply with the requirements
     of the New York State Breach Notification Act.

             8. Any unauthorized disclosure of procurement information may subject Recipient
     to criminal, civil, and/or administrative penalties.



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             9. To the extent permitted by law, the Recipient shall protect the disclosed
     confidential information by using the same degree of care, but no less than a reasonable
     degree of care, to prevent the unauthorized use, dissemination or publication of the
     confidential information as the Recipient uses to protect its own confidential information of
     a like nature.

             10. The Recipient shall have a duty to protect all confidential information which is
     disclosed to it, whether disclosed in writing, orally or in any other manner and which is
     identified as confidential at the time of disclosure. If the disclosure is in writing, it shall be
     marked “confidential.” If a disclosure is not in writing, DOCCS shall provide Recipient
     with a written memorandum summarizing and designating such information as confidential
     within thirty (30) days of the disclosure.

           11. This agreement controls information that is disclosed to Recipient between
     September 1, 2018 through August 31, 2023.

             12. The Recipient’s duties under paragraph 3,4,5,6 & 7 of this Agreement shall expire
     (1) year after the information is received. The recipient shall return or destroy all DOCCS
     confidential information. All paper documents and any copies, made in accordance with #3
     above, are to be shredded. Electronically stored information is to be destroyed by shredding
     or securely wiping the media.

              13. This Agreement imposes no obligation upon the Recipient with respect to
     confidential information which (a) was in the Recipient’s possession before receipt by
     DOCCS; (b) is or becomes a matter of public knowledge through no fault of the Recipient;
     (c) is received by the Recipient from a third party without a duty of confidentiality; (d) is
     disclosed by DOCCS to a third party without a duty of confidentiality on the third party; (e)
     is independently disclosed by the Recipient with DOCCS’ prior written approval; (f) is
     developed by the Recipient without reference to information disclosed hereunder.

           14. DOCCS warrants that it has the right to make the disclosure under this
     Agreement.

             15. Neither party acquires any intellectual property under this Agreement.

            16. Neither party has an obligation under this Agreement to purchase, sell or license
     any service or item from the other party.

              17. The Recipient shall adhere to U.S. Export Administration laws and Regulations
     and shall not export or re-export technical data, information or products received from
     DOCCS or the direct product of such technical data or information to any proscribed country
     listed in the U.S. Export Administration Regulations, unless properly authorized by the U.S.
     Government.

             18. The parties do not intend that any agency or partnership be created between them
     by this Agreement.



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            19. All additions or modifications to this Agreement must be in writing and signed
     by both parties.

          20. This Agreement is made under and shall be governed by the laws of the State of
     New York.

             21. Neither party may assign its rights or obligations under this Agreement without
     the written consent of the other party. Any assignment made without said consent shall be
     null and void.

             22. The recipient shall indemnify and hold harmless DOCCS and the State of New
     York from any and all suits, causes of actions, claims, grievances, damages, judgments, and
     costs of every name and description under this Agreement, unless such injuries or damages
     are directly attributable to the intentional acts or negligent conduct of DOCCS, the State of
     New York, or their employees.

             23. The failure of DOCCS to insist upon strict adherence to any provision or other
     requirement of this Agreement shall not be considered a waiver to deprive DOCCS of the
     right to insist upon strict adherence of the terms of this Agreement in the future.

            24. If any provision, or portion thereof, of this Agreement is, or becomes, invalid
     under any applicable statute or rule of law, it is to be deemed stricken and the rest of this
     Agreement shall remain in full force and effect.



             IN WITNESS WHEROF, the parties hereto have executed this Agreement as of the
     date first above written.



      NYS Department of Corrections and
      Community Supervision                            Microgenics Corporation


      By:__________________________________ By:____________________________________

      Print Name: Melissa McLaughlin                   Print Name:_____________________________

      Title: Director, Budget and Finance              Title:___________________________________

      Date: _____________                              Date:_____________




                                                                                                3
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                              APPENDIX G

                M/WBE and EEO Policy Statement
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                          APPENDIX H
                           Contractor’s Bid

                (Appendix D Bid Cost Sheet is included)
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                                             1     MICROGENICS CORPORATION




NYS DEPARTMENT OF CORRECTIONS
  AND COMMUNITY SUPERVISION
SUPPORT OPERATIONS – CONTRACT
       PROCUREMENT UNIT
     URINALYSIS ANALYZERS
                                             2   NYS DEPARTMENT OF CORRECTIONS
                                                   AND COMMUNITY SUPERVISION
                                                           IFB #2018-06
        RESPONSE TO RFI
  IFB #2018-06 Urinalysis Analyzers




      DUE: May 23, 2018 3:00 PM              3     Microgenics Executive Summary
                                                          Specifications &
                                                    Attachment A, B, C, D, E & F




                                                     Microgenics Response to
                                             4            IFB# 2018-06,
                                                          Addendum #1,
                                                      Questions & Answers

 Brenda Collum, Sales Representative
 Mobile: 1-518-441-6302
 Brenda.Collum@thermofisher.com

 Microgenics Corporation
 A Part of Thermo Fisher Scientific
 46500 Kato Road, Fremont, CA 94538 USA
 Tel: 1-510-979-5000 • Fax: 1-510-979-5485
 Customer/Technical Service 1-800-232-3342   5          Contact Information
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                                                                Microgenics Corporation
                                                                               Part of Thermo Fisher Scientific

                                            MICROGENICS CORPORATION
                                          A Thermo Fisher Scientific Company
                                                 Executive Summary

                          Response to NYS Department of Corrections and Community Supervision
                                           IFB #2018-06 Urinalysis Analyzers

 SCOPE
 Microgenics Corporation meets the requirements in accordance with NYS Department of Corrections, to
 this IFB.

 The Microgenics Corporation shall furnish the NYS DOC and Community Corrections with new benchtop
 urinalysis analyzers (Indiko Plus) to each of the 52 facility sites as per NYS DOC direction on a reagent
 rental contract. This includes Instrument service, consumables (excluding distilled water), calibrators,
 controls, training, Master Trainings, Administrative hearings and 24/7 hotline, all at no additional cost. In
 addition, the requested drugs of abuse assays shall be offered.

 INSTRUMENTATION AND PRODUCT FUNCTION: PLEASE SEE ATTACHMENT A FOR SPECIFIC INSTRUMENT
 INFORMATION. THE OPERATORS MANUAL HAS ALREADY BEEN PROVIDED WITH THE RFI BUT CAN BE PROVIDED AGAIN
 IF NEED BE. ALSO PLEASE SEE ATTACHMENT B FOR REAGENT LITERATURE AND INFORMATION


 PRODUCT SPECIFICATIONS:
 Microgenics Corporation meets the requirements in accordance with NYS Department of Corrections, to
 this IFB.
 HARDWARE:
     • One new Indiko Plus Microgenics instrument will be provided to each of the 52 sites as specified by NY
         DOCCS.
     • The Indiko Plus benchtop instrument can print a daily sheet of results for individuals tested that
         day as well as individual results
     • The Indiko Plus can operate independent of internet connection however it can be interfaced as
         well.
     • Thermo Fisher takes pride in being able to provide the instrument installations within the time
         frame required and can do so at the date and time requested by DOCCS with notice of at least a
         week.
     • Thermo Fisher can complete the 52-instrument install and training in a 3-month time frame agreed
         to with NYS DOCCS.
     • Thermo Fisher can start the instrument installation process as soon as July 6th with 30-day notice
         and finish in 3 months.

 REAGENTS + CONSUMABLE SHIPMENTS:
   • The reagent and instrument consumables are shipped overnight if order is placed on a Monday-
     Thursday. Friday orders are shipped out Monday for Tuesday. The first order of reagents would
     be arranged with the individual sites and Thermo Fisher to ensure reagents arrive with the
     instrument for installation. A startup kit would be provided with the instrument installation with
     enough supplies to get started.
   • Reagents would be shipped “no charge shipping” as required




Microgenics Corporation                                 1                                                  May 16, 2018
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                                                                              Part of Thermo Fisher Scientific

 CONSUMABLES:
   • All consumable orders are placed like reagent orders and would be shipped out overnight (as
     detailed for reagents above) with NO charge shipping charges as required.
   • Thermo Fisher would develop a method for Correctional Facilities to order consumables and
     reagents as well (to be approved by NYS DOCCS). Currently at Thermofisher, we have our
     customers order reagents and/or consumables at the same time using a structured PO form
     (which would be created with the pricing and part #s for each facility). This PO would then be
     submitted via email to our main customer service email address as well as CC the local rep to
     ensure the order was completed.

 TRAINING:
   • At each of the 52 locations, Microgenics shall provide training to NYS Department of Corrections.
      Microgenics shall provide 5 staff members (operators) proficiency and certification training of the
      equipment, reagents with discussions on adulterations, how to order, part #s and cross-reactivity upon
      instrument installation as well as a paper test to ensure the staff member has retained this
      information. Training certificates will be provided. There is no additional charge for these
      trainings. This meets NYS DOCCS requirements

      •     Master training classes will be provided 1/ year for each of the HUBS (4 staff / hub) as required as
            part of the bid at the request of the NYS DOCCS for location and time frame. Thermo Fisher would
            need as early notification as possible. Each of the Master Training classes will be done with the
            intention of making the staff members the expert in drug testing on the Indiko Plus benchtop
            instrument, the expert on current drug trends, maintenance, ordering part #s, cross-reactivity and
            with a yearly update addendum added to these trainings as see fit. Also, provided with a test of
            further proficiency and certification. This section is at no additional cost and meets the bid
            requirements

 SUPPORT AND MAINTENANCE:
   • Operator manuals can be provided in English. Upon request Spanish, French and German
      manuals can be provided and are at no charge
   • This bid comes with a maintenance agreement for the life of the agreement during 8-5pm Monday
      –Friday (no weekend or state holidays). The service agreement covers the following:
                  24/7 telephone support.
                  Preventive maintenance was determined based on National studies of meantime
                    between failure to only need 1 PM /year.
                  Will provide a 24-hour Response time after onsite service is determined to be
                    needed.
                  All travel, parts and labor are no at no additional charge for the repair of the
                    instrument excluding acts of clear undeniable sabotage (hammer to the instrument,
                    spray paint etc.) or acts of nature (i.e. a roof falling in on instrument)
                  If a replacement instrument is required due to engineer report, a replacement will be
                    received by 48 hours in best case not including any weather-related shipping
                    delays.
                  Software replacement if determined is necessary, will be shipped as soon as
                    possible with best case 24- 48 hours not including any shipping delays. We will
                    replace the instrument or the software which ever can be done faster so that you
                    are not impacted.
                  Microgenics offers 24/7 helpdesk assistance 365 days a year
                  Microgenics welcomes feedback and any feedback would be directed through local
                    sales rep.

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                           Microgenics instrument comes with a warranty
                           Should an instrument or part return be necessary, no additional cost would occur.

 THERMOFISHER SUPPORT INCLUDES:

 Customer Service:
     Our Customer Service Department [1-800-232-3342] is open from 6:00 a.m. to 5:00 p.m. Pacific Time
       Monday through Friday to process product orders.
 Technical Support:
    24/7 365 days/year Technical Phone Support (Hotline/” Helpdesk”)
             based in California M-F 7:30am-4:30pm PST

                 CEDIA+ DRI Reagent as well as Indiko Plus instrument support:
                 techservice.mgc@thermofisher.com
                 1-800-232-3342 – opt 2, opt 3
                 After-hours calls are routed to voicemail boxes with emergency calls being returned within 2 hours.

                 Our experienced Technical support team has earned an industry-wide reputation for their
                 accessibility and problem solving tenacity. When you call technical support, they will determine and
                 send a request to the service management team should you require an onsite Field Technical
                 support and /or a Field Service Engineer.

 Testimony:
 This meets the NYS DOCCS bid requirements

       Microgenics shall provide testimony in administrative hearings through our Technical Support Hotline
        [1-800-232-3342 Option #2 Option #3] during the hours of 9am-5pm EST Monday-Friday covering
        questions concerning the Indiko Plus operation, calibration, maintenance, procedures, reagents and
        cross-reactivity. At times, with heavy call volumes, the Technical representatives may be on other calls
        and in that case, you can leave a message or call back. Please provide Thermo Fisher Scientific a
        notice as early as possible, with (if possible) any advance notice for these administrative hearings. This
        will enable Thermo Fisher Scientific to schedule availability of specific resources!
       In the event of litigation and if so required, Microgenics will provide and expert in the field of
        urinalysis drug testing to assist NYS Attorney General’s Office or DOCCS Counsel’s Office in
        defending issues that may arise from urinalysis testing of inmates.

 FURTHER ASSAY/REAGENT SPECIFICATIONS
 ASSAY/REAGENT SPECIFICATIONS: (SEE ATTACHMENT B FOR FURTHER INFORMATION)

      •     Thermofisher has provided the assays requested in the pricing list and this meets the NYS
            Department of Corrections requirement.

      •     Microgenics will provide the necessary calibrators and controls for the urinalysis tests listed in the bid
            request, at no charge. The calibrators and controls meet the cutoff concentration requirements in the
            bid specifications.

      •     Thermo Fisher Drugs of abuse reagents are Food and Drug Administration (FDA) cleared with the
            exception of EtG (pending FDA 510K approval).

      •     Microgenics meets or exceeds the requirements stated in solicitation Substance Abuse and Mental
            Health Services Administration (SAMSHA) cutoff detection level guidelines over the life of this contract
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      •     Microgenics proprietary DRI products are at the leading edge of a new generation of testing solutions
            offering high analytical accuracy and are liquid, ready-to-use homogeneous enzyme immunoassays

      •     Microgenics Proprietary CEDIA reagents are powder and come with a specific clip on liquid for a no
            mistake reconstitution. These reagents are also highly valued for specificity with assay metabolites in
            the field as well as highly accurate.

 EXPERIENCE ON CONTRACTS OF SIMILAR SIZE AND SCOPE
 Microgenics Corporation was awarded contracts with the United States Pretrial and Probation, the Naval
 Medical Logistics/Department of Defense, Department of Veteran’s Affairs, Arkansas Department of
 Community Corrections, Missouri Department of Corrections as well as various other local
 governments/municipalities and large-scale commercial laboratories. In addition, Microgenics has contracts
 with criminal justice/drug courts nationally.

 Microgenics provides instrumentation, instrument consumables, screening reagents, calibrators and controls,
 service, water systems, and ongoing technical assistance. On a consistent and ongoing basis, Microgenics is
 the primary contractor for some of the largest independent SAMHSA laboratories in the U.S. Microgenics
 demonstrates an ability to supply the needs of the federal government’s most stringent drug testing program.
 The diversity of government contract awards demonstrates Microgenics’ ability to work with a variety of
 governmental agencies and their drug testing programs.

 We at Microgenics look forward to the opportunity to demonstrate the same high quality products and services
 in servicing the State of New York.

 AUTHORIZED NEGOTIATORS
 Microgenics Corporation represents that the following persons are authorized to negotiate on its behalf
 regarding all matters pertaining to this bid:

 Microgenics Corporation                                     Contacts:
 A Part of Thermo Fisher Scientific                          Brenda Collum, Sales Representative
 46500 Kato Road                                             1-518-441-6302 - Mobile
 Fremont, CA 94538                                           Brenda.Collum@thermofisher.com
 1-800-232-3342 - Phone                                      Larry Wilkie, Regional Sales Manager
 1-800-829-8115 - Fax                                        1-504-905-7630 – Mobile
 Federal ID: XX-XXXXXXX                                      1-504-617-7716 – Main
 www.thermoscientific.com/diagnostics                        Larry.wilkie@thermofisher.com




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